 CaseCase 3:20-cv-00851-MO
     2:12-md-02327   DocumentDocument 89-1
                              2022 Filed     Filed 05/26/20
                                         04/21/16   Page 1 of Page 1 of 155
                                                              4 PageID  #: 33400



                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             CHARLESTON DIVISION


 IN RE: ETHICON, INC., PELVIC                             Master File No. 2:12-MD-02327
 REPAIR SYSTEM PRODUCTS                                             MDL 2327
 LIABILITY LITIGATION

                                                             JOSEPH R. GOODWIN
 THIS DOCUMENT RELATES TO:                                   U.S. DISTRICT JUDGE

 Ethicon Wave 1 cases listed in Exhibit A




              PLAINTIFFS’ MOTION TO EXCLUDE CERTAIN OPINIONS
                    AND TESTIMONY OF DOUGLAS GRIER, MD

       Plaintiffs respectfully request that the Court preclude defense expert Douglas Grier,

M.D., from giving opinions on (1) the design of Defendants’ transvaginal mesh products at issue,

including the safety and efficacy of those devices; (2) his statements about the safety and

efficacy of Defendants’ products based on his own practice; and (3) the adequacy of Defendants’

product warnings and instructions for use. The basis for Plaintiffs’ motion is more fully set out

in the accompanying Memorandum.




                                               1
 CaseCase 3:20-cv-00851-MO
     2:12-md-02327   DocumentDocument 89-1
                              2022 Filed     Filed 05/26/20
                                         04/21/16   Page 2 of Page 2 of 155
                                                              4 PageID  #: 33401




Dated: April 21, 2016

                                             Respectfully submitted,


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                                             Attorneys for Plaintiff




                                CERTIFICATE OF SERVICE

       I hereby certify that I filed the foregoing document on April 21, 2016, using the Court’s

CM-ECF filing system, thereby sending notice of the filing to all counsel of record in this matter.



                                                     /s/Thomas P. Cartmell
                                                     Attorney for Plaintiffs



                                                2
CaseCase 3:20-cv-00851-MO
    2:12-md-02327   DocumentDocument 89-1
                             2022 Filed     Filed 05/26/20
                                        04/21/16   Page 3 of Page 3 of 155
                                                             4 PageID  #: 33402




                                      3
 CaseCase 3:20-cv-00851-MO
     2:12-md-02327   DocumentDocument 89-1
                              2022 Filed     Filed 05/26/20
                                         04/21/16   Page 4 of Page 4 of 155
                                                              4 PageID  #: 33403



                                   INDEX OF EXHIBITS

Exhibit A: List of cases on which Dr. Grier is designated

Exhibit B: Grier Prolift Report

Exhibit C: Grier Prolene Soft Report

Exhibit D: Grier TVT/TVT-O Report

Exhibit E: Grier TVT-S Report

Exhibit F: Grier Deposition, March 22, 2016

Exhibit G: Katrin Elbert Deposition, Dec. 23, 2014

Exhibit H: Charlotte Owens Deposition, Sept. 13, 2012




                                               4
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-1 Filed   Filed 05/26/20
                                                   Page 1 ofPage 5 of 155
                                                             2 PageID  #: 33404




              Exhibit A
      Case 3:20-cv-00851-MO
 Case 2:12-md-02327  DocumentDocument 89-104/21/16
                             2022-1 Filed   Filed 05/26/20
                                                    Page 2 ofPage 6 of 155
                                                              2 PageID  #: 33405



                           EXHIBIT A – GRIER DAUBERT MOTION


THIS DOCUMENT RELATES TO
PLAINTIFFS:

Barbara A. Hill
Case No. 2:12-cv-00806

Constance Daino
Case No. 2:12-cv-01145

Monica Freitas
Case No. 2:12-cv-01146

Patricia Ruiz
Case No. 2:12-cv-01021

Pamela Gray Wheeler
Case No. 2:12-cv-00455

Rebekah Bartlett (Pratt)
Case No. 2:12-cv-01273

Dawna Hankins
Case No. 2:12-cv-00369

Patricia Tyler
Case No. 2:12-cv-00469




                                          1
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-2 Filed    Filed 05/26/20
                                                     Page 1 ofPage 7 of 155
                                                              25 PageID  #: 33406




               Exhibit B
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-2 Filed    Filed 05/26/20
                                                     Page 2 ofPage 8 of 155
                                                              25 PageID  #: 33407



                                        Report re Prolift
                                     Douglas H. Grier, M.D.
                                 Sound Urological Associates, P.S.
                                       21822 76th Ave., W
                                      Edmonds, WA 98026

         This report contains a summary of my qualifications, education, training, and experience,
a statement of my opinions that I have formed to date, the bases for those opinions, and the
information I considered in forming my opinions. All of my opinions are based on my
education, training, clinical experience, the pertinent medical literature, discussions with
colleagues, and other materials I have reviewed. Materials that support my findings and
opinions, including documents that I have reviewed, are identified either in this report or are
listed in the attached reliance materials list.

        All of the opinions I express in this report are held to a reasonable degree of medical and
scientific certainty. If I receive additional information after signing this report but before trial, I
may form additional or different opinions.

I. Background

        a.      Education, Training, and Experience

       I attended the University of Florida in Gainesville, Florida, graduating with a Bachelor of
Science degree in Chemistry with High Honors in 1976. I attended medical school at George
Washington University, graduating in 1982. I then did a surgical internship in 1982–1983 at the
Portsmouth Naval Hospital in Portsmouth, Virginia. Following my internship, I did a urological
residency at the Portsmouth Naval Hospital from 1984–1988. I served as Chief of Urology at
Jacksonville Naval Hospital in 1990-91.

        Prior to my residency, I served in Operation Urgent Fury in Grenada in October 1983 and
as part of the Multinational Peacekeeping Force in Beirut, Lebanon in 1983–1984. After my
residency, I served in Operation Desert Shield and Operation Desert Storm with the 1st Marine
Division, stationed in Saudi Arabia and Kuwait in 1990–1991.

       I am the President-Elect of the Medical Staff at Swedish/Edmonds Hospital in Edmonds,
Washington. I also serve as the Chair of Swedish Hospital’s Medical Quality Oversight
Committee, Chair of the Credentials Committee, Treasurer of the Medical Staff for the Swedish
Hospital System, and as a member of the Executive Committee at Swedish Hospital.

       I became a Diplomate of the American Board of Urology in 1990 and was recertified in
2010. I am an active member of the American Urological Association, the Washington State
Medical Association, the Northwest Urological Society, the Washington State Urology Society,
the King County Medical Society, the American Association of Clinical Urologists, the Society
of Urodynamics Female Pelvic Medicine & Urogenital Reconstruction, and the International
Continence Society.



                                                   1
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-2 Filed    Filed 05/26/20
                                                     Page 3 ofPage 9 of 155
                                                              25 PageID  #: 33408



                My curriculum vitae is attached to this report.

       b.       Clinical Experience & Personal Experience with Stress Urinary Incontinence
                and Pelvic Organ Prolapse Treatments

        I have a special focus in female pelvic medicine and surgery. Over the course of my
career, I have performed various types of native tissue surgery and surgery utilizing mesh,
including Ethicon’s TVT and TVT-O, TVT-Abbrevo, and TVT-Secur mid-urethral slings, AMS
Monarch, Uretex by Bard, Vesica In situ sling, Stamey cystourethropexy, MMK, and Burch
procedures. I have also performed robotic sacrocolpopexies, as well as open abdominal
sacrocolpopexies. I have also performed various types of native tissue surgeries and surgeries
utilizing mesh—including the Prolift device—to treat pelvic organ prolapse.

       c.       Teaching & Training Experience Related to Stress Urinary Incontinence

        I served as a faculty member at the Ethicon Endosurgical Institute, and as a National
Preceptor for Gynecare products, conducting over 300 courses for advanced surgical training of
physicians for conditions such as stress urinary incontinence and pelvic organ prolapse. I have
lectured to pelvic floor surgeons throughout the United States, Canada, Europe, and China. I
have performed research in the field of incontinence and bladder disorders, contributing to
studies on the use of TVT abdominal guides, and the TVT world registry published in the
Journal of Urology in 2011. I was also an investigator in an FDA trial of a pelvic nerve
stimulator for the treatment of urge incontinence.

       d.       Litigation Consulting Work

       During the previous four years, I have testified as an expert witness at trial or by
deposition in the following case:

            •   Perry v. Ethicon, Inc., et al.—Bakersfield, CA
                   o Deposition Testimony on 12/30/14
                   o Trial Testimony on 02/17/15, 02/18/15, and 02/19/15

       I am being compensated $500 per hour for my study and testimony in this case.

       IV. Pelvic Organ Prolapse

       a.       Definition, Mechanism of Action, and Prevalence

        Pelvic organ prolapse, overactive bladder, and urinary incontinence affect more women
than diabetes, heart disease, or arthritis. The overall lifetime risk for undergoing surgery for
pelvic organ prolapse is 11.1% or 1 in 9 women by the age of 80. The risk of surgery increases
to 16% status post hysterectomy.

       The proposed mechanism of action for the development of pelvic organ prolapse begins
with damage to the levator ani muscles and nerves which decreases muscle tone and strength,

                                                 2
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-2 Filed   Filed 05/26/20
                                                   Page 4 ofPage 10 of 155
                                                             25 PageID  #: 33409



leading to muscular disuse atrophy causing descent and a widened levator hiatus. Increased
intra-abdominal pressure is then unopposed, placing additional forces on the connective tissue,
which stretches and tears over time. Pelvic organ prolapse is most common in the anterior
compartment and then posterior compartment, with apical prolapse the least common as a site-
specific defect.

       b.      Risk Factors for Stress Urinary Incontinence

        Smoking: Women who smoke have a 2-3 times more likely incidence of urinary
incontinence chronic obstructive pulmonary disease and increasing abdominal pressures causing
pelvic organ prolapse.

       Obesity: Increasing body mass index correlates to an increase in the symptoms of
urinary incontinence and pelvic organ prolapse.

        Menopause: Decreasing serum levels of estrogen are known to increase the incidence of
both stress incontinence and decrease the integrity of the pubocervical fascia of the vagina by
decreasing vascularity and thickness of the tissues. Postmenopausal decreased estrogen levels
lead to urogenital atrophy with the increased risk of infections of the urinary tract and changing
of the vaginal pH.

        Pregnancy and Childbirth: Damage sustained to the muscles and nerves of the pelvic
floor significantly increase the risk of both stress and urge incontinence and pelvic organ
prolapse. There is an 11-fold increased risk of pelvic organ prolapse with three or more vaginal
deliveries compared to nulliparous women. The weight of the infant contributes to prolapse with
an increase of 10% per pound weight of the infant.

      Race: Increasing incidence of prolapse occurs from African-American <
Asian<Caucasian<Hispanic. Hispanic women have the highest risk of pelvic organ prolapse

       Age: Pelvic organ prolapse levels increase with each decade for women between the ages
of 20 and 59 years and the incidence of prolapse requiring surgery also has a dramatic increase
with each successive decade.

       Congenital factors: Women with prolapse having an abundance of the weak or type III
collagen in the pubocervical fascia with a higher degree of joint hypermobility with associated
collagen vascular disorders also increase the incidence and severity of prolapse.

         Hysterectomy: The lifetime risk of prolapse post-hysterectomy is 16% with no specific
technique increasing risk. The incidence of women developing severe prolapse after
hysterectomy is to 3.6 birth 1000 women years and if the hysterectomy was performed with
initial complaints of prolapse or rate is as high as 15 per 1000 women years.

       Stress Urinary Incontinence: 62% of women with prolapse also report stress
incontinence, and 63% of women with stress incontinence have associated prolapse. 30% of
women will undergo repeat surgery for recurrent prolapse over their lifetime.

                                                3
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-2 Filed   Filed 05/26/20
                                                   Page 5 ofPage 11 of 155
                                                             25 PageID  #: 33410




V.        Treatment Options for Pelvic Organ Prolapse

          a.      Nonsurgical Options for Treatment of Pelvic Organ Prolapse

        Conservative management of pelvic organ prolapse is the avoidance of pelvic and
abdominal straining in the form of heavy lifting or squatting. Patients can also be treated with
physical therapy using biofeedback, Kegel exercises, estrogen vaginal supplementation, and
pessaries.

          b.      Surgical Options for Treatment of Pelvic Organ Prolapse

        Surgical corrections of pelvic organ prolapse have many different approaches—from
either vaginal or retropubic—and involve open incisions or laparoscopic techniques. For
relatively simple cystocele and rectocele repair, native tissue plication with absorbable sutures
can be provided, but has a 30-50% 5-year failure rate based on multiple studies. Sacrospinous
ligament fixation and uterosacral ligament repairs have higher rates of success, but also higher
rates of complications including chronic pelvic pain, dyspareunia, urinary retention, and injury to
adjacent organs such as the bladder, rectum, and vessels. Retropubic abdominal sacrocolpopexy
performed either open or laparoscopically is also an option. It has the highest rate of success but
also a significant rate of complications.

        Due to the high rate of failure using native tissue plication and suture fixation, biologic
and synthetic materials have been incorporated into repairs for over 30 years. Cadaveric fascia,
autologous fascia, or synthetic meshes have been incorporated to augment the repair in an
attempt to increase the anatomic long-term success. The augmented repairs have the same
potential complications as native tissue plications, with additional possible complications of
mesh exposure, extrusion, or perforation of adjacent organs. The rate of vaginal mesh exposure
varies from 3% to 34% in various studies, and with small areas of exposure topical estrogen and
time may be all that is required for treatment. For larger areas of exposure or pain, local excision
can be performed using either local anesthetic or general anesthesia. Mesh excision can be
performed in the office setting, or an outpatient surgery center, as well as hospitals.

       Maher and colleagues analyzed 56 randomized controlled trials evaluating 5,954 women
with the objective of determining “the effects of the many different surgeries used in the
management of pelvic organ prolapse.” They studied 21 trials that compared various surgical
procedures for treating cystocele and found that traditional anterior prolapse repair was
associated with more anterior compartment prolapse than any polypropylene mesh repair. They
found that patients were more aware of their prolapse after anterior native tissue repairs than
were patients receiving a polypropylene mesh repair. 1 Weber and colleagues, in 2001,
conducted a randomized controlled trial studying three surgical techniques for anterior
colporrhaphy and found that only 30% of the patients in the standard anterior colporrhaphy




1
    Maher C, et al., Surgical management of pelvic organ prolapse in women, Cochrane Review 2013.
                                                    4
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-2 Filed   Filed 05/26/20
                                                   Page 6 ofPage 12 of 155
                                                             25 PageID  #: 33411



group had satisfactory or optimal anatomic results, compared to 42% in the standard plus mesh
group and 46% in the unilateral anterior colporrhaphy group. 2

        Barber and colleagues showed that the success rates of sacrospinous ligament fixation
and uterosacral ligament fixation were nearly equal at 60.5% and 59.2%, respectively. 3 Failure
of native tissue repairs is common and can occur when sutures break, pull through the tissue, or
are prematurely absorbed.

        c.      Pelvic Organ Prolapse’s Economic Impact and Impact on Quality of Life

         Pelvic organ prolapse can have significant adverse effects on the quality of women’s
lives. It can be painful, can negatively affect women’s relationships, and it can cause patients to
isolate themselves socially and be less active. Symptoms include a feeling that something is
falling out of the vagina, a pulling sensation in the pelvic area, lower back pain, and a sensation
of pressure of fullness from organs pressing against the vaginal walls. Patients with rectocele
often have constipation as a result. The costs of pelvic organ prolapse surgery was calculated to
be over a billion dollars in 1997. 4

IV.     Ethicon’s Prolift Device

        a.      Historical Background of Surgical Use of Mesh

        Polypropylene monofilament suture was introduced into surgery in 1958 by Usher, and
has become the main material used in tissue repair. Polypropylene sutures have been used for
over 55 years and are biologically compatible with human tissue. Polypropylene hernia mesh
has been and continues to be the standard of care for the last thirty years for abdominal wall
hernia repair. Polypropylene mesh has been used in open abdominal sacrocolpopexies since the
1960s. The advantage of mesh is augmentation and strength during the healing process with the
incorporation of collagen fibers into the material to provide lasting support. I have been
performing polypropylene mesh hernia repairs since the 1980s and have never had a patient
develop an infection or rejection of the material.

        Polypropylene meshes have been used in the vagina for almost 60 years. Surgeons have
turned to synthetic materials to augment healing and reinforcement of poor-quality native fascia
and collagen that has deteriorated both by years and trauma of parity. Due to the high failure
rate of suture repairs for vaginal prolapse, mesh grafts have been developed to address the
problem in the same manner as hernia repairs of the abdominal wall.




2
  Weber AM, et al., Anterior colporrhaphy: A randomized trial of three surgical techniques. Am J Obstet
Gynecol 2001 Dec. 185(6):1299–1306.
3
  Barber MD, et al., Comparison of 2 Transvaginal Surgical Approaches and Perioperative Behavioral
Therapy for Apical Vaginal Prolapse – The OPTIMAL Randomized Trial. J Am Med Assoc
2014;311(10):1023–1034.
4
  Subak LL, Cost of pelvic organ prolapse surgery in the United States. Obstet Gynecol 2001
Oct;98(4):646–51.
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     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-2 Filed   Filed 05/26/20
                                                   Page 7 ofPage 13 of 155
                                                             25 PageID  #: 33412



       b.      The Development of the Prolift Device

        Due to the high failure rates of native tissue repairs like colporrhaphies, the morbidity of
open abdominal sacral colpopexy, the high failure rate and infection rates associated with
biologic grafts, surgeons began using transvaginal mesh to treat pelvic organ prolapse. In 2000,
a group of surgeons in France calling themselves the “TVM Group” started to study the use of
non-absorbable synthetic mesh in urogenital prolapse repair, which was prompted by the 20–
30% prolapse recurrence rates following traditional native tissue repairs. The TVM Group
selected Prolene Soft mesh, as they found it to be the most appropriate mesh for the transvaginal
approach of the surgical repair of prolapse. They noted that the Prolene Soft was “a carefully
selected and tested synthetic material.” 5

        In 2002, Gynemesh™ PS was introduced, and was “indicated for tissue reinforcement
and long-lasting stabilization of fascial structures of the pelvic floor in vaginal wall prolapse
where surgical treatment is intended, either as mechanical support or bridging material for the
fascial defect.” It was the first synthetic polypropylene mesh indicated for pelvic floor repair.

        The Prolift device was introduced in March 2005. The Prolift device consists of pre-cut
Gynemesh PS non-absorbable mesh implants and a set of instruments to facilitate mesh
placement. It is implanted via a procedure “designed for and by surgeons.” 6 The Prolift Total
system consisted of an anterior and posterior implant had six straps—four for securing the
anterior portion of the implant via a trans-obturator approach, and two straps for securing the
posterior portion of the implant in the sacrospinous ligament via a trans-gluteal approach.




        The Prolift system also included a Guide, Cannula, and Retrieval Device to facilitate
passage and placement of the implant straps while protecting the surrounding tissue. It is
inserted transvaginally, through a full-thickness vaginal incision. The mesh is placed through the
arcus tendineus fascia pelvis (ATFP) or the sacrospinous ligament (SSL), and is placed tension-
free.

      The Gynemesh PS used in the device is a monofilament, knitted, macroporous, synthetic
mesh. It is made of knitted filaments of extruded polypropylene identical in composition to that

5
  Berrocal J, et al., Conceptual advances in the surgical management of genital prolapse—The TVM
technique emergence. J Gynecol Obstet Biol Reprod 2004;33:577–87.
6
  Prolift Surgeon’s Resource Monograph.
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     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-2 Filed   Filed 05/26/20
                                                   Page 8 ofPage 14 of 155
                                                             25 PageID  #: 33413



used in Prolene polypropylene sutures that have been used in various surgical specialties for
more than 50 years, and it includes blue Prolene monofilaments to produce contrast striping that
makes the mesh more visible when implanted. The Prolift IFU notes that “[t]he mesh is
constructed of reduced diameter monofilament fibers, knitted into a unique design that results in
a mesh that is approximately 50 percent more flexible than standard PROLENE mesh.” The
knitting process provides for elasticity in both directions—which “allows adaptation to various
stresses encountered in the body.” The IFU also notes:

       Animal studies show that implantation of GYNECARE GYNEMESH PS mesh
       elicits a minimal to slight inflammatory reaction, which is transient and is
       followed by the deposition of a thin fibrous layer of tissue which can grow
       through the interstices of the mesh, thus incorporating the mesh into adjacent
       tissue. The mesh remains soft and pliable, and normal wound healing is not
       noticeably impaired. The material is not absorbed, nor is it subject to degradation
       or weakening by the action of tissue enzymes.

       The mesh is a Type I mesh, per the biomaterial classification published by PK Amid in
1997, as it contains pores larger than 75 microns, “which is the required pore size for admission
of macrophages, fibroblasts (fibroplasia), blood vessels (angiogenesis) and collagen fibers into
the pores.” (Amid PK, Classification of biomaterials and their related complications in
abdominal wall hernia surgery. Hernia 1997;1:15–21.) The pore size of Gynemesh PS is
approximately 2,500 µm, and thus allows for excellent tissue integration and the passing of
leukocytes and macrophages to clear any pathogens.

        Prior to the commercial release of the Prolift device, Cosson and colleagues did a
retrospective multi-center study of 687 patients treated with the Prolift mesh according to the
protocol described by the TVM group surgeons. 7 The authors found intra-operative
complications to be rare, occurring in only 1.32% of cases. They also found that short-term post-
operative complications were uncommon, only occurring in 2.49% of patients. Only 1.32% of
the patients experiencing post-operative complications required surgical treatment, and most of
them were benign (1.75% hematomas and 0.29% perineal abscess). More serious complications
like perineal cellulitis, vesico-vaginal or rectovaginal fistulas occurred in only 0.15% of cases
each. Vaginal erosion or granuloma formation requiring surgical treatment occurred in 6.7% of
patients. De novo stress incontinence occurred in 5.4% of the patients studied. The authors
noted a 94.7% cure rate. Based on the study, the authors concluded that the technique was safe
in the short-term, and that “Prolift mesh is obviously an interesting improvement in organ
prolapse surgery.”

       c.      The Safety and Efficacy of Gynemesh PS and the Prolift Device

       Review of scientific reports of the use of Gynemesh and pelvic reconstructive surgery
date back to 2001. De Tayrac described 36 patients undergoing cystocele repair using Gynemesh



7
 Cosson M, et al., Prolift Mesh (Gynecare) for Pelvic Organ Prolapse Surgical Treatment Using the TVM
Group Technique: A Retrospective Study of 687 Patients. ICS 2005 Abs. 121.
                                                 7
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-2 Filed   Filed 05/26/20
                                                   Page 9 ofPage 15 of 155
                                                             25 PageID  #: 33414



with 13 month follow-up and 100% success with one mesh excision under local anesthesia for
non-symptomatic exposure. 8

        Several studies demonstrate the versatility of Gynemesh PS, describing its use in various
gynecologic procedures other than transvaginal procedures. Weiden described up to four-year
follow-up of abdominal colposacropexy and hysterosacropexy using Gynemesh with bone
anchoring and reported excellent anatomical results and low complication rates. This study is
indicative of the many different uses to which the product can be put. 9 Agarwala describes in
2007 the use of Gynemesh for laparoscopic sacral colpopexy for recurrent prolapse of the apex
or severe uterine prolapse. 74 patients were treated with Gynemesh. Subjective and objective
cure was 97 and 100%, respectively. There were no cases of graft exposure or recurrence with a
median follow-up of 24 months. 10

        Lucente in 2004 described 160 patients undergoing vaginal or abdominal/vaginal repair
with a less than 10% exposure rate and success of 76% in reducing the prolapse to stage 0-1.
The authors concluded that POP repair using GYNEMESH PS “is safe, with a low rate of
significant mesh-related complications.” 11 In 2006, Ali and colleagues described 108 patients
undergoing anterior colporrhaphy with Gynemesh PS augmentation. They encountered no intra-
operative complications, a 6.6% recurrence rate, and a 6.5% exposure rate. 12

        Collinet and colleagues described in 2006 the management of transvaginal mesh
techniques for repair of pelvic prolapse using a vaginal approach and the use of Gynemesh. In
the paper, it is described that the ideal mesh for pelvic reconstructive repair is monofilament
polypropylene with large pores. The study was a continuous retrospective trial of more than two
years, and was designed to identify the risk factors for exposure of mesh material and
management strategies for postoperative complications. 277 patients undergoing surgery for
pelvic prolapse using the TVM technique—using risk factors of body mass index, age,
menopausal status, hormonal replacement therapy, previous surgical repair and hysterectomy—
were included. Mesh exposure was less than 1% when the uterus was preserved. Management
of mesh exposure involved local treatment combined with partial resection of the mesh if the
local treatment proved inadequate. The local treatment was further enhanced with estrogen
therapy. 13

        Deffieux described in 2006 management of 34 consecutive cases of vaginal mesh erosion
following transvaginal repair of cystocele using Gynemesh or Gynemesh-Soft. 68% underwent
local therapy using an estrogen cream. In 22% of cases, the mesh erosion had completely

8
  De Tayrac R, et al., Cystocele Repair with a Fixation-Free Prosthetic Polypropylene Mesh. Abs. 2001.
9
  Van der Weiden RMF, et al., Colposacropexy With Mesh or Collagen Implant and Titanium Bone
Anchors Placed in Sacral Segments 3 and 4. J Pelvic Med & Surg 2003;9(1):9–14.
10
   Agarwala N, et al., Laparoscopic sacral colpopexy with Gynemesh as graft material—Experience and
results. J Minimally Invasive Gynecol 2007;14:577–83.
11
   Lucente V, et al., A Clinical Assessment of GYNEMESH PS for the Repair of Pelvic Organ Prolapse.
AUGS, SGS Oral Poster 55
12
   Ali S, et al., A Prospective Randomized Trial Using Gynemesh PS for the Repair of Anterior Vaginal
Wall Prolapse. Int Urogynecol J 2006;17(Supp. 2):S171–S359 (Abs. 292).
13
   Collinet P, et al., Transvaginal mesh technique for pelvic organ prolapse repair: mesh exposure
management and risk factors. Int Urogynecol J 2006;17:315–20.
                                                   8
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-2 Filed    Filed 05/26/20 Page
                                                     Page 10 of     16 of 155
                                                                25 PageID  #: 33415



 disappeared with a follow-up of 2-9 months. 59% of the symptomatic patients required partial or
 complete excision of the mesh with vaginal closure under general anesthesia. The surgery
 ranged from 15-40 minutes in duration and was successful 77% of the time. 11% of the patients
 undergoing a primary repair required a second operation because of recurrence. The incidence
 of the de novo dyspareunia was 12% with vaginal mesh exposure and 11% in those who had no
 exposure post operatively. 14

        Sola in a 2006 report describes 42 mesh procedures using Gynemesh PS mesh for both
 cystocele and rectocele, having no postoperative complications and a 95% success for cystocele
 and 100% success for rectocele repair. 15

         Hoenil Jo in 2007 evaluated 26 patients with stage III or IV pelvic organ prolapse for 2
 years after Gynemesh vaginal repair. Success was 94% objective cure with no tissue erosion or
 infections noted. 16

         Takeyama described in 2007 a modification of the Prolift procedure using Gynemesh PS.
 They implanted Gynemesh PS in 245 patients with pelvic organ prolapse and had no serious
 complications and a low recurrence and exposure rate (0.8 and 1.6%, respectively). 17 Al-Nazer
 and colleagues reported in 2007 the results of their study of 40 patients undergoing either
 anterior colporrhaphy or implantation of Prolene Soft mesh. They found both groups had
 improvement in their prolapse, urinary, and sexual symptoms, but the improvement was more
 significant in the Prolene Soft group. 95% of the Prolene Soft patients were cured, while 70% of
 the anterior colporrhaphy patients were cured. They also found that operative morbidity was
 generally lower in the Prolene Soft group. 18

         Caquant and Cosson in 2008 reported on a study of 684 patients undergoing the TVM
 procedure using Gynemesh PS performed between 2002-2004. The mesh exposure rate without
 concurrent hysterectomy was 4.7% and medical management was successful in 42% of cases.
 The study was limited by short-term follow up. 19 In 2008, Letouzey and colleagues reported the
 results of their study of 63 women undergoing cystocele repair using Gynemesh PS between
 1999-2001. The patients were followed for five years, and the authors observed an 80%



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    Deffieux X, et al., Vaginal mesh extrusion after transvaginal repair of cystocele using a prosthetic
 mesh: Treatment and functional outcomes. J Gynecol Obstet Biol Reprod (Paris) 2006 Nov;35(7):678–
 84.
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    Sola V, et al., Tension Free Monofilament Macropore Polypropylene Mesh (Gynemesh PS) in Female
 Genital Prolapse Repair. Int Braz J Urol 2006;32(4):410–15.
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    Jo H, et al., Efficacy and outcome of anterior vaginal wall repair using polypropylene mesh
 (Gynemesh). J Obstet Gynecol Res 2007 Oct;33(5):700–04.
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    Takeyama M, et al., Feasibility of the Tension-Free Vaginal Mesh Procedure Using Soft Polypropylene
 Mesh (Gyunemesh PS) in Japan. Int Urogynecol J 2007;18(Supp. 1):S25–S105 (Abs. 079).
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    Al-Nazer MA, et al., Comparative Study Between Anterior Colporrhaphy Versus Vaginal Wall Repair
 with Mesh for Management of Anterior Vaginal Wall Prolapse. Int Urogynecol J 2007;18 (Suppl. 1):S25–
 S105 (Abs. 084).
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    Caquant F, et al., Safety of Trans Vaginal Mesh procedure: Retrospective study of 684 patients. J
 Obstet Gynaecol Res 2008 Aug;34(4):449–56.
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Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-2 Filed    Filed 05/26/20 Page
                                                     Page 11 of     17 of 155
                                                                25 PageID  #: 33416



 anatomic cure rate with an additional 20% improved. The vaginal exposure rate was 16% and no
 patient required reoperation for recurrent prolapse. 20

         In 2009, Natale and colleagues reported the results of an RCT studying Gynemesh PS
 and Pelvicol with two years of follow-up. They observed a 6.3% erosion rate in the Gynemesh
 PS patients, and four of the six of those patients underwent a concomitant hysterectomy. The
 cure rate for the Gynemesh PS cohort was 71.9%. Pre-operative pain was reported by 14
 patients in the Gynemesh PS group and that dropped to 0 patients after surgery. Pre-operative
 dyspareunia was reported by 20 patients in the Gynemesh PS group, and that number dropped to
 10 patients after surgery. 21

         Miller and colleagues, in 2011, reported the five-year results of 85 patients undergoing
 Gynemesh PS anterior and posterior repair with and without hysterectomy. The success rate in
 the treated compartment at five years was 77%, and the rate of mesh exposure was 19%. Before
 surgery, 21 patients reported unprovoked vaginal pain, 23 reported pain on examination, 15 had
 cystalgia, 24 had pain during Valsalva, and 46 had pain with prolonged standing. By five years,
 only one patient reported pain, which occurred on examination only. At five years, only one case
 of de novo dyspareunia was observed in those patients who were sexually active before surgery,
 while resolution of dyspareunia occurred in at least eight of twelve patients with pre-existing
 dyspareunia. The authors concluded that the TVM procedure remains stable over time when
 measuring both quality of life and vaginal prolapse symptom scores. 22 Young-Suk Lee and
 colleagues in 2010 reported on their study of the treatment of 49 women undergoing transvaginal
 repair of pelvic organ prolapse with Gynemesh PS. They noted a 71.4% cure rate and an
 improvement rate of 18.4%. They observed only one vaginal erosion at the 12-month follow-up,
 which was asymptomatic. The authors concluded that “[t]rans-vaginal repair of an anterior
 vaginal wall prolapse with the monofilament polypropylene mesh Gynemesh™ PS is an
 effective and safe procedure.” 23 Cuevas et al. reported in 2011 on a study involving the use of
 Gynemesh PS to create a Prolift-like device for treatment of severe pelvic organ prolapse. They
 observed a low recurrence rate, low rates of intraoperative and perioperative complications, and
 a low rate of mesh erosion. The study population was 100% satisfied with surgery, and 89.5%
 found the surgery improved their quality of life. 24

        Farthmann and colleagues studied 200 patients receiving either non-absorbable
 polypropylene mesh or a partially absorbable polypropylene mesh for cystocele treatment over

 20
    Letouzey V, et al., Long-Term Results after Trans-Vaginal Cystocele Repair Using a Tension-Free
 Polypropylene Mesh. J Minimally Invasive Gynecol 2008;15:S1–S159 (Abs. 102).
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    Natale F, et al., A prospective, randomized, controlled study comparing Gynemesh®, a synthetic mesh,
 and Pelvicol®, a biologic graft, in the surgical treatment of recurrent cystocele. Int Urogynecol J
 2009;20:75–81.
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    Miller D, et al., Prospective Clinical Assessment of the Transvaginal Mesh Technique for Treatment of
 Pelvic Organ Prolapse—5 Year Results. Female Pelvic Med & Reconstr Surg 2011 May/Jun;17(3):139–
 43.
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    Lee YS, et al., Efficacy and Safety of “Tension-Free” Placement of Gynemesh PS for the Treatment of
 Anterior Vaginal Wall Prolapse. INJ 2010;14:34–42.
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    Cuevas R, et al., Prolift Like (PL) Surgery: A Management Option for Severe Pelvic Organ Prolapse
 (POP) in a Public Hospital in a Developing Country. Int Urogynecol J 2011;22 (Suppl. 2):S197–S1766
 (Abs. 1108).
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Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-2 Filed    Filed 05/26/20 Page
                                                     Page 12 of     18 of 155
                                                                25 PageID  #: 33417



 three years. Consideration of mesh weight and foreign material were correlated with 200 patients
 randomized to conventional or a partially absorbable mesh. Management of mesh exposure,
 satisfaction with surgery, and postoperative pain were evaluated. Rate of mesh exposure was
 smaller in the partially absorbable mesh at 3.4% vs 7.5% at 36 months, but the authors found the
 rate of exposure to be low in both groups. Of the 200 patients, 27 patients had exposure of mesh,
 with 11 requiring surgical intervention. The rate of recurrent vaginal prolapse was higher in the
 partially absorbed mesh group. The mesh weight in the nonabsorbable group was 29 g/m2 with
 porosity >75 µm. Interestingly, exposure rates varied from 0 to 20.4% between hospital groups,
 indicating that surgical technique is an important outcome-determining factor. Statistically
 significant risk factors for exposure uncovered were concomitant hysterectomy, smoking,
 cesarean section, and a longer incision. The authors concluded that use of synthetic mesh was a
 safe technique for treatment of pelvic prolapse. Patient satisfaction rates did not vary between
 the two groups. 25

         Samour and colleagues, in 2014, described the safety and efficacy of using Gynemesh PS
 for cystocele repair using a minimally invasive technique of transvaginal corkscrew application
 through the obturator foramen. 152 patients who underwent repair for cystocele grade 2 or
 greater using Gynemesh PS were followed for up to 36 months with a variable degree of
 dyspareunia observed in the first 3 months and marked improvement and even disappearance of
 pain for 90% of patients by the end of 6 months. 3% had persistent dyspareunia by the
 conclusion of the study. The rate of mesh exposure was 3.3%, reportedly due to the avoidance of
 excising vaginal epithelium and full-thickness dissection with lack of tension on the mesh. The
 authors concluded that transobturator placement of Gynemesh PS can be considered a minimally
 invasive and promising method for correction of cystocele and stress incontinence based on low
 rate of complications, high rate of success, and low incidence of recurrence. 26

         Dr. Marcus Carey and colleagues, in 2009, reported the results of a randomized
 controlled trial comparing anterior and posterior vaginal repair with Gynemesh PS augmentation
 or traditional anterior and posterior colporrhaphy. The success rate in the mesh group at one
 year post-op was 81%, but only 65% in the traditional anterior and colporrhaphy group. Patients
 had a high level of satisfaction with the surgery and both groups showed improvements in
 symptoms and quality-of-life data. New-onset dyspareunia was reported in 16% of sexually
 active women in the mesh group versus 15% in the non-mesh group. 27

          In 2006, Boulanger and colleagues published the results of a study in which they placed
 five different meshes—Vicryl, Vypro, Prolene, Prolene Soft, and Mersilene in the peritoneum of
 pigs to study the tissue integration and tolerance of the meshes. The authors found that the
 absorbable prostheses made of Vicryl and the non-absorbable prostheses made of polypropylene
 (i.e., Prolene and Prolene Soft) induced the least severe inflammatory reactions and produced the

 25
    Farthmann J, et al., Lower exposure rates of partially absorbable mesh compared to nonabsorbable
 mesh for cystocele treatment: 3-year follow-up of a prospective randomized trial. Int Urogynecol J
 2013;24:749–58.
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    Samour H, et al., Minimally invasive cystocele repair technique using a polypropylene mesh introduced
 with the transobturator route. Arch Gynecol Obstet 2015 Jan;291(1):79–84.
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    Carey M, et al., Vaginal repair with mesh versus colporrhaphy for prolapse: a randomised controlled
 trial. Br J Obstet Gynecol 2009 Sep;116(10):1380–1386.
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Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-2 Filed    Filed 05/26/20 Page
                                                     Page 13 of     19 of 155
                                                                25 PageID  #: 33418



 best tissue integration. They concluded that Type I Amid monofilament material, such as
 polypropylene, seemed to be the best integrated and tolerated. 28 Memon developed a
 biomechanical test to evaluate mesh-reinforced repair as compared to suture-reinforced repair in
 an animal model. The conclusion of the study was that Gynemesh PS was the least likely
 synthetic material to fail after repeated cycles of stressing, and was superior to xenograft-
 reinforced repair and to suture-only repair. 29 In an animal study published in 2007, Bhende and
 colleagues studied Prolene Soft and other synthetic meshes, as well as naturally derived meshes,
 to observe the extent to which the meshes served “as a nidus for microbial attachment and
 growth, thus exacerbating surgical site infection.” They found that “[t]he synthetic meshes did
 not potentiate infection . . . whereas the naturally-derived meshes did.” 30

         A 2013 study looked at how pelvic organ prolapse affects sexual function and found that
 the use of mesh in anterior compartment repair was not associated with a worsening in sexual
 function or an increase in de novo dyspareunia when compared to traditional anterior
 colporrhaphy. It also noted that up to 64% of sexually active women attending a urogynecology
 clinic suffer from female sexual dysfunction. 31 Lowman and colleagues have reported that
 pelvic organ prolapse repair appears to have a high rate of associated dyspareunia regardless of
 whether the surgery is performed transvaginally or transabdominally. They also noted that
 baseline rates of dyspareunia range between 8–43% in women with pelvic organ prolapse, and
 that this fact makes the evaluation of de novo dyspareunia following prolapse repair quite
 difficult. 32

         Ongoing technological advances of synthetic meshes using polypropylene have been a
 moving target, with development of lighter and less stiff materials over the last 10 years. At the
 time of introduction of Gynemesh PS in the early 2000s, the material was considered the least
 stiff and most porous mesh to receive FDA clearance and introduction into the surgical market.
 The stiffness, weight, and porosity of Gynemesh PS has subsequently moved to the middle of the
 spectrum of synthetic mesh products as recent science has favored the least stiff, lightest weight,
 and most porous material possible. Nonetheless, Gynemesh PS is still a lightweight, large-pore
 mesh. There is a point of diminishing returns, as some of the lightest weight meshes have the
 most deformation and can fail in the physiologic environment of the vagina. Complications that
 are described are more related to surgical technique and patient selection than the individual
 mesh product used. The avoidance of large and “T” incisions, concomitant hysterectomy,
 tobacco use, obesity, exposure to radiation therapy for pelvic cancer, chronic use of steroids, and
 advanced age all play a significant role in the incidence of vaginal mesh exposure. Injury to
 either bladder intestine or rectum is a direct result of surgical misadventure. Patients with



 28
    Boulanger L, et al., Tissue integration and tolerance to meshes used in gynecologic surgery: An
 experimental study. Eur J Obstet & Gynecol and Reprod Biol 2006;125:103–08.
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    Memon HU, et al., Comparison of graft-reinforced repairs and suture repair using a novel
 biomechanical test
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    Bhende S, et al., Infection Potentiation Study of Synthetic and Naturally Derived Surgical Mesh in
 Mice. Surg Infections 2007;8(3):405–14.
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    Dietz V and Maher C, Pelvic organ prolapse and sexual function. Int Urogynecol J 2013;24:1853–1857.
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    Lowman JK, et al., Does the Prolift system cause dyspareunia? Am J Obstet Gynecol 2008
 Dec;199:707.e1–707.e6.
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Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-2 Filed    Filed 05/26/20 Page
                                                     Page 14 of     20 of 155
                                                                25 PageID  #: 33419



 symptomatic and increasing vaginal prolapse who have failed previous native suture plication
 often require augmented repairs with xenograft or synthetic materials.

         The Prolift device was the most studied mesh kit for pelvic organ prolapse treatment and
 the studies showed high success rates with minimal complications. 33 Van Raalte in 2007 studied
 350 patients undergoing the Prolift procedure with median follow-up of 6 months, and observed
 a mesh exposure rate of 1.1%, with all treated with office resection and/or vaginal estrogen. The
 postoperative pop-Q cure rate was 90.6% with a dyspareunia rate of 6.3%. One patient required
 in office vaginal injection for pain treatment and 1 patient had a surgical mesh resection. 34

         Withagen and colleagues, in 2011, published the results of a randomized controlled trial
 comparing 97 women undergoing conventional repair and 93 women undergoing Prolift repair.
 One year after surgery, they found anatomic failure of the procedure in 45.2% of the patients
 undergoing a conventional repair and in 9.6% of the Prolift patients (p < .001; OR 7.7; 95% CI
 3.3-18). Fourteen of the Prolift patients (16.9%) had a mesh exposure, but nine of the fourteen
 were asymptomatic and treated with local estrogen only. Five underwent an additional
 outpatient surgery to excise the exposed mesh. Those exposures resolved. In both groups,
 dyspareunia decreased at twelve months compared to baseline, and there was no statistically
 significant difference between the two groups. There was no statistically significant difference
 in de novo dyspareunia between the two groups at twelve months. 35

         In 2011, Altman and colleagues published in the New England Journal of Medicine their
 multi-center RCT comparing anterior colporrhaphy and Prolift surgery for the treatment of
 cystocele. They found that the primary endpoint of success (POP-Q stage 0 or 1) was
 significantly more common in the Prolift group (60.8%) than it was in the colporrhaphy group
 (34.5%). The rate of intra-operative hemorrhage was higher in the Prolift group. Re-operation
 to correct mesh exposure during the one-year follow-up period occurred in only 3.2% of the 186
 patients in the Prolift group. Dyspareunia was higher in the Prolift group, but the difference was


 33
    Halaska M, et al., A multicenter, randomized, prospective, controlled study comparing sacrospinous
 fixation and transvaginal mesh in the treatment of posthysterectomy vaginal vault prolapse. Am J Obstet
 Gynecol 2012;207:301.e1–7; da Silveira S, et al., Multicenter, randomized trial comparing native vaginal
 tissue repair and synthetic mesh repair for genital prolapse surgical treatment. Int Urogynecol J 2015
 Mar;26(3):335–342; Svabik K, et al., Comparison of vaginal mesh repair with sacrospinous vaginal
 colpopexy in the management of vaginal vault prolapse after hysterectomy in patients with levator ani
 avulsion: a randomized controlled trial. Ultrasound Obstet Gynecol 2014 Apr;43(4):365–371; de
 Landsheere L, et al., Surgical intervention after transvaginal Prolift mesh repair: retrospective single-
 center study including 524 patients with 3 years’ median follow-up. Am J Obstet Gynecol 2012
 Jan;206(1):83.e1–7; Withagen MI, et al., Trocar-Guided Mesh Compared With Conventional Vaginal
 Repair in Recurrent Prolapse: A Randomized Controlled Trial. Obstet Gynecol 2011 Feb;117(2):242–
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 mesh for prolapse. Am J Obstet Gynecol 2012 Jan;86:e1–e9; Altman D, et al., Anterior Colporrhaphy
 versus Transvaginal Mesh for Pelvic-Organ Prolapse. N Engl J Med 2011;364:1826–1836.
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    van Raalte H, et al., Short-Term Results of the Prolift Procedure in 350 Patients Used in the Treatment
 of Pelvic Organ Prolapse. Int Urogynecol J 2007;18 (Suppl. 1):S25–S105 (Abs. 083).
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    Withagen MI, et al., Trocar-Guided Mesh Compared With Conventional Vaginal Repair in Recurrent
 Prolapse. Obstet Gynecol 2011 Feb;117(2 Pt 1):242–50.
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Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-2 Filed    Filed 05/26/20 Page
                                                     Page 15 of     21 of 155
                                                                25 PageID  #: 33420



 not statistically significant. There was no statistically significant difference in pelvic or genital
 pain between the two groups. 36

        Halaska and colleagues published the results of their randomized controlled trial
 involving 168 patients receiving either a Prolift or SSLF with one-year follow-up. Prolapse
 recurred after 12 months in 39.4% of the SSLF patients and 16.9% of the Prolift patients (p =
 0.003). Mesh exposures occurred in 20.8% of the Prolift patients, but only 25% of those were
 symptomatic. Six of the symptomatic erosions resolved with local estrogen therapy and ten were
 surgically treated—six under general anesthesia and four under local anesthesia, but all
 successfully treated. Overall, only 7.6% of all the mesh patients required resection under general
 anesthesia. 37

         Sokol and colleagues in 2012 reported on the results of their one-year randomized
 controlled trial comparing treatment of women with women with stage ≥ 2 prolapse with either
 traditional repair or Prolift. They found that both operations resulted in objective and subjective
 improvement of prolapse, but the mesh resulted in a higher reoperation rate. They saw a 15.6%
 mesh exposure rate and a 9.3% reoperation rate for exposure in the Prolift group. All of the
 exposures resolved after outpatient trimming without further exposures. In the traditional repair
 patients, 15% had apical Gore-Tex suture exposures. Despite the 15.5% exposure rate in the
 Prolift patients, both groups had high subjective satisfaction at one year, and there was no
 significant difference found between the groups with respect to sexual function at one year. 38

         In 2014, Svabik and colleagues published a study comparing Prolift surgery to
 sacrospinous ligament fixation surgery in patients who had had a hysterectomy and a levator ani
 avulsion injury. At one-year follow-up, they saw a 3% rate of anatomical failure in the patients
 who received Prolift repair, and a 65% frate of anatomical failure in the SSLF group. There
 were no major complications such as heavy bleeding, bladder injury, or bowel injury in either
 group. There were three mesh exposures in the Prolift group at the three-month follow-up but no
 additional exposures at the one-year follow-up. One of those three was asymptomatic and
 treated conservatively. Re-operation for stress urinary incontinence was significantly higher in
 the Prolift group, but the authors theorized that the lower rate in the SSLF group may have
 resulted from a higher incidence of urethral king in the SSLF group, which masked stress
 incontinence in those with recurrent cystocele. Dyspareunia rates were low, with two patients
 experiencing it in the Prolift group and one in the SSLF group. 39

         In 2015, da Silveira and colleagues published the results of their multi-center randomized
 trial comparing native tissue repairs with Prolift. The authors found that complications were

 36
    Altman D, et al., Anterior Colporrhaphy versus Transvaginal Mesh for Pelvic-Organ Prolapse. N Engl J
 Med 2011 May;364(19);1826–36.
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    Halaska M, et al., A multicenter, randomized, prospective, controlled study comparing sacrospinous
 fixation and transvaginal mesh in the treatment of posthysterectomy vaginal vault prolapse. Am J Obstet
 Gynecol 2012 Oct;207:301.e1–7.
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    Sokol AI, et al., One-year objective and functional outcomes of a randomized clinical trial of vaginal
 mesh for prolapse. Am J Obstet Gynecol 2012 Jan;206:86.e1–9.
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    Svabik K, et al., Comparison of vaginal mesh repair with sacrospinous vaginal colpopexy in the
 management of vaginal vault prolapse after hysterectomy in patients with levator ani avulsion: a
 randomized controlled trial. Ultrasound Obstet Gynecol 2014 Apr;43(4):365–71.
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Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-2 Filed    Filed 05/26/20 Page
                                                     Page 16 of     22 of 155
                                                                25 PageID  #: 33421



 statistically significantly higher in the mesh group, but the “only between-group difference was
 related to mesh exposure, which occurred in 20% of the patients in the mesh group. Of those
 patients, however, only three patients required revisions surgery; in the other fifteen patients the
 exposure was treated with topical estrogen. The numbers of patients with dyspareunia, pain, and
 recurrence of prolapse were higher in the native tissue cohort, but the differences were not
 statistically significant. Quality of life scores were significantly improved in each group, but
 there was a greater improvement of quality of life in the mesh group despite the increased rate of
 exposures. Anatomical efficacy was higher in the mesh group in the anterior compartment. 40

        Benbouzid and colleagues did a study of Prolift patients with 4.5-year follow-up. They
 observed an 85.3% cure rate (defined as POP-Q stage 0–1) with no recurrence. Mesh exposure
 only occurred in 4 of the 75 patients (5.3%); two of whom were treated with topical estrogen,
 and two who underwent revision. There were no recurrences beyond POP-Q Stage II. 41

         De Landsheere and colleagues conducted a retrospective single-center study of 524
 patients undergoing Prolift, with a median follow-up of three years. The global reoperation rate
 was 11.6%. They found the rate of mesh complications was low. 42

        Maher and colleagues more recently analyzed 37 randomized controlled trials involving
 4,023 women comparing different types of vaginal repair (mesh, biologic graft, or native tissue)
 and their analysis was recently published by The Cochrane Collaboration. While they found
 more women in the mesh group needed reoperation for the combined outcome of prolapse, SUI,
 or mesh exposure, rates of repeat surgery for prolapse were lower in the mesh group, and there
 was no evidence of a difference between the mesh and other groups in rates of repeat
 incontinence surgery. Eight percent of the mesh patients needed reoperation for mesh exposure.
 Recurrent prolapse was less likely in the mesh patients than in the other patients. The authors
 found no evidence of a difference in dyspareunia rates between the groups, and the mesh patients
 awareness of prolapse at 1–3 years was less likely than for the patients in the other groups. 43

         I have personally performed over 1,000 procedures involving implantation of Prolene
 polypropylene mesh for treatment of stress urinary incontinence or pelvic organ prolapse, and
 have found the Prolene polypropylene products to be safe and efficacious when following the
 appropriate patient selection and the technique described by the product instructions for use and
 sound medical judgment and surgical technique and concepts. I have lectured and proctored
 physicians on the safe use of Prolene polypropylene devices for pelvic floor surgery since 2000.
 The devices are high quality, straightforward, and the polypropylene mesh is stable over time, as
 I have patients implanted 15 years ago and see no long-term complication trends. Since the
 television advertisements claiming pelvic mesh is a dangerous product, I have received hundreds

 40
    Da Silveira, et al., Multicenter, randomized trial comparing native vaginal tissue repair and synthetic
 mesh repair for genital prolapse surgical treatment. Int Urogynecol J 2015 Mar;26(3):335-42.
 41
    Benbouzid S, et al., Pelvic organ prolapse transvaginal repair by the Prolift system: Evaluation of
 efficacy and complications after a 4.5 years follow up. Int J Urol 2012;19:1010–1016.
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    de Landsheere L, et al., Surgical intervention after transvaginal Prolift mesh repair: retrospective single-
 center study including 524 patients with 3 years’ median follow-up. Am J Obstet Gynecol 2012
 Jan;206(1):83.e1–7.
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    Maher C, et al., Transvaginal mesh or grafts compared with native tissue repair for vaginal prolapse.
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Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-2 Filed    Filed 05/26/20 Page
                                                     Page 17 of     23 of 155
                                                                25 PageID  #: 33422



 of phone calls from anxious patients with fears of product recalls and future complications. The
 overwhelming majority of those anxious patients have excellent outcomes and no adverse
 symptoms. The effect on current patients is to create fear that a synthetic sling will cause future
 problems and many choose not to proceed to treatment. There is a 30% reduction in the number
 of patients undergoing stress incontinence and pelvic reconstructive surgery. 44

        As set forth above, the efficacy and safety of the Ethicon’s Gynemesh PS and Prolift is
 well-reported. The peer-reviewed, published clinical data shows that procedures involving
 Gynemesh PS and the Prolift device can be performed safely and effectively. The studies show
 that most patients do not experience dyspareunia or pelvic pain after undergoing transvaginal
 mesh repair for pelvic organ prolapse.

         Additionally, the professional organizations AUGS and SUFU—non-profit organizations
 representing over 2,000 practicing physicians, nurse practitioners, physical therapists, nurses,
 health care professionals and researchers dedicated to treating female pelvic floor disorders—
 have made the following statements regarding the safe use of polypropylene and the benefits of
 providing surgeons with options for treating pelvic floor disorders:

         Polypropylene material is safe and effective as a surgical implant. Polypropylene has
 been used in most surgical specialties (including general surgery, cardiovascular surgery,
 transplant surgery, ophthalmology, otolaryngology, gynecology, and urology) for over five
 decades, in millions of patients in the US and the world (personal communication with
 manufacturers of polypropylene suture and mesh). As an isolated thread, polypropylene is a
 widely used and durable suture material employed in a broad range of sizes and applications. As
 a knitted material, polypropylene mesh is the consensus graft material for augmenting hernia
 repairs in a number of areas in the human body and has significantly and favorably impacted the
 field of hernia surgery. As a knitted implant for the surgical treatment of SUI, macroporous,
 monofilament, light weight polypropylene has demonstrated long term durability, safety, and
 efficacy up to 17 years. 45

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        The American Urogynecologic Society strongly opposes any restrictions by state
        or local medical organizations, healthcare systems, or insurance companies which
        ban currently available surgical options performed by qualified and credentialed
        surgeons on appropriately informed patients with pelvic floor disorders. 46

        I agree with these position statements.


 44
    Perkins CE, Warrior K, Eilber KS, et al. The Role of Mid-urethral Slings in 2014: Analysis of the
 Impact of Litigation on Practice. Curr Bladder Dysfunct Rep (2015) 10:39-45. DOI 10.1007/s11884-014-
 0278-z; Koo K, Gormley EA, Abstract MP81-05: Transvaginal Mesh in the Media Following the 2011
 FDA Update.
 45
    AUGS-SUFU, Position Statement on Mesh Midurethral Slings for Stress Urinary Incontinence (Jan. 3,
 2014).
 46
    AUGS Position Statement on Restriction of Surgical Options for Pelvic Floor Disorders (2013).
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      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-2 Filed    Filed 05/26/20 Page
                                                     Page 18 of     24 of 155
                                                                25 PageID  #: 33423



         Plaintiffs’ experts’ theory of mesh degradation is not substantiated in the literature or in
 my personal experience using polypropylene slings and mesh for incontinence treatment and
 pelvic reconstruction. Studies of explanted mesh are difficult to interpret, as there is damage to
 the material during explantation, treatment with chemicals to remove the collagen and biologic
 matrix that has incorporated into the mesh, and preparation onto slides for microscopic
 examination. There is no literature to support clinically significant mesh degradation in humans.
 Polypropylene suture is used by vascular surgeons on major blood vessels and in my practice
 when tying off renal arteries and repairing the largest vein in the body; the vena cava. If there
 was a question of degradation or loss of strength over time, Prolene suture would not be the
 suture of choice for the highest-risk surgery. The studies often relied on by plaintiffs’ experts
 offering the opinion that the Prolene mesh degrades are unreliable and do not support that theory.
 For instance, the Clavé study from 2010 is unreliable and does not show degradation. The
 chemical analyses performed on a limited subset of the specimens does not show degradation,
 and the scanning electron microscope photos in the study show surface cracking that could be
 from biologic material and handling or preservation rather than the cracking of the
 polypropylene itself. Also, the sample analyzed in the study was only 32 out of the 100
 specimens, and the authors fail to discuss how those 32 specimens were selected. They also fail
 to discuss whether the mesh was damaged during surgical explantation.

        Nor have I seen a problem with shrinking, contraction or pore collapse when placed
 according to the IFU. Scar tissue that forms after any pelvic surgery contracts, and tissue
 incorporating into implanted mesh is no exception, but the mesh itself does not contract.

         Some plaintiffs’ experts’ have said that placement of transvaginal mesh is dangerous and
 violates one of the most basic tenets of surgical teachings in that it involves placing a permanent
 implant into a human through a contaminated surgical field . If that theory was correct, the
 majority of patients receiving transvaginal mesh would have infections. However, vaginal
 infections following implantation of transvaginal mesh are very rare. Such opinions by
 plaintiffs’ experts are not borne out in facts. There are tens of thousands of women with
 transvaginally placed mesh who are doing well, including in my own practice in the past fifteen
 years. If what plaintiffs’ experts are saying was true, the majority of patients would have
 complications rather than a small percentage. Operative prep of the vagina is performed prior to
 the surgery, which maximizes sterility. The available medical literature does not indicate an
 increased risk of infection with transvaginal mesh procedures like the Prolift.

         Plaintiffs’ experts contend that the Prolift is defective and/or dangerous because it
 involves “blind” passage of the graft. However, many pelvic floor surgical procedures are
 performed with tactile palpation based on a knowledge of relevant anatomy, and the Prolift is no
 different in that regard. Injury to adjacent organs and vessels is a risk of all prolapse surgeries,
 not just those involving mesh grafts placed transvaginally.

        There is no practical or clinical difference between mechanically cut or laser-cut mesh in
 terms of how it is deployed or incorporated in the tissues. 47 Mesh is not pre-stretched to 50%


 47
  ETH.MESH.01784823-28 (CER Laser Cut Mesh); ETH.MESH.01222075-79 (Elongation
 Characteristics of Laser Cut Prolene Mesh for TVT); ETH.MESH.06696367-79 (Performance Evaluation
                                                  17
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-2 Filed    Filed 05/26/20 Page
                                                     Page 19 of     25 of 155
                                                                25 PageID  #: 33424



 elongation before it is used. The mesh must have porosity large enough to encourage fibroblast
 and collagen deposition for incorporation, and it must have enough elasticity to allow give
 during dynamic stressing that occurs with activity. Mesh requires an optimal level of stiffness to
 properly do its job. Both laser-cut and mechanically cut Prolene mesh is safe and efficacious as
 demonstrated by the medical literature and in my experience.

         Plaintiffs’ experts have also claimed that the Gynemesh PS mesh in the Prolift is
 cytotoxic and causes an excessive inflammatory response. This is not supported in the literature,
 and I have not seen it in my practice. The mere presence of chronic inflammatory cells in a
 tissue specimen does not prove that there is a chronic inflammatory process that is active. Such
 cells can be present but quiescent, and can be seen in vaginal tissue even when no mesh or other
 foreign body has been implanted.

         Plaintiffs’ experts may claim that Ultrapro or Vypro mesh would have been a safer
 alternative to the Prolene Soft mesh. However, with respect to Vypro, a study of the use of that
 mesh in pelvic floor surgery showed that tolerance of the Vypro mesh was “very poor” and
 associated with high rates of erosion and cicatrisation. 48 With respect to Ultrapro, the study
 often cited by plaintiffs’ experts in support of that material as a safer alternative to the Prolene
 TVT mesh is the Okulu study, but that study shows the same number of erosions (2) occurred in
 both the Prolene Soft cohort and the Vypro cohort, despite Vypro’s larger pore size and lighter
 weight, and that the Ultrapro group just had one fewer erosion. 49

         Plaintiffs’ experts sometimes suggest or claim that mesh made of Prolene polypropylene
 is carcinogenic, but there is no reliable scientific evidence to support the theory or claim that
 polypropylene can cause cancer or sarcoma. In the more than 1,000 cases in which I have
 implanted one of the Ethicon Prolene polypropylene products, I have not seen a single case of
 cancer attributable to the mesh. The literature also refutes plaintiffs’ experts’ suggestion or
 claim. 50 (King AB, et al. Is there an association between polypropylene midurethral slings and
 malignancy? Urology. 2014 Oct;84(4):789-92; King AB, Goldman HB. Current controversies
 regarding oncologic risk associated with polypropylene midurethral slings. Curr Urol Rep. 2014
 Nov;15(11):453; Linder BJ, et al., Evaluation of the local carcinogenic potential of mesh used in
 the treatment of female stress urinary incontinence. Int Urogynecol J 2016 DOI:10.1007/s00192-
 016-2961-4.) The medical literature contains no case reports of tumors caused by or associated
 with polypropylene implantation despite the fact that polypropylene has been implanted in



 of TVT U Prolene Mesh); Lin AT, et al., In Vivo tension Sustained by Fascial Sling in Pubovaginal Sling
 Surgery for Female Stress Urinary Incontinence, J Urol , 2005 Mar;173(3):894–897.
 48
    Denis S, et al., Pelvic Organ Prolapse Treatment by the Vaginal Route Using a Vypro Composite Mesh:
 Preliminary Results About 106 Cases. ICS IUGA 2004; Abstract 620.
 49
    Okulu E, et al., Use of three types of synthetic mesh material in sling surgery: A prospective
 randomized clinical trial evaluating effectiveness and complications. Sand J Urol 2013;47:217–224.
 50
    King AB, et al. Is there an association between polypropylene midurethral slings and malignancy?
 Urology. 2014 Oct;84(4):789-92; Moalli P, et al., Polypropylene mesh: evidence for lack of
 carcinogenicity. Int Urogynecol J 2014, DOI 10.1007/s00192-014-2343-8; King AB, Goldman HB.
 Current controversies regarding oncologic risk associated with polypropylene midurethral slings. Curr
 Urol Rep. 2014 Nov;15(11):453.
                                                   18
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-2 Filed    Filed 05/26/20 Page
                                                     Page 20 of     26 of 155
                                                                25 PageID  #: 33425



 millions of people. (AUGS & SUFU, Frequently Asked Questions by Providers—Mid-urethral
 Slings for Stress Urinary Incontinence (available at http://www.augs.org/p/bl/et/blogaid=194).)

 V. Prolift’s Instructions for Use and Other Educational Materials

        a.      Ethicon’s Instructions for Use, Surgical Technique Guide, and Surgeon’s
                Resource Monograph

         Each Prolift device was accompanied by an Instructions for Use (IFU) document. The
 IFU describes the Prolift Total, Anterior, and Posterior Pelvic Floor Repair Systems. It notes
 that the systems “are indicated for tissue reinforcement and long-lasting stabilization of fascial
 structures of the pelvic floor in vaginal wall prolapse where surgical treatment is intended, either
 as mechanical support or bridging material for the fascial defect.” (ETH.MESH.02341522-89.)
 It contains a detailed description of the total, anterior, and posterior implants, and diagrams that
 demonstrate the general use of each device. The IFU starts with a request to the user to “Please
 read all information carefully,” and then cautions that “[f]ailure to properly follow instructions
 may result in improper functioning of the devices and lead to injury.” It also notes that
 “[t]raining on the use of the GYNECARE PROLIFT Pelvic Floor Repair Systems is
 recommended and available,” and advises the user to contact his or her company sales
 representative to arrange for the training. The IFU also directs the surgeon to “[r]efer to the
 recommended surgical technique for the GYNECARE PROLIFT Pelvic Floor Repair Systems
 for further information on the GYNECARE PROLIFT procedures.” It also provides instructions
 for the placement of sutures, staples, or other fixation devices (if used) at a certain distance away
 from the edge of the mesh The IFU sets forth the contraindications for using the product.

         The IFU then sets forth Warnings and Precautions and potential Adverse Reactions. It
 cautions that “[u]sers should be familiar with surgical procedures and techniques involving
 pelvic floor repair and nonabsorbable meshes before employing the GYNECARE PROLIFT
 Pelvic Floor Repair Systems.” It also notes that “[a]cceptable surgical practices should be
 followed in the presence of infected or contaminated wounds,” and advises that after surgery,
 patients “should be advised to refrain from intercourse, heavy lifting and/or exercise (e.g.
 cycling, jogging) until the physician determines when it is suitable for the patient to return to her
 normal activities.” The IFU warns the surgeon to “[a]void placing excessive tension on the mesh
 implant during handling.” It also directs the surgeon to “[r]efer to the recommended surgical
 technique for the GYNECARE PROLIFT Pelvic Floor Repair System for further information on
 the GYNECARE PROLIFT procedures.” The IFU warns the surgeon to use the Prolift “with
 care to avoid damage to vessels, nerves, bladder and bowel,” and that “[a]ttention to patient
 anatomy and correct use of the device will minimize risks.” It warns that “[t]ransient leg pain
 may occur and advises that it can usually be managed with mild analgesics. It also notes that the
 potential adverse reactions associated with the device “are those typically associated with
 surgically implantable materials, including infection potentiation, inflammation, adhesion
 formation, fistula formation, erosion, extrusion and scarring that results in implant contraction.”
 Finally, it warns that “[p]unctures or lacerations of vessels, nerves, bladder, urethra or bowel
 may occur during GYNECARE PROLIFT Guide passage and may require surgical repair.




                                                  19
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-2 Filed    Filed 05/26/20 Page
                                                     Page 21 of     27 of 155
                                                                25 PageID  #: 33426



         The IFU and the warnings contained therein are adequate and allow for the safe use of the
 device. The instructions are such that a trained and experienced physician could implant the
 mesh safely and effectively. The IFU is not intended to teach surgical technique, which is
 assumed to have been in the skill set of the surgeon. Every surgeon should be aware of the
 intraoperative and post-operative risks inherent in the use of surgical mesh. A surgeon need not
 be taught the entire practice of medicine in an IFU. The totality of surgical risks is not included
 in the IFU for surgeons. Surgeons have training from numerous sources—medical school,
 residency, maybe fellowships, colleagues’ experiences, their own experience, literature, etc. The
 IFU is used by the surgeon to become familiar with the specific device, the handling, placement
 and deployment in the manner that maximizes safety and efficacy. The IFU is never assumed to
 be a completely comprehensive list of all the possible adverse complications that are low
 prevalence. The IFU is intended to guide the surgeon to perform the procedure as the device was
 designed.

         Mesh exposure and erosion or extrusion are the only unique risks to mesh surgeries, and
 are essentially wound complications. Wound complications can also occur with other surgeries.
 Mesh exposure can be caused by poor quality tissue due to atrophic vaginitis, history of pelvic
 radiation therapy, too superficial dissection prior to sling placement, hematoma, tobacco usage,
 and early sexual activity.

         The IFU lists indications for use, contraindications, most prevalent risks, and a detailed
 description of how to deploy the mesh safely. IFUs in general are not intended to list every
 possible adverse event or post-operative complication. The IFU is generally understood to be a
 guide in the proper deployment of the device. Surgeons are trained in residency how to manage
 vaginal surgery with anatomy, handling of tissues, defining surgical planes, and perioperative
 care. The IFU functions to describe how this particular device is best deployed but the patient
 selection, preoperative informed consent, perioperative management, and post-operative care of
 the patient is the surgeon’s responsibility. The patient’s degree of severity of vaginal prolapse,
 with consideration of patient age, tissue integrity, previous pelvic surgery, health status, tobacco
 usage, and steroid or opioid dependency leads the surgeon to make a complex decision about
 surgical approach and the likelihood of success.

         Plaintiffs’ experts may claim that pain, dyspareunia should have been warned about in the
 IFU. I disagree. Pelvic floor surgeons know that pain and dyspareunia may occur with any
 pelvic floor surgery, and they know that any surgical complications can be temporary or
 permanent. Surgeons know that surgical complications can be mild, moderate, or severe.
 Surgeons need not be specifically warned in an IFU of these fundamental surgical risks.
 Published data supports the fact that dyspareunia rates following pelvic floor surgery with
 Prolene Soft mesh are low. 51

 51
   Fatton B, et al., Transvaginal repair of genital prolapse: preliminary results of a new tension-free
 vaginal mesh (Prolift™ technique)—a case series multicentric study. Int Urogynecol J 2007;18:743–752
 (noting that among the 30 patients known to be sexually active, 76.6% had resumed sexual intercourse at
 three months follow-up, while only three patients complained of dyspareunia); Paplomata E, et al.,
 Genital Floor Repair Using Polypropylene Meshes: a Comparative Study. 2007 (Abs. 482) (noting that
 only two patients of 56 that underwent prolapse repair with Gynemesh or Prolift developed dyspareunia
 during 21-month follow-up); Jacquetin B, et al., Total transvaginal mesh (TVM) technique for treatment
                                                   20
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-2 Filed    Filed 05/26/20 Page
                                                     Page 22 of     28 of 155
                                                                25 PageID  #: 33427




         Ethicon also produced a Surgical Technique Guide and a Surgeon’s Resource
 Monograph. The Surgical Technique Guide provided detailed instructions on preparing the
 patient for Prolift surgery and the total, anterior, and posterior procedures performed in
 conjunction with vaginal hysterectomy. It noted that “[r]etrospective data analysis suggests that
 the rate of mesh exposure may be higher when performing the TVM procedure with and without
 concurrent hysterectomy, or where the patient had a prior hysterectomy (for the Prolift Total
 procedure).” The Surgeon’s Resource Monograph was based in part on the experience of pelvic
 floor surgeons from around the world who had performed Prolift procedures in a large number of
 cases. The Monograph provided background information on the development of Prolift, and
 correctly noted that it contained “information that is not available on most procedures.” It set
 forth expert opinions on the use of the Prolift Total, Anterior, and Posterior Pelvic Floor Repair
 System, and discussed patient selection and preparation, surgical technique, anesthesia and
 hydrodissection, incisions, additional sutures, mesh handling, and complications including
 hemorrhage, visceral injury, infection, erosion, exposure, extrusion, dyspareunia and vaginal
 pain. It also included a summary of the available clinical data. The instructions and warnings
 provided by Ethicon in these documents were adequate and helpful to surgeons.

         Ethicon also provided a professional education program that supplemented the IFU.
 There was a preceptorship in which physicians would attend didactic lectures discussing patient
 selection, surgical technique, and literature on the device, followed by time in a cadaver lab spent
 learning how to implant the devices. Surgeons were also provided the opportunity to observe
 other surgeons implanting the devices in patients, or to have a surgeon experienced in using the
 device scrub in on a surgery to oversee the surgeon’s implantation of the device. Complications
 and the management of complications were discussed in these professional education programs,
 which were extremely helpful. This professional education program did not, however, take the
 place of surgeon credentialing at the hospital level.

        c.      Prolift Brochures

         Ethicon produced brochures regarding the Prolift device, which surgeons could provide
 to patients considering surgical treatment of their pelvic organ prolapse. The brochures
 background information regarding pelvic organ prolapse such as a general description of pelvic
 organ prolapse, the various symptoms one can experience with pelvic organ prolapse, the causes
 of the condition, and how common it is. The brochures also described the various types of pelvic
 organ prolapse and provided diagrams depicting the various types. The brochures discussed
 treatment options—both conservative and surgical—for pelvic organ prolapse, and noted that
 patients “should undergo a thorough evaluation to ensure a proper diagnosis” of pelvic organ
 prolapse. (ETH.MESH.03904968–75.) They described the Prolift device, how it is different
 from other surgical alternatives, and how the device works. They provide information on what
 the patient can expect during the procedure and after they go home, and they discussed risks of
 the Prolift procedure, including “injury to blood vessels of the pelvis, nerve damage, difficulty
 urinating, bladder and bowel injury,” and exposure of the mesh into the vaginal canal. All of
 this information was set forth in terms that are understandable to those without any medical

 of pelvic organ prolapse: a 5-year prospective follow-up study. Int Urogynecol J 2013 Oct;24(10):1679–
 1686.
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      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-2 Filed    Filed 05/26/20 Page
                                                     Page 23 of     29 of 155
                                                                25 PageID  #: 33428



 training. The brochures then set forth the indications, contraindications, warnings and
 precautions, and adverse reactions associated with the device.

        The product brochures provided adequate information regarding the Prolift device and
 was helpful to patients in my practice. The brochures did not, however, serve as a substitute for
 a comprehensive informed consent discussion between the surgeon and the patient.

 VI. The Design of Prolift

        a.      The Usefulness, Desirability, and Safety of the Prolift Device

         Gynemesh PS mesh—the mesh used in the Prolift device—is very useful to surgeons
 because it is a lightweight, large-pore, knitted, monofilament Prolene polypropylene mesh that is
 well-tolerated by the body and adds needed reinforcement to native tissue for repair of fascial
 defects. The large pore-size of the mesh allows for tissue incorporation and the passage of
 macrophages and leukocytes to help clear any bacteria that could lead to an infection. Unlike
 allograft or xenograft material, synthetic mesh like Gynemesh PS is readily available, is not met
 with cultural or religious objections, and presents no risk of disease transmission by viruses,
 prions, and bacteria.

          The polypropylene monofilament used to knit the mesh has been safely used in surgery as
 suture throughout the body for over 50 years, and has been shown to be stable and does not
 degrade in the body over time. The device is also useful because it comes with instructions for
 use, a tracking lot number for safety and batch analysis, as well as MDR reporting and FDA
 analyses. The mesh used in the device is not met with cultural or religious objections like
 allografts or xenografts, and is extremely effective and durable, with very low recurrence rates.
 As discussed in the studies above, there is an extensive body of literature supporting the safety of
 the mesh and the efficacy of treating pelvic organ prolapse with the device.

        It is comforting as a surgeon to be using a product that is known to have the largest
 amount of peer-reviewed data from multiple institutions substantiating a safe, reliable,
 reproducible technique and material. Prolene has been around for 50 years, been safely used in
 various applications, and the body’s reaction to the material is known.

         Complications are usually surgery-related and not mesh-specific. Exposures are
 uncommon and manageable, occurring in a small minority of cases. The cause can be poor tissue
 integrity caused by estrogen deficiency, delayed wound healing due to diabetes, steroid usage,
 hematoma formation, or placing the sling too superficially. Treatment includes application of
 topical estrogen cream, re-closure of the mucosal edges, and limited mesh excision if necessary.
 The excision can be performed in an office setting under local anesthesia or under light sedation
 in an OR. Dyspareunia is rare following implantation of the device, and most sexual dysfunction
 occurring after pelvic organ prolapse surgery is connected to concomitant hysterectomy and/or
 oophorectomy. Graft-related complications can occur with any material used for augmentation,
 whether it is synthetic or biologic graft material or synthetic suture material. Abed and




                                                 22
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-2 Filed    Filed 05/26/20 Page
                                                     Page 24 of     30 of 155
                                                                25 PageID  #: 33429



 colleagues’ systematic review in 2011 showed that erosions happen in 10.1% of patients
 receiving biological grafts and in 10.3% of patients receiving synthetic grafts. 52

         The trocars used with the Prolift device made it easier to affix the vagina to deep
 structures that can be difficult to access without such tools. The fact that the mesh was pre-cut
 for an anterior, posterior, or total repair was also helpful and useful. The device allowed the
 surgeon to reinforce a prolapse repair with a durable mesh graft in a minimally invasive surgery .

         All surgical procedures have inherent risks. All pelvic surgeries have similar risks, and
 the introduction of the Gynemesh PS mesh and the Prolift device has served to decrease
 complications when compared to previous techniques. Because native repairs do not involve a
 kit product, complications are not reportable to the MAUDE database. Scientific research has
 provided improved materials and applications to both improve efficacy and decrease
 complications. Synthetic mesh that is microporous or too macroporous has proven to be either
 less safe or less efficacious. If the mesh is too lightweight or too large pore, there is inadequate
 support.

         All pelvic surgery has similar and inherent risks. Pelvic floor surgeons should be and are
 aware of the potential complications involved with any surgical treatment of pelvic organ
 prolapse based on a combination of their medical school education, their residencies,
 fellowships, their experience, their continuing education, and their review of the device’s IFU if
 a surgical mesh device is used. Risks such as infection, scarring, inflammation, bladder damage,
 bowel damage, ureter damage, nerve damage, injury to vessels, wound complications (such as
 wound dehiscence, herniation, hematoma, seroma, pelvic abscess, exposure, and erosion), pain,
 pelvic pain, groin pain, dyspareunia, fistula, anesthetic risks, bowel or bladder dysfunction,
 failure of the operation, bleeding, death, pulmonary embolism, myocardial infarction,
 pneumonia, deep vein thrombosis, and need for reoperation are basic elemental surgical risks of
 any pelvic floor surgery involving mesh. Surgeons understand that these complications can
 happen, and they also understand that the symptoms can range in terms of severity and duration.

          Surgeons are expected to understand the anatomy in which they are operating, and should
 identify and dissect in safe planes, avoiding inadvertent damage to the organs and vessels
 contained within the pelvis. The education and training of the pelvic surgeon should be adequate
 to know the possibility of complications and their avoidance, risks of recurrence and reoperation.
 Indeed, the development of biologic and synthetic materials was motivated by the high failure
 rate of pelvic reconstruction due to the weakness of the patients’ connective tissue leading to the
 condition requiring repair. There is an extensive body of medical knowledge in the medical
 literature discussing the possibility of complications with the use of meshes. Surgeons’ prior
 experience with mesh informs their understanding of potential complications with pelvic floor
 surgeries, including those involved with mesh devices. While mesh exposure is unique to mesh
 devices, it is obvious, and it is general knowledge within female urology and urogynecology.
 The potential injury to vessels and organs caused by trocars is well-known to surgeons, and
 potential mesh exposure and foreign body reactions are common knowledge.

 52
   Abed H, et al., Incidence and management of graft erosion, wound granulation, and dyspareunia
 following vaginal prolapse repair with graft materials: a systematic review. Int Urogynecol J 2011
 Jul;22(7):789–798.
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      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-2 Filed    Filed 05/26/20 Page
                                                     Page 25 of     31 of 155
                                                                25 PageID  #: 33430




         Furthermore, the FDA issued a Public Health Notification in 2008 regarding the use of
 synthetic mesh for treatment of prolapse and incontinence. It alerted healthcare practitioners to
 “complications associated with transvaginal placement of surgical mesh to treat Pelvic Organ
 Prolapse (POP) and Stress Urinary Incontinence (SUI).” It noted that the major complications
 were rare, but could have serious consequences, and that the “most frequent complications
 included erosion through the vaginal epithelium, infection, pain, urinary problems, and
 recurrence of prolapse and/or incontinence.” It also noted that there were “reports of bowel,
 bladder, and blood vessel perforation during insertion,” and that “[i]n some cases, vaginal
 scarring and mesh erosion led to a significant decrease in patient quality of life due to discomfort
 and pain, including dyspareunia.” This Public Health Notification was yet another source of
 knowledge for surgeons regarding potential complications associated with synthetic mesh
 midurethral slings, complementing the Prolift’s IFU, Ethicon’s professional education seminars,
 and the surgeons’ training, education, and experience.

          Based upon the analysis above, and on my education, my training, my experience using
 these products and alternative incontinence treatments, and my reading of the literature
 referenced above, I believe that Ethicon’s Prolift device is not defective, but was reasonably safe
 for its intended use and had a positive benefit-to-risk profile. It provided better anatomic support
 than native tissue repairs, and most patients were very satisfied with the Prolift procedure.
 Recovery times and operative times were minimal, success rates were high, and complication
 rates were low with the Prolift device. In my opinion, the benefits of the Prolift device
 outweighed the risks of using the product. At the time the product was launched, I do not believe
 it could have been made safer for its intended use. The product was state of the art at the time it
 was launched.




 Date: ____2/29/16_____                                _____________________________
                                                       Douglas H. Grier, M.D.




                                                 24
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-3 Filed   Filed 05/26/20
                                                   Page 1 ofPage 32 of 155
                                                             20 PageID  #: 33431




              Exhibit C
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-3 Filed   Filed 05/26/20
                                                   Page 2 ofPage 33 of 155
                                                             20 PageID  #: 33432



                              Report re Prolene Soft (Gynemesh PS)
                                     Douglas H. Grier, M.D.
                                Sound Urological Associates, P.S.
                                       21822 76th Ave., W
                                      Edmonds, WA 98026

         This report contains a summary of my qualifications, education, training, and experience,
a statement of my opinions that I have formed to date, the bases for those opinions, and the
information I considered in forming my opinions. All of my opinions are based on my
education, training, clinical experience, the pertinent medical literature, discussions with
colleagues, and other materials I have reviewed. Materials that support my findings and
opinions, including documents that I have reviewed, are identified either in this report or are
listed in the attached reliance materials list.

        All of the opinions I express in this report are held to a reasonable degree of medical and
scientific certainty. If I receive additional information after signing this report but before trial, I
may form additional or different opinions.

I. Background

        a.      Education, Training, and Experience

       I attended the University of Florida in Gainesville, Florida, graduating with a Bachelor of
Science degree in Chemistry with High Honors in 1976. I attended medical school at George
Washington University, graduating in 1982. I then did a surgical internship in 1982–1983 at the
Portsmouth Naval Hospital in Portsmouth, Virginia. Following my internship, I did a urological
residency at the Portsmouth Naval Hospital from 1984–1988. I served as Chief of Urology at
Jacksonville Naval Hospital in 1990-91.

        Prior to my residency, I served in Operation Urgent Fury in Grenada in October 1983 and
as part of the Multinational Peacekeeping Force in Beirut, Lebanon in 1983–1984. After my
residency, I served in Operation Desert Shield and Operation Desert Storm with the 1st Marine
Division, stationed in Saudi Arabia and Kuwait in 1990–1991.

       I am the President-Elect of the Medical Staff at Swedish/Edmonds Hospital in Edmonds,
Washington. I also serve as the Chair of Swedish Hospital’s Medical Quality Oversight
Committee, Chair of the Credentials Committee, Treasurer of the Medical Staff for the Swedish
Hospital System, and as a member of the Executive Committee at Swedish Hospital.

       I became a Diplomate of the American Board of Urology in 1990 and was recertified in
2010. I am an active member of the American Urological Association, the Washington State
Medical Association, the Northwest Urological Society, the Washington State Urology Society,
the King County Medical Society, the American Association of Clinical Urologists, the Society
of Urodynamics Female Pelvic Medicine & Urogenital Reconstruction, and the International
Continence Society.



                                                   1
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-3 Filed   Filed 05/26/20
                                                   Page 3 ofPage 34 of 155
                                                             20 PageID  #: 33433



                My curriculum vitae is attached to this report.

       b.       Clinical Experience & Personal Experience with Stress Urinary Incontinence
                and Pelvic Organ Prolapse Treatments

        I have a special focus in female pelvic medicine and surgery. Over the course of my
career, I have performed various types of native tissue surgery and surgery utilizing mesh,
including Ethicon’s TVT and TVT-O, TVT-Abbrevo, and TVT-Secur mid-urethral slings, AMS
Monarch, Uretex by Bard, Vesica In situ sling, Stamey cystourethropexy, MMK, and Burch
procedures. I have also performed robotic sacrocolpopexies, as well as open abdominal
sacrocolpopexies. I have also performed various types of native tissue surgeries and surgeries
utilizing mesh—including Prolene Soft mesh—to treat pelvic organ prolapse and hernias.

       c.       Teaching & Training Experience Related to Stress Urinary Incontinence

        I served as a faculty member at the Ethicon Endosurgical Institute, and as a National
Preceptor for Gynecare products, conducting over 300 courses for advanced surgical training of
physicians for conditions such as stress urinary incontinence and pelvic organ prolapse. I have
lectured to pelvic floor surgeons throughout the United States, Canada, Europe, and China. I
have performed research in the field of incontinence and bladder disorders, contributing to
studies on the use of TVT abdominal guides, and the TVT world registry published in the
Journal of Urology in 2011. I was also an investigator in an FDA trial of a pelvic nerve
stimulator for the treatment of urge incontinence.

       d.       Litigation Consulting Work

       During the previous four years, I have testified as an expert witness at trial or by
deposition in the following case:

            •   Perry v. Ethicon, Inc., et al.—Bakersfield, CA
                   o Deposition Testimony on 12/30/14
                   o Trial Testimony on 02/17/15, 02/18/15, and 02/19/15

       I am being compensated $500 per hour for my study and testimony in this case.

       IV. Pelvic Organ Prolapse

       a.       Definition, Mechanism of Action, and Prevalence

        Pelvic organ prolapse, overactive bladder, and urinary incontinence affect more women
than diabetes, heart disease, or arthritis. The overall lifetime risk for undergoing surgery for
pelvic organ prolapse is 11.1% or 1 in 9 women by the age of 80. The risk of surgery increases
to 16% status post hysterectomy.

       The proposed mechanism of action for the development of pelvic organ prolapse begins
with damage to the levator ani muscles and nerves which decreases muscle tone and strength,

                                                 2
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-3 Filed   Filed 05/26/20
                                                   Page 4 ofPage 35 of 155
                                                             20 PageID  #: 33434



leading to muscular disuse atrophy causing descent and a widened levator hiatus. Increased
intra-abdominal pressure is then unopposed, placing additional forces on the connective tissue,
which stretches and tears over time. Pelvic organ prolapse is most common in the anterior
compartment and then posterior compartment, with apical prolapse the least common as a site-
specific defect.

       b.      Risk Factors for Stress Urinary Incontinence

        Smoking: Women who smoke have a 2-3 times more likely incidence of urinary
incontinence chronic obstructive pulmonary disease and increasing abdominal pressures causing
pelvic organ prolapse.

       Obesity: Increasing body mass index correlates to an increase in the symptoms of
urinary incontinence and pelvic organ prolapse.

        Menopause: Decreasing serum levels of estrogen are known to increase the incidence of
both stress incontinence and decrease the integrity of the pubocervical fascia of the vagina by
decreasing vascularity and thickness of the tissues. Postmenopausal decreased estrogen levels
lead to urogenital atrophy with the increased risk of infections of the urinary tract and changing
of the vaginal pH.

        Pregnancy and Childbirth: Damage sustained to the muscles and nerves of the pelvic
floor significantly increase the risk of both stress and urge incontinence and pelvic organ
prolapse. There is an 11-fold increased risk of pelvic organ prolapse with three or more vaginal
deliveries compared to nulliparous women. The weight of the infant contributes to prolapse with
an increase of 10% per pound weight of the infant.

      Race: Increasing incidence of prolapse occurs from African-American <
Asian<Caucasian<Hispanic. Hispanic women have the highest risk of pelvic organ prolapse

       Age: Pelvic organ prolapse levels increase with each decade for women between the ages
of 20 and 59 years and the incidence of prolapse requiring surgery also has a dramatic increase
with each successive decade.

       Congenital factors: Women with prolapse having an abundance of the weak or type III
collagen in the pubocervical fascia with a higher degree of joint hypermobility with associated
collagen vascular disorders also increase the incidence and severity of prolapse.

         Hysterectomy: The lifetime risk of prolapse post-hysterectomy is 16% with no specific
technique increasing risk. The incidence of women developing severe prolapse after
hysterectomy is to 3.6 birth 1000 women years and if the hysterectomy was performed with
initial complaints of prolapse or rate is as high as 15 per 1000 women years.

       Stress Urinary Incontinence: 62% of women with prolapse also report stress
incontinence, and 63% of women with stress incontinence have associated prolapse. 30% of
women will undergo repeat surgery for recurrent prolapse over their lifetime.

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     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-3 Filed   Filed 05/26/20
                                                   Page 5 ofPage 36 of 155
                                                             20 PageID  #: 33435




V.     Treatment Options for Pelvic Organ Prolapse

       a.      Nonsurgical Options for Treatment of Pelvic Organ Prolapse

        Conservative management of pelvic organ prolapse is the avoidance of pelvic and
abdominal straining in the form of heavy lifting or squatting. Patients can also be treated with
physical therapy using biofeedback, Kegel exercises, estrogen vaginal supplementation, and
pessaries.

       b.      Surgical Options for Treatment of Pelvic Organ Prolapse

        Surgical corrections of pelvic organ prolapse have many different approaches—from
either vaginal or retropubic—and involve open incisions or laparoscopic techniques. For
relatively simple cystocele and rectocele repair, native tissue plication with absorbable sutures
can be provided, but has a 30-50% 5-year failure rate based on multiple studies. Sacrospinous
ligament fixation and uterosacral ligament repairs have higher rates of success, but also higher
rates of complications including chronic pelvic pain, dyspareunia, urinary retention, and injury to
adjacent organs such as the bladder, rectum, and vessels. Retropubic abdominal sacrocolpopexy
performed either open or laparoscopically is also an option. It has the highest rate of success but
also a significant rate of complications.

        Due to the high rate of failure using native tissue plication and suture fixation, biologic
and synthetic materials have been incorporated into repairs for over 30 years. Cadaveric fascia,
autologous fascia, or synthetic meshes have been incorporated to augment the repair in an
attempt to increase the anatomic long-term success. The augmented repairs have the same
potential complications as native tissue plications, with additional possible complications of
mesh exposure, extrusion, or perforation of adjacent organs. The rate of vaginal mesh exposure
varies from 3% to 34% in various studies, and with small areas of exposure topical estrogen and
time may be all that is required for treatment. For larger areas of exposure or pain, local excision
can be performed using either local anesthetic or general anesthesia. Mesh excision can be
performed in the office setting, or an outpatient surgery center, as well as hospitals.

       c.      Pelvic Organ Prolapse’s Economic Impact and Impact on Quality of Life

         Pelvic organ prolapse can have significant adverse effects on the quality of women’s
lives. It can be painful, can negatively affect women’s relationships, and it can cause patients to
isolate themselves socially and be less active. Symptoms include a feeling that something is
falling out of the vagina, a pulling sensation in the pelvic area, lower back pain, and a sensation
of pressure of fullness from organs pressing against the vaginal walls. Patients with rectocele
often have constipation as a result. The costs of pelvic organ prolapse surgery was calculated to
be over a billion dollars in 1997. 1



1
 Subak LL, Cost of pelvic organ prolapse surgery in the United States. Obstet Gynecol 2001
Oct;98(4):646–51.
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     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-3 Filed   Filed 05/26/20
                                                   Page 6 ofPage 37 of 155
                                                             20 PageID  #: 33436



IV.    Ethicon’s Prolene™ Soft Mesh Product

       a.      Historical Background of Surgical Use of Mesh

        Polypropylene monofilament suture was introduced into surgery in 1958 by Usher, and
has become the main material used in tissue repair. Polypropylene sutures have been used for
over 55 years and are biologically compatible with human tissue. Polypropylene hernia mesh
has been and continues to be the standard of care for the last thirty years for abdominal wall
hernia repair. Polypropylene mesh has been used in open abdominal sacrocolpopexies since the
1960s. The advantage of mesh is augmentation and strength during the healing process with the
incorporation of collagen fibers into the material to provide lasting support. I have been
performing polypropylene mesh hernia repairs since the 1980s and have never had a patient
develop an infection or rejection of the material.

        Polypropylene meshes have been used in the vagina for almost 60 years. Surgeons have
turned to synthetic materials to augment healing and reinforcement of poor-quality native fascia
and collagen that has deteriorated both by years and trauma of parity. Due to the high failure
rate of suture repairs for vaginal prolapse, mesh grafts have been developed to address the
problem in the same manner as hernia repairs of the abdominal wall.

       b.      The Development of Prolene™ Soft Mesh

        Prolene™ Soft is a product developed by Johnson & Johnson for hernia repair, and is
indicated for “the repair of hernia or other fascial defects that require the addition of a
reinforcing or bridging material to obtain the desired surgical result.” Prolene Soft mesh was
introduced in 2000. It is a monofilament, knitted, macroporous, synthetic mesh that comes in
sheets that can be cut by the surgeon to the desired shape based on the surgery being performed
and the patient’s anatomy. It is made of knitted filaments of extruded polypropylene identical in
composition to that used in Prolene polypropylene sutures that have been used in various surgical
specialties for more than 50 years, and it includes blue Prolene monofilaments to produce
contrast striping that makes the mesh more visible when implanted. The IFU notes that “[t]he
mesh is constructed of reduced diameter monofilament fibers, knitted into a unique design that
results in a mesh that is approximately 50 percent more flexible than standard PROLENE mesh.”
The knitting process provides for elasticity in both directions—which “allows adaptation to
various stresses encountered in the body”—and “permits the mesh to be cut into any desired
shape or size without unraveling.” The IFU also notes:

       Animal studies show that implantation of PROLENE mesh elicits a minimal to
       slight inflammatory reaction, which is transient and followed by the deposition of
       a thin fibrous layer of tissue which can grow through the interstices of the mesh,
       thus incorporating the mesh into adjacent tissue. The mesh remains soft and
       pliable, and normal wound healing is not noticeably impaired. The material is not
       absorbed, nor is it subject to degradation or weakening by the action of tissue
       enzymes.




                                                5
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-3 Filed   Filed 05/26/20
                                                   Page 7 ofPage 38 of 155
                                                             20 PageID  #: 33437



       The mesh is a Type I mesh, per the biomaterial classification published by PK Amid in
1997, as it contains pores larger than 75 microns, “which is the required pore size for admission
of macrophages, fibroblasts (fibroplasia), blood vessels (angiogenesis) and collagen fibers into
the pores.” (Amid PK, Classification of biomaterials and their related complications in
abdominal wall hernia surgery. Hernia 1997;1:15–21.) The pore size of Prolene soft is
approximately 2,500 µm, and thus allows for excellent tissue integration and the passing of
leukocytes and macrophages to clear any pathogens.

        The year Prolene Soft was introduced, a group of surgeons in France calling themselves
the “TVM Group” started to study the use of non-absorbable synthetic mesh in urogenital
prolapse repair, which was prompted by the 20–30% prolapse recurrence rates following
traditional native tissue repairs. The TVM Group selected Prolene Soft mesh, as they found it to
be the most appropriate mesh for the transvaginal approach of the surgical repair of prolapse.
They noted that the Prolene Soft was “a carefully selected and tested synthetic material.” 2

        Ethicon determined that clinicians desired softer and more pliable non-absorbable mesh
graft materials for pelvic floor repairs. (GYNEMESH PROLENE Soft Clinical Expert Report --
ETH.MESH.03715787.) In 2002, Gynemesh™ PS was introduced, and was “indicated for tissue
reinforcement and long-lasting stabilization of fascial structures of the pelvic floor in vaginal
wall prolapse where surgical treatment is intended, either as mechanical support or bridging
material for the fascial defect.” It was the first synthetic polypropylene mesh indicated for pelvic
floor repair. Prolene Soft and Gynemesh™ PS are identical meshes with different indications for
use. A surgeon choosing to use Prolene Soft mesh for vaginal prolapse repair can do so from
either a transabdominal or vaginal approach.

       c.      The Safety and Efficacy of Prolene™ Soft Mesh

       Review of scientific reports of the use of Gynemesh and pelvic reconstructive surgery
date back to 2001. De Tayrac described 36 patients undergoing cystocele repair using Gynemesh
with 13 month follow-up and 100% success with one mesh excision under local anesthesia for
non-symptomatic exposure. 3

        Several studies demonstrate the versatility of Prolene Soft mesh, describing its use in
various gynecologic procedures other than transvaginal procedures. Weiden described up to
four-year follow-up of abdominal colposacropexy and hysterosacropexy using Gynemesh with
bone anchoring and reported excellent anatomical results and low complication rates. This study
is indicative of the many different uses to which the product can be put. 4 Agarwala describes in
2007 the use of Gynemesh for laparoscopic sacral colpopexy for recurrent prolapse of the apex
or severe uterine prolapse. 74 patients were treated with Gynemesh. Subjective and objective


2
  Berrocal J, et al., Conceptual advances in the surgical management of genital prolapse—The
TVM technique emergence. J Gynecol Obstet Biol Reprod 2004;33:577–87.
3
  De Tayrac R, et al., Cystocele Repair with a Fixation-Free Prosthetic Polypropylene Mesh.
Abs. 2001.
4
  Van der Weiden RMF, et al., Colposacropexy With Mesh or Collagen Implant and Titanium
Bone Anchors Placed in Sacral Segments 3 and 4. J Pelvic Med & Surg 2003;9(1):9–14.
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     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-3 Filed   Filed 05/26/20
                                                   Page 8 ofPage 39 of 155
                                                             20 PageID  #: 33438



cure was 97 and 100%, respectively. There were no cases of graft exposure or recurrence with a
median follow-up of 24 months. 5

        Lucente in 2004 described 160 patients undergoing vaginal or abdominal/vaginal repair
with a less than 10% exposure rate and success of 76% in reducing the prolapse to stage 0-1.
The authors concluded that POP repair using GYNEMESH PS “is safe, with a low rate of
significant mesh-related complications.” 6 In 2006, Ali and colleagues described 108 patients
undergoing anterior colporrhaphy with Gynemesh PS augmentation. They encountered no intra-
operative complications, a 6.6% recurrence rate, and a 6.5% exposure rate. 7

        Collinet and colleagues described in 2006 the management of transvaginal mesh
techniques for repair of pelvic prolapse using a vaginal approach and the use of Gynemesh. In
the paper, it is described that the ideal mesh for pelvic reconstructive repair is monofilament
polypropylene with large pores. The study was a continuous retrospective trial of more than two
years, and was designed to identify the risk factors for exposure of mesh material and
management strategies for postoperative complications. 277 patients undergoing surgery for
pelvic prolapse using the TVM technique—using risk factors of body mass index, age,
menopausal status, hormonal replacement therapy, previous surgical repair and hysterectomy—
were included. Mesh exposure was less than 1% when the uterus was preserved. Management
of mesh exposure involved local treatment combined with partial resection of the mesh if the
local treatment proved inadequate. The local treatment was further enhanced with estrogen
therapy. 8

        Deffieux described in 2006 management of 34 consecutive cases of vaginal mesh erosion
following transvaginal repair of cystocele using Gynemesh. 68% underwent local therapy using
an estrogen cream. In 22% of cases, the mesh erosion had completely disappeared with a follow-
up of 2-9 months. 59% of the symptomatic patients required partial or complete excision of the
mesh with vaginal closure under general anesthesia. The surgery ranged from 15-40 minutes in
duration and was successful 77% of the time. 11% of the patients undergoing a primary repair
required a second operation because of recurrence. The incidence of the de novo dyspareunia
was 12% with vaginal mesh exposure and 11% in those who had no exposure post operatively. 9
Van Raalte in 2007 studied 350 patients undergoing the Prolift procedure (which utilizes
Gynemesh PS) with median follow-up of 6 months, and observed a mesh exposure rate of 1.1%,
with all treated with office resection and/or vaginal estrogen. The postoperative pop-Q cure rate


5
  Agarwala N, et al., Laparoscopic sacral colpopexy with Gynemesh as graft material—
Experience and results. J Minimally Invasive Gynecol 2007;14:577–83.
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  Lucente V, et al., A Clinical Assessment of GYNEMESH PS for the Repair of Pelvic Organ
Prolapse. AUGS, SGS Oral Poster 55
7
  Ali S, et al., A Prospective Randomized Trial Using Gynemesh PS for the Repair of Anterior
Vaginal Wall Prolapse. Int Urogynecol J 2006;17(Supp. 2):S171–S359 (Abs. 292).
8
  Collinet P, et al., Transvaginal mesh technique for pelvic organ prolapse repair: mesh exposure
management and risk factors. Int Urogynecol J 2006;17:315–20.
9
  Deffieux X, et al., Vaginal mesh extrusion after transvaginal repair of cystocele using a
prosthetic mesh: Treatment and functional outcomes. J Gynecol Obstet Biol Reprod (Paris) 2006
Nov;35(7):678–84.
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     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-3 Filed   Filed 05/26/20
                                                   Page 9 ofPage 40 of 155
                                                             20 PageID  #: 33439



was 90.6% with a dyspareunia rate of 6.3%. One patient required in office vaginal injection for
pain treatment and 1 patient had a surgical mesh resection. 10

       Sola in a 2006 report describes 42 mesh procedures using Gynemesh PS mesh for both
cystocele and rectocele, having no postoperative complications and a 95% success for cystocele
and 100% success for rectocele repair. 11

        Hoenil Jo in 2007 evaluated 26 patients with stage III or IV pelvic organ prolapse for 2
years after Gynemesh vaginal repair. Success was 94% objective cure with no tissue erosion or
infections noted. 12 Takeyama described in 2007 a modification of the Prolift procedure using
Gynemesh PS. They implanted Gynemesh PS in 245 patients with pelvic organ prolapse and
had no serious complications and a low recurrence and exposure rate (0.8 and 1.6%,
respectively). 13 Al-Nazer and colleagues reported in 2007 the results of their study of 40 patients
undergoing either anterior colporrhaphy or implantation of Prolene Soft mesh. They found both
groups had improvement in their prolapse, urinary, and sexual symptoms, but the improvement
was more significant in the Prolene Soft group. 95% of the Prolene Soft patients were cured,
while 70% of the anterior colporrhaphy patients were cured. They also found that operative
morbidity was generally lower in the Prolene Soft group. 14

        Caquant and Cosson in 2008 reported on a study of 684 patients undergoing the TVM
procedure using Gynemesh PS performed between 2002-2004. The mesh exposure rate without
concurrent hysterectomy was 4.7% and medical management was successful in 42% of cases.
The study was limited by short-term follow up. 15 In 2008, Letouzey and colleagues reported the
results of their study of 63 women undergoing cystocele repair using Gynemesh PS between
1999-2001. The patients were followed for five years, and the authors observed an 80%
anatomic cure rate with an additional 20% improved. The vaginal exposure rate was 16% and no
patient required reoperation for recurrent prolapse. 16

       In 2009, Natale and colleagues reported the results of an RCT studying Gynemesh PS
and Pelvicol with two years of follow-up. They observed a 6.3% erosion rate in the Gynemesh

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   van Raalte H, et al., Short-Term Results of the Prolift Procedure in 350 Patients Used in the
Treatment of Pelvic Organ Prolapse. Int Urogynecol J 2007;18 (Suppl. 1):S25–S105 (Abs. 083).
11
   Sola V, et al., Tension Free Monofilament Macropore Polypropylene Mesh (Gynemesh PS) in
Female Genital Prolapse Repair. Int Braz J Urol 2006;32(4):410–15.
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   Jo H, et al., Efficacy and outcome of anterior vaginal wall repair using polypropylene mesh
(Gynemesh). J Obstet Gynecol Res 2007 Oct;33(5):700–04.
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   Takeyama M, et al., Feasibility of the Tension-Free Vaginal Mesh Procedure Using Soft
Polypropylene Mesh (Gyunemesh PS) in Japan. Int Urogynecol J 2007;18(Supp. 1):S25–S105
(Abs. 079).
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   Al-Nazer MA, et al., Comparative Study Between Anterior Colporrhaphy Versus Vaginal
Wall Repair with Mesh for Management of Anterior Vaginal Wall Prolapse. Int Urogynecol J
2007;18 (Suppl. 1):S25–S105 (Abs. 084).
15
   Caquant F, et al., Safety of Trans Vaginal Mesh procedure: Retrospective study of 684
patients. J Obstet Gynaecol Res 2008 Aug;34(4):449–56.
16
   Letouzey V, et al., Long-Term Results after Trans-Vaginal Cystocele Repair Using a Tension-
Free Polypropylene Mesh. J Minimally Invasive Gynecol 2008;15:S1–S159 (Abs. 102).
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      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-3 Filed    Filed 05/26/20 Page
                                                     Page 10 of     41 of 155
                                                                20 PageID  #: 33440



 PS patients, and four of the six of those patients underwent a concomitant hysterectomy. The
 cure rate for the Gynemesh PS cohort was 71.9%. Pre-operative pain was reported by 14
 patients in the Gynemesh PS group and that dropped to 0 patients after surgery. Pre-operative
 dyspareunia was reported by 20 patients in the Gynemesh PS group, and that number dropped to
 10 patients after surgery. 17

         Miller and colleagues, in 2011, reported the five-year results of 85 patients undergoing
 Gynemesh PS anterior and posterior repair with and without hysterectomy. The success rate in
 the treated compartment at five years was 77%, and the rate of mesh exposure was 19%. Before
 surgery, 21 patients reported unprovoked vaginal pain, 23 reported pain on examination, 15 had
 cystalgia, 24 had pain during Valsalva, and 46 had pain with prolonged standing. By five years,
 only one patient reported pain, which occurred on examination only. At five years, only one case
 of de novo dyspareunia was observed in those patients who were sexually active before surgery,
 while resolution of dyspareunia occurred in at least eight of twelve patients with pre-existing
 dyspareunia. The authors concluded that the TVM procedure remains stable over time when
 measuring both quality of life and vaginal prolapse symptom scores. 18 Young-Suk Lee and
 colleagues in 2010 reported on their study of the treatment of 49 women undergoing transvaginal
 repair of pelvic organ prolapse with Gynemesh PS. They noted a 71.4% cure rate and an
 improvement rate of 18.4%. They observed only one vaginal erosion at the 12-month follow-up,
 which was asymptomatic. The authors concluded that “[t]rans-vaginal repair of an anterior
 vaginal wall prolapse with the monofilament polypropylene mesh Gynemesh™ PS is an
 effective and safe procedure.” 19 Cuevas et al. reported in 2011 on a study involving the use of
 Gynemesh PS to create a Prolift-like device for treatment of severe pelvic organ prolapse. They
 observed a low recurrence rate, low rates of intraoperative and perioperative complications, and
 a low rate of mesh erosion. The study population was 100% satisfied with surgery, and 89.5%
 found the surgery improved their quality of life. 20

         Farthmann and colleagues studied 200 patients receiving either non-absorbable
 polypropylene mesh or a partially absorbable polypropylene mesh for cystocele treatment over
 three years. Consideration of mesh weight and foreign material were correlated with 200 patients
 randomized to conventional or a partially absorbable mesh. Management of mesh exposure,
 satisfaction with surgery, and postoperative pain were evaluated. Rate of mesh exposure was
 smaller in the partially absorbable mesh at 3.4% vs 7.5% at 36 months, but the authors found the
 rate of exposure to be low in both groups. Of the 200 patients, 27 patients had exposure of mesh,
 with 11 requiring surgical intervention. The rate of recurrent vaginal prolapse was higher in the

 17
    Natale F, et al., A prospective, randomized, controlled study comparing Gynemesh®, a
 synthetic mesh, and Pelvicol®, a biologic graft, in the surgical treatment of recurrent cystocele.
 Int Urogynecol J 2009;20:75–81.
 18
    Miller D, et al., Prospective Clinical Assessment of the Transvaginal Mesh Technique for
 Treatment of Pelvic Organ Prolapse—5 Year Results. Female Pelvic Med & Reconstr Surg 2011
 May/Jun;17(3):139–43.
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    Lee YS, et al., Efficacy and Safety of “Tension-Free” Placement of Gynemesh PS for the
 Treatment of Anterior Vaginal Wall Prolapse. INJ 2010;14:34–42.
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    Cuevas R, et al., Prolift Like (PL) Surgery: A Management Option for Severe Pelvic Organ
 Prolapse (POP) in a Public Hospital in a Developing Country. Int Urogynecol J 2011;22 (Suppl.
 2):S197–S1766 (Abs. 1108).
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      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-3 Filed    Filed 05/26/20 Page
                                                     Page 11 of     42 of 155
                                                                20 PageID  #: 33441



 partially absorbed mesh group. The mesh weight in the nonabsorbable group was 29 g/m2 with
 porosity >75 µm. Interestingly, exposure rates varied from 0 to 20.4% between hospital groups,
 indicating that surgical technique is an important outcome-determining factor. Statistically
 significant risk factors for exposure uncovered were concomitant hysterectomy, smoking,
 cesarean section, and a longer incision. The authors concluded that use of synthetic mesh was a
 safe technique for treatment of pelvic prolapse. Patient satisfaction rates did not vary between
 the two groups. 21

         Samour and colleagues, in 2014, described the safety and efficacy of using Gynemesh PS
 for cystocele repair using a minimally invasive technique of transvaginal corkscrew application
 through the obturator foramen. 152 patients who underwent repair for cystocele grade 2 or
 greater using Gynemesh PS were followed for up to 36 months with a variable degree of
 dyspareunia observed in the first 3 months and marked improvement and even disappearance of
 pain for 90% of patients by the end of 6 months. 3% had persistent dyspareunia by the
 conclusion of the study. The rate of mesh exposure was 3.3%, reportedly due to the avoidance of
 excising vaginal epithelium and full-thickness dissection with lack of tension on the mesh. The
 authors concluded that transobturator placement of Gynemesh PS can be considered a minimally
 invasive and promising method for correction of cystocele and stress incontinence based on low
 rate of complications, high rate of success, and low incidence of recurrence. 22

         Dr. Marcus Carey and colleagues, in 2009, reported the results of a randomized
 controlled trial comparing anterior and posterior vaginal repair with Gynemesh PS augmentation
 or traditional anterior and posterior colporrhaphy. The success rate in the mesh group at one
 year post-op was 81%, but only 65% in the traditional anterior and colporrhaphy group. Patients
 had a high level of satisfaction with the surgery and both groups showed improvements in
 symptoms and quality-of-life data. New-onset dyspareunia was reported in 16% of sexually
 active women in the mesh group versus 15% in the non-mesh group. 23

          In 2006, Boulanger and colleagues published the results of a study in which they placed
 five different meshes—Vicryl, Vypro, Prolene, Prolene Soft, and Mersilene in the peritoneum of
 pigs to study the tissue integration and tolerance of the meshes. The authors found that the
 absorbable prostheses made of Vicryl and the non-absorbable prostheses made of polypropylene
 (i.e., Prolene and Prolene Soft) induced the least severe inflammatory reactions and produced the
 best tissue integration. They concluded that Type I Amid monofilament material, such as
 polypropylene, seemed to be the best integrated and tolerated. 24 Memon developed a
 biomechanical test to evaluate mesh-reinforced repair as compared to suture-reinforced repair in
 an animal model. The conclusion of the study was that Gynemesh PS was the least likely

 21
    Farthmann J, et al., Lower exposure rates of partially absorbable mesh compared to
 nonabsorbable mesh for cystocele treatment: 3-year follow-up of a prospective randomized trial.
 Int Urogynecol J 2013;24:749–58.
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    Samour H, et al., Minimally invasive cystocele repair technique using a polypropylene mesh
 introduced with the transobturator route. Arch Gynecol Obstet 2015 Jan;291(1):79–84.
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    Carey M, et al., Vaginal repair with mesh versus colporrhaphy for prolapse: a randomised
 controlled trial. Br J Obstet Gynecol 2009 Sep;116(10):1380–1386.
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    Boulanger L, et al., Tissue integration and tolerance to meshes used in gynecologic surgery:
 An experimental study. Eur J Obstet & Gynecol and Reprod Biol 2006;125:103–08.
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      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-3 Filed    Filed 05/26/20 Page
                                                     Page 12 of     43 of 155
                                                                20 PageID  #: 33442



 synthetic material to fail after repeated cycles of stressing, and was superior to xenograft-
 reinforced repair and to suture-only repair. 25 In an animal study published in 2007, Bhende and
 colleagues studied Prolene Soft and other synthetic meshes, as well as naturally derived meshes,
 to observe the extent to which the meshes served “as a nidus for microbial attachment and
 growth, thus exacerbating surgical site infection.” They found that “[t]he synthetic meshes did
 not potentiate infection . . . whereas the naturally-derived meshes did.” 26

         A 2013 study looked at how pelvic organ prolapse affects sexual function and found that
 the use of mesh in anterior compartment repair was not associated with a worsening in sexual
 function or an increase in de novo dyspareunia when compared to traditional anterior
 colporrhaphy. 27 Lowman and colleagues have reported that pelvic organ prolapse repair appears
 to have a high rate of associated dyspareunia regardless of whether the surgery is performed
 transvaginally or transabdominally. 28

         Ongoing technological advances of synthetic meshes using polypropylene have been a
 moving target, with development of lighter and less stiff materials over the last 10 years. At the
 time of introduction of Gynemesh PS in the early 2000s, the material was considered the least
 stiff and most porous mesh to receive FDA clearance and introduction into the surgical market.
 The stiffness, weight, and porosity of Gynemesh PS has subsequently moved to the middle of the
 spectrum of synthetic mesh products as recent science has favored the least stiff, lightest weight,
 and most porous material possible. Nonetheless, Prolene Soft mesh is still a lightweight, large-
 pore mesh. There is a point of diminishing returns, as some of the lightest weight meshes have
 the most deformation and can fail in the physiologic environment of the vagina. Complications
 that are described are more related to surgical technique and patient selection than the individual
 mesh product used. The avoidance of large and “T” incisions, concomitant hysterectomy,
 tobacco use, obesity, exposure to radiation therapy for pelvic cancer, chronic use of steroids, and
 advanced age all play a significant role in the incidence of vaginal mesh exposure. Injury to
 either bladder intestine or rectum is a direct result of surgical misadventure. Patients with
 symptomatic and increasing vaginal prolapse who have failed previous native suture plication
 often require augmented repairs with xenograft or synthetic materials.

        I have personally performed over 1,000 procedures involving implantation of Prolene
 polypropylene mesh for treatment of stress urinary incontinence or pelvic organ prolapse, and
 have found the Prolene polypropylene products to be safe and efficacious when following the
 appropriate patient selection and the technique described by the product instructions for use and
 sound medical judgment and surgical technique and concepts. I have lectured and proctored
 physicians on the safe use of Prolene polypropylene devices for pelvic floor surgery since 2000.
 The devices are high quality, straightforward, and the polypropylene mesh is stable over time, as

 25
    Memon HU, et al., Comparison of graft-reinforced repairs and suture repair using a novel
 biomechanical test
 26
    Bhende S, et al., Infection Potentiation Study of Synthetic and Naturally Derived Surgical
 Mesh in Mice. Surg Infections 2007;8(3):405–14.
 27
    Dietz V and Maher C, Pelvic organ prolapse and sexual function. Int Urogynecol J
 2013;24:1853–1857.
 28
    Lowman JK, et al., Does the Prolift system cause dyspareunia? Am J Obstet Gynecol
 2008;199:707.e1–707.e6.
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      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-3 Filed    Filed 05/26/20 Page
                                                     Page 13 of     44 of 155
                                                                20 PageID  #: 33443



 I have patients implanted 15 years ago and see no long-term complication trends. Since the
 television advertisements claiming pelvic mesh is a dangerous product, I have received hundreds
 of phone calls from anxious patients with fears of product recalls and future complications. The
 overwhelming majority of those anxious patients have excellent outcomes and no adverse
 symptoms. The effect on current patients is to create fear that a synthetic sling will cause future
 problems and many choose not to proceed to treatment. There is a 30% reduction in the number
 of patients undergoing stress incontinence and pelvic reconstructive surgery. 29

         As set forth above, the efficacy and safety of the Ethicon’s Prolene Soft mesh is well-
 reported. It was incorporated into Ethicon’s Prolift device, which was the most studied mesh kit
 for pelvic organ prolapse treatment, and again, the studies showed high success rates with
 minimal complications. 30 The peer-reviewed, published clinical data shows that procedures
 involving Prolene Soft mesh can be performed safely and effectively. The studies show that
 most patients do not experience dyspareunia or pelvic pain after undergoing transvaginal mesh
 repair for pelvic organ prolapse.

         Additionally, the professional organizations AUGS and SUFU—non-profit organizations
 representing over 2,000 practicing physicians, nurse practitioners, physical therapists, nurses,
 health care professionals and researchers dedicated to treating female pelvic floor disorders—
 have made the following statements regarding the safe use of polypropylene and the benefits of
 providing surgeons with options for treating pelvic floor disorders:

         Polypropylene material is safe and effective as a surgical implant. Polypropylene has
 been used in most surgical specialties (including general surgery, cardiovascular surgery,
 transplant surgery, ophthalmology, otolaryngology, gynecology, and urology) for over five

 29
    Perkins CE, Warrior K, Eilber KS, et al. The Role of Mid-urethral Slings in 2014: Analysis of
 the Impact of Litigation on Practice. Curr Bladder Dysfunct Rep (2015) 10:39-45. DOI
 10.1007/s11884-014-0278-z; Koo K, Gormley EA, Abstract MP81-05: Transvaginal Mesh in the
 Media Following the 2011 FDA Update.
 30
    Halaska M, et al., A multicenter, randomized, prospective, controlled study comparing
 sacrospinous fixation and transvaginal mesh in the treatment of posthysterectomy vaginal vault
 prolapse. Am J Obstet Gynecol 2012;207:301.e1–7; da Silveira S, et al., Multicenter, randomized
 trial comparing native vaginal tissue repair and synthetic mesh repair for genital prolapse
 surgical treatment. Int Urogynecol J 2015 Mar;26(3):335–342; Svabik K, et al., Comparison of
 vaginal mesh repair with sacrospinous vaginal colpopexy in the management of vaginal vault
 prolapse after hysterectomy in patients with levator ani avulsion: a randomized controlled trial.
 Ultrasound Obstet Gynecol 2014 Apr;43(4):365–371; de Landsheere L, et al., Surgical
 intervention after transvaginal Prolift mesh repair: retrospective single-center study including
 524 patients with 3 years’ median follow-up. Am J Obstet Gynecol 2012 Jan;206(1):83.e1–7;
 Withagen MI, et al., Trocar-Guided Mesh Compared With Conventional Vaginal Repair in
 Recurrent Prolapse: A Randomized Controlled Trial. Obstet Gynecol 2011 Feb;117(2):242–250;
 Sokol AI, et al., One-year objective and functional outcomes of a randomized clinical trial of
 vaginal mesh for prolapse. Am J Obstet Gynecol 2012 Jan;86:e1–e9; Altman D, et al., Anterior
 Colporrhaphy versus Transvaginal Mesh for Pelvic-Organ Prolapse. N Engl J Med
 2011;364:1826–1836.
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      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-3 Filed    Filed 05/26/20 Page
                                                     Page 14 of     45 of 155
                                                                20 PageID  #: 33444



 decades, in millions of patients in the US and the world (personal communication with
 manufacturers of polypropylene suture and mesh). As an isolated thread, polypropylene is a
 widely used and durable suture material employed in a broad range of sizes and applications. As
 a knitted material, polypropylene mesh is the consensus graft material for augmenting hernia
 repairs in a number of areas in the human body and has significantly and favorably impacted the
 field of hernia surgery. As a knitted implant for the surgical treatment of SUI, macroporous,
 monofilament, light weight polypropylene has demonstrated long term durability, safety, and
 efficacy up to 17 years. 31

                                               ****

        The American Urogynecologic Society strongly opposes any restrictions by state
        or local medical organizations, healthcare systems, or insurance companies which
        ban currently available surgical options performed by qualified and credentialed
        surgeons on appropriately informed patients with pelvic floor disorders. 32

        I agree with these position statements.

         Plaintiffs’ experts’ theory of mesh degradation is not substantiated in the literature or in
 my personal experience using polypropylene slings and mesh for incontinence treatment and
 pelvic reconstruction. Studies of explanted mesh are difficult to interpret, as there is damage to
 the material during explantation, treatment with chemicals to remove the collagen and biologic
 matrix that has incorporated into the mesh, and preparation onto slides for microscopic
 examination. There is no literature to support clinically significant mesh degradation in humans.
 Polypropylene suture is used by vascular surgeons on major blood vessels and in my practice
 when tying off renal arteries and repairing the largest vein in the body; the vena cava. If there
 was a question of degradation or loss of strength over time, Prolene suture would not be the
 suture of choice for the highest-risk surgery. The studies often relied on by plaintiffs’ experts
 offering the opinion that the Prolene mesh degrades are unreliable and do not support that theory.
 For instance, the Clavé study from 2010 is unreliable and does not show degradation. The
 chemical analyses performed on a limited subset of the specimens does not show degradation,
 and the scanning electron microscope photos in the study show surface cracking that could be
 from biologic material and handling or preservation rather than the cracking of the
 polypropylene itself. Also, the sample analyzed in the study was only 32 out of the 100
 specimens, and the authors fail to discuss how those 32 specimens were selected. They also fail
 to discuss whether the mesh was damaged during surgical explantation.

         Nor have I seen a problem with Prolene Soft or any other Prolene mesh roping or curling,
 unless it is placed improperly by over-tensioning. Nor have I observed particle loss from
 mechanically cut mesh in my practice. Even if there was particle loss from the mechanically cut
 Prolene mesh, the particles lost would be the same Prolene as the suture material that is FDA-

 31
    AUGS-SUFU, Position Statement on Mesh Midurethral Slings for Stress Urinary Incontinence
 (Jan. 3, 2014).
 32
    AUGS Position Statement on Restriction of Surgical Options for Pelvic Floor Disorders
 (2013).
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      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-3 Filed    Filed 05/26/20 Page
                                                     Page 15 of     46 of 155
                                                                20 PageID  #: 33445



 approved as safe and effective for use in the human body. Furthermore, the mesh does not
 shrink, contract or experience pore collapse when placed according to the IFU or sound surgical
 technique. Scar tissue that forms after any pelvic surgery contracts, and tissue incorporating into
 implanted mesh is no exception, but the mesh itself does not contract.

         Some plaintiffs’ experts’ have said that placement of transvaginal mesh is dangerous and
 violates one of the most basic tenets of surgical teachings in that it involves placing a permanent
 implant into a human through a contaminated surgical field . If that theory was correct, the
 majority of patients receiving transvaginal mesh would have infections. However, vaginal
 infections following implantation of transvaginal mesh are very rare. Such opinions by
 plaintiffs’ experts are not borne out in facts. There are tens of thousands of women with
 transvaginally placed mesh who are doing well, including in my own practice in the past fifteen
 years. If what plaintiffs’ experts are saying was true, the majority of patients would have
 complications rather than a small percentage. Operative prep of the vagina is performed prior to
 the surgery, which maximizes sterility.

         There is no practical or clinical difference between mechanically cut or laser-cut mesh in
 terms of how it is deployed or incorporated in the tissues. 33 Mesh is not pre-stretched to 50%
 elongation before it is used. The mesh must have porosity large enough to encourage fibroblast
 and collagen deposition for incorporation, and it must have enough elasticity to allow give
 during dynamic stressing that occurs with activity. Mesh requires an optimal level of stiffness to
 properly do its job. Based on my experience and my assessment of the available literature, I do
 not believe that any particle loss from mechanically cut Prolene polypropylene mesh has a
 clinical effect in patients. Both laser-cut and mechanically cut Prolene mesh is safe and
 efficacious as demonstrated by the medical literature and in my experience. There are no clinical
 studies that show a significant difference in clinical outcomes that is dependent on whether the
 mesh is mechanically cut versus laser-cut.

        Plaintiffs’ experts have also claimed that Prolene Soft mesh is cytotoxic and causes an
 excessive inflammatory response. This is not supported in the literature, and I have not seen it in
 my practice. The mere presence of chronic inflammatory cells in a tissue specimen does not
 prove that there is a chronic inflammatory process that is active. Such cells can be present but
 quiescent, and can be seen in vaginal tissue even when no mesh or other foreign body has been
 implanted.

         Plaintiffs’ experts may claim that Ultrapro or Vypro mesh would have been a safer
 alternative to the Prolene Soft mesh. However, with respect to Vypro, a study of the use of that
 mesh in pelvic floor surgery showed that tolerance of the Vypro mesh was “very poor” and




 33
    ETH.MESH.01784823-28 (CER Laser Cut Mesh); ETH.MESH.01222075-79 (Elongation
 Characteristics of Laser Cut Prolene Mesh for TVT); ETH.MESH.06696367-79 (Performance
 Evaluation of TVT U Prolene Mesh); Lin AT, et al., In Vivo tension Sustained by Fascial Sling
 in Pubovaginal Sling Surgery for Female Stress Urinary Incontinence, J Urol , 2005
 Mar;173(3):894–897.
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      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-3 Filed    Filed 05/26/20 Page
                                                     Page 16 of     47 of 155
                                                                20 PageID  #: 33446



 associated with high rates of erosion and cicatrisation. 34 With respect to Ultrapro, the study
 often cited by plaintiffs’ experts in support of that material as a safer alternative to the Prolene
 TVT mesh is the Okulu study, but that study shows the same number of erosions (2) occurred in
 both the Prolene Soft cohort and the Vypro cohort, despite Vypro’s larger pore size and lighter
 weight, and that the Ultrapro group just had one fewer erosion. 35

         Plaintiffs’ experts sometimes suggest or claim that mesh made of Prolene polypropylene
 is carcinogenic, but there is no reliable scientific evidence to support the theory or claim that
 polypropylene can cause cancer or sarcoma. In the more than 1,000 cases in which I have
 implanted one of the Ethicon Prolene polypropylene products, I have not seen a single case of
 cancer attributable to the mesh. The literature also refutes plaintiffs’ experts’ suggestion or
 claim. 36 (King AB, et al. Is there an association between polypropylene midurethral slings and
 malignancy? Urology. 2014 Oct;84(4):789-92; King AB, Goldman HB. Current controversies
 regarding oncologic risk associated with polypropylene midurethral slings. Curr Urol Rep. 2014
 Nov;15(11):453; Linder BJ, et al., Evaluation of the local carcinogenic potential of mesh used in
 the treatment of female stress urinary incontinence. Int Urogynecol J 2016 DOI:10.1007/s00192-
 016-2961-4.) The medical literature contains no case reports of tumors caused by or associated
 with polypropylene implantation despite the fact that polypropylene has been implanted in
 millions of people. (AUGS & SUFU, Frequently Asked Questions by Providers—Mid-urethral
 Slings for Stress Urinary Incontinence (available at http://www.augs.org/p/bl/et/blogaid=194).)

 V. Prolene Soft Mesh’s Instructions for Use and Other Educational Materials

        a.      Ethicon’s Instructions for Use

         The instructions for use (IFU) accompanying the Prolene Soft mesh note that the mesh
 “may be used for the repair of hernia or other fascial defects that require the addition of a
 reinforcing or bridging material to obtain the desired surgical result.” It is not specifically
 indicated for pelvic floor repairs, but is generally indicated for, among other things, repair of
 fascial defects. It warns that use of the mesh in contaminated wounds may result in a subsequent
 infection requiring removal of the mesh. It also notes that the potential adverse reactions
 associated with the mesh “are those typically associated with surgically implantable materials,
 including infection potentiation, inflammation, adhesion formation, fistula formation, and
 extrusion.” It also provides instructions for the placement of nonabsorbable sutures at a certain
 distance apart from one another and away from the edge of the mesh when suturing the mesh to

 34
    Denis S, et al., Pelvic Organ Prolapse Treatment by the Vaginal Route Using a Vypro
 Composite Mesh: Preliminary Results About 106 Cases. ICS IUGA 2004; Abstract 620.
 35
    Okulu E, et al., Use of three types of synthetic mesh material in sling surgery: A prospective
 randomized clinical trial evaluating effectiveness and complications. Sand J Urol 2013;47:217–
 224.
 36
    King AB, et al. Is there an association between polypropylene midurethral slings and
 malignancy? Urology. 2014 Oct;84(4):789-92; Moalli P, et al., Polypropylene mesh: evidence
 for lack of carcinogenicity. Int Urogynecol J 2014, DOI 10.1007/s00192-014-2343-8; King AB,
 Goldman HB. Current controversies regarding oncologic risk associated with polypropylene
 midurethral slings. Curr Urol Rep. 2014 Nov;15(11):453.
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      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-3 Filed    Filed 05/26/20 Page
                                                     Page 17 of     48 of 155
                                                                20 PageID  #: 33447



 tissue. These instructions for use and the warnings contained therein are adequate and allow for
 the safe use of the device. The instructions are such that a trained and experienced physician
 could implant the mesh safely and effectively. The IFU is not intended to teach surgical
 technique, which is assumed to have been in the skill set of the surgeon. Every surgeon should
 be aware of the intraoperative and post-operative risks inherent in the use of surgical mesh. A
 surgeon need not be taught the entire practice of medicine in an IFU. The totality of surgical
 risks is not included in the IFU for surgeons. Surgeons have training from numerous sources—
 medical school, residency, maybe fellowships, colleagues’ experiences, their own experience,
 literature, etc. The IFU is used by the surgeon to become familiar with the specific device, the
 handling, placement and deployment in the manner that maximizes safety and efficacy. The IFU
 is never assumed to be a completely comprehensive list of all the possible adverse complications
 that are low prevalence. The IFU is intended to guide the surgeon to perform the procedure as
 the device was designed.

         Mesh exposure and erosion or extrusion are the only unique risks to mesh surgeries, and
 are essentially wound complications. Wound complications can also occur with other surgeries.
 Mesh exposure can be caused by poor quality tissue due to atrophic vaginitis, history of pelvic
 radiation therapy, too superficial dissection prior to sling placement, hematoma, tobacco usage,
 and early sexual activity.

          The IFU package insert is included with each sheet of Prolene Soft mesh, and is used as a
 guide for the surgeon to use the mesh in the manner it is intended. The IFU lists indications for
 use, contraindications, most prevalent risks, and a detailed description of how to deploy the mesh
 safely. IFUs in general are not intended to list every possible adverse event or post-operative
 complication. The IFU is generally understood to be a guide in the proper deployment of the
 device. Surgeons are trained in residency how to manage vaginal surgery with anatomy,
 handling of tissues, defining surgical planes, and perioperative care. The IFU functions to
 describe how this particular mesh is best deployed but the patient selection, preoperative
 informed consent, perioperative management, and post-operative care of the patient is the
 surgeon’s responsibility. The patient’s degree of severity of vaginal prolapse and stress
 incontinence, with consideration of patient age, tissue integrity, previous pelvic surgery, health
 status, tobacco usage, and steroid or opioid dependency leads the surgeon to make a complex
 decision about surgical approach and the likelihood of success.

         Plaintiffs’ experts may claim that pain, dyspareunia, voiding dysfunction, and the need
 for cystoscopy during cystocele repair should have been warned about in the IFU. I disagree.
 Pelvic floor surgeons know that pain and dyspareunia may occur with any pelvic floor surgery,
 and that voiding dysfunction and bladder injury may occur with cystocele repair. Surgeons need
 not be specifically warned in an IFU of these fundamental surgical risks. Published data
 supports the fact that dyspareunia rates following pelvic floor surgery with Prolene Soft mesh are
 low. 37

 37
    Fatton B, et al., Transvaginal repair of genital prolapse: preliminary results of a new tension-
 free vaginal mesh (Prolift™ technique)—a case series multicentric study. Int Urogynecol J
 2007;18:743–752 (noting that among the 30 patients known to be sexually active, 76.6% had
 resumed sexual intercourse at three months follow-up, while only three patients complained of
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      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-3 Filed    Filed 05/26/20 Page
                                                     Page 18 of     49 of 155
                                                                20 PageID  #: 33448




 VI. The Design of Prolene Soft Mesh

        a.      The Usefulness, Desirability, and Safety of the Prolene Soft Mesh

         Prolene Soft mesh is very useful to surgeons because it is a lightweight, large-pore,
 knitted, monofilament Prolene polypropylene mesh that is well-tolerated by the body and adds
 needed reinforcement to native tissue for repair of fascial defects. The large pore-size of the
 mesh allows for tissue incorporation and the passage of macrophages and leukocytes to help
 clear any bacteria that could lead to an infection. The mesh can be cut to any shape and can be
 trimmed to fit individual patient anatomy. Unlike allograft or xenograft material, synthetic mesh
 like Prolene Soft is readily available, is not met with cultural or religious objections, and presents
 no risk of disease transmission by viruses, prions, and bacteria.

          The polypropylene monofilament used to knit the mesh has been safely used in surgery as
 suture throughout the body for over 50 years, and has been shown to be stable and does not
 degrade in the body over time. The mesh is also useful because it comes with instructions for
 use, a tracking lot number for safety and batch analysis, as well as MDR reporting and FDA
 analyses. The mesh is not met with cultural or religious objections like allografts or xenografts,
 and is extremely effective and durable, with very low recurrence rates. As discussed in the
 studies above, there is an extensive body of literature supporting the safety of the mesh and the
 efficacy of treating pelvic organ prolapse with the mesh.

        It is comforting as a surgeon to be using a product that is known to have the largest
 amount of peer-reviewed data from multiple institutions substantiating a safe, reliable,
 reproducible technique and material. Prolene has been around for 50 years, been safely used in
 various applications, and the body’s reaction to the material is known.

         Complications are usually surgery-related and not mesh-specific. Exposures are
 uncommon and manageable, occurring in a small minority of cases. The cause can be poor tissue
 integrity caused by estrogen deficiency, delayed wound healing due to diabetes, steroid usage,
 hematoma formation, or placing the sling too superficially. Treatment includes application of
 topical estrogen cream, re-closure of the mucosal edges, and limited mesh excision if necessary.
 The excision can be performed in an office setting under local anesthesia or under light sedation
 in an OR. Dyspareunia is rare following implantation of the mesh, and most sexual dysfunction
 occurring after pelvic organ prolapse surgery is connected to concomitant hysterectomy and/or
 oophorectomy. Graft-related complications can occur with any material used for augmentation,
 whether it is synthetic or biologic graft material or synthetic suture material.




 dyspareunia); Paplomata E, et al., Genital Floor Repair Using Polypropylene Meshes: a
 Comparative Study. 2007 (Abs. 482) (noting that only two patients of 56 that underwent prolapse
 repair with Gynemesh or Prolift developed dyspareunia during 21-month follow-up); Jacquetin
 B, et al., Total transvaginal mesh (TVM) technique for treatment of pelvic organ prolapse: a 5-
 year prospective follow-up study. Int Urogynecol J 2013 Oct;24(10):1679–1686.
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      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-3 Filed    Filed 05/26/20 Page
                                                     Page 19 of     50 of 155
                                                                20 PageID  #: 33449



        As discussed above, laser-cut mesh has no clinical difference when compared to
 mechanical-cut mesh in the physiologic range of stress when implanted in the female pelvis.
 (ETH.MESH.01784823-28 (CER Laser Cut Mesh); ETH.MESH.01222075-79 (Elongation
 Characteristics of Laser Cut Prolene Mesh for TVT); ETH.MESH.06696367-79 (Performance
 Evaluation of TVT U Prolene Mesh); Lin AT, et al., In Vivo tension Sustained by Fascial Sling
 in Pubovaginal Sling Surgery for Female Stress Urinary Incontinence, J Urol , 2005
 Mar;173(3):894–897.) The only difference is aesthetic, as any particles lost on mechanical-cut
 mesh cause no harm.

          All surgical procedures have inherent risks. All pelvic surgeries have similar risks, and
 the introduction of the Prolene Soft mesh has served to decrease complications when compared
 to previous techniques. Because native repairs do not involve a kit product, complications are
 not reportable to the MAUDE database. Scientific research has provided improved materials and
 applications to both improve efficacy and decrease complications. Synthetic mesh that is
 microporous or too macroporous has proven to be either less safe or less efficacious. If the mesh
 is too lightweight or too large pore, there is inadequate support.

         All pelvic surgery has similar and inherent risks. Pelvic floor surgeons should be and are
 aware of the potential complications involved with any surgical treatment of pelvic organ
 prolapse based on a combination of their medical school education, their residencies,
 fellowships, their experience, their continuing education, and their review of the surgical mesh’s
 IFU if a surgical mesh is used. Risks such as infection, scarring, inflammation, bladder damage,
 bowel damage, ureter damage, nerve damage, injury to vessels, wound complications (such as
 wound dehiscence, herniation, hematoma, seroma, pelvic abscess, exposure, and erosion), pain,
 pelvic pain, groin pain, dyspareunia, fistula, anesthetic risks, bowel or bladder dysfunction,
 failure of the operation, bleeding, death, pulmonary embolism, myocardial infarction,
 pneumonia, deep vein thrombosis, and need for reoperation are basic elemental surgical risks of
 any pelvic floor surgery involving mesh. Surgeons understand that these complications can
 happen, and they also understand that the symptoms can range in terms of severity and duration.

          Surgeons are expected to understand the anatomy in which they are operating, and should
 identify and dissect in safe planes, avoiding inadvertent damage to the organs and vessels
 contained within the pelvis. The education and training of the pelvic surgeon should be adequate
 to know the possibility of complications and their avoidance, risks of recurrence and reoperation.
 Indeed, the development of biologic and synthetic materials was motivated by the high failure
 rate of pelvic reconstruction due to the weakness of the patients’ connective tissue leading to the
 condition requiring repair. There is an extensive body of medical knowledge in the medical
 literature discussing the possibility of complications with the use of meshes. Surgeons’ prior
 experience with mesh informs their understanding of potential complications with pelvic floor
 surgeries, including those involved with mesh devices. While mesh exposure is unique to mesh
 devices, it is obvious, and it is general knowledge within female urology and urogynecology.
 The potential injury to vessels and organs caused by trocars is well-known to surgeons, and
 potential mesh exposure and foreign body reactions are common knowledge.

        Furthermore, the FDA issued a Public Health Notification in 2008 regarding the use of
 synthetic mesh for treatment of prolapse and incontinence. It alerted healthcare practitioners to

                                                 18
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-3 Filed    Filed 05/26/20 Page
                                                     Page 20 of     51 of 155
                                                                20 PageID  #: 33450



 “complications associated with transvaginal placement of surgical mesh to treat Pelvic Organ
 Prolapse (POP) and Stress Urinary Incontinence (SUI).” It noted that the major complications
 were rare, but could have serious consequences, and that the “most frequent complications
 included erosion through the vaginal epithelium, infection, pain, urinary problems, and
 recurrence of prolapse and/or incontinence.” It also noted that there were “reports of bowel,
 bladder, and blood vessel perforation during insertion,” and that “[i]n some cases, vaginal
 scarring and mesh erosion led to a significant decrease in patient quality of life due to discomfort
 and pain, including dyspareunia.” This Public Health Notification was yet another source of
 knowledge for surgeons regarding potential complications associated with synthetic mesh
 midurethral slings, complementing the TVT and TVT-O’s IFU, Ethicon’s professional education
 seminars, and the surgeons’ training, education, and experience.

         Based upon the analysis above, and on my education, my training, my experience using
 these products and alternative incontinence treatments, and my reading of the literature
 referenced above, I believe that Ethicon’s Prolene Soft mesh is not defective, but is reasonably
 safe for its intended use and has a positive benefit-to-risk profile. In my opinion, the benefits of
 the Prolene Soft mesh far outweigh the risks of using the product. At the time the product was
 launched, I do not believe it could have been made safer for its intended use. The product was
 state of the art at the time it was launched, and remains so today.




 Date: __2/27/16____                                   _____________________________
                                                             Douglas H. Grier, M.D.




                                                  19
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-4 Filed   Filed 05/26/20
                                                   Page 1 ofPage 52 of 155
                                                             31 PageID  #: 33451




              Exhibit D
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-4 Filed   Filed 05/26/20
                                                   Page 2 ofPage 53 of 155
                                                             31 PageID  #: 33452



                        Report re TVT and TVT-O Mid-urethral Slings
                                   Douglas H. Grier, M.D.
                               Sound Urological Associates, P.S.
                                     21822 76th Ave., W
                                    Edmonds, WA 98026

         This report contains a summary of my qualifications, education, training, and experience,
a statement of my opinions that I have formed to date, the bases for those opinions, and the
information I considered in forming my opinions. All of my opinions are based on my
education, training, clinical experience, the pertinent medical literature, discussions with
colleagues, and other materials I have reviewed. Materials that support my findings and
opinions, including documents that I have reviewed, are identified either in this report or are
listed in the attached reliance materials list.

        All of the opinions I express in this report are held to a reasonable degree of medical and
scientific certainty. If I receive additional information after signing this report but before trial, I
may form additional or different opinions.

I. Background

        a.      Education, Training, and Experience

       I attended the University of Florida in Gainesville, Florida, graduating with a Bachelor of
Science degree in Chemistry with High Honors in 1976. I attended medical school at George
Washington University, graduating in 1982. I then did a surgical internship in 1982–1983 at the
Portsmouth Naval Hospital in Portsmouth, Virginia. Following my internship, I did a urological
residency at the Portsmouth Naval Hospital from 1984–1988. I served as Chief of Urology at
Jacksonville Naval Hospital in 1990-91.

        Prior to my residency, I served in Operation Urgent Fury in Grenada in October 1983 and
as part of the Multinational Peacekeeping Force in Beirut, Lebanon in 1983–1984. After my
residency, I served in Operation Desert Shield and Operation Desert Storm with the 1st Marine
Division, stationed in Saudi Arabia and Kuwait in 1990–1991.

       I am the President-Elect of the Medical Staff at Swedish/Edmonds Hospital in Edmonds,
Washington. I also serve as the Chair of Swedish Hospital’s Medical Quality Oversight
Committee, Chair of the Credentials Committee, Treasurer of the Medical Staff for the Swedish
Hospital System, and as a member of the Executive Committee at Swedish Hospital.

       I became a Diplomate of the American Board of Urology in 1990 and was recertified in
2010. I am an active member of the American Urological Association, the Washington State
Medical Association, the Northwest Urological Society, the Washington State Urology Society,
the King County Medical Society, the American Association of Clinical Urologists, the Society
of Urodynamics Female Pelvic Medicine & Urogenital Reconstruction, and the International
Continence Society.



                                                   1
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-4 Filed   Filed 05/26/20
                                                   Page 3 ofPage 54 of 155
                                                             31 PageID  #: 33453



                My curriculum vitae is attached to this report.

       b.       Clinical Experience & Personal Experience with Stress Urinary Incontinence
                Treatments

        I have a special focus in female pelvic medicine and surgery. Over the course of my
career, I have performed various types of native tissue surgery and surgery utilizing mesh,
including Ethicon’s TVT and TVT-O, TVT-Abbrevo, and TVT-Secur mid-urethral slings, AMS
Monarch, Uretex by Bard, Vesica In situ sling, Stamey cystourethropexy, MMK, and Burch
procedures. I have also performed robotic sacrocolpopexies, as well as open abdominal
sacrocolpopexies. I have also performed various types of native tissue surgeries and surgeries
utilizing mesh to treat pelvic organ prolapse and hernias.

       c.       Teaching & Training Experience Related to Stress Urinary Incontinence

        I served as a faculty member at the Ethicon Endosurgical Institute, and as a National
Preceptor for Gynecare products, conducting over 300 courses for advanced surgical training of
physicians for conditions such as stress urinary incontinence and pelvic organ prolapse. I have
lectured to pelvic floor surgeons throughout the United States, Canada, Europe, and China. I
have performed research in the field of incontinence and bladder disorders, contributing to
studies on the use of TVT abdominal guides, and the TVT world registry published in the
Journal of Urology in 2011. I was also an investigator in an FDA trial of a pelvic nerve
stimulator for the treatment of urge incontinence.

       d.       Litigation Consulting Work

       During the previous four years, I have testified as an expert witness at trial or by
deposition in the following case:

            •   Perry v. Ethicon, Inc., et al.—Bakersfield, CA
                   o Deposition Testimony on 12/30/14
                   o Trial Testimony on 02/17/15, 02/18/15, and 02/19/15

       I am being compensated $500 per hour for my study and testimony in this case.

II. Stress Urinary Incontinence

       a.       Definition, Mechanism of Action, and Prevalence

        Urinary incontinence is the involuntary leakage of urine, and can take different forms
such as urge incontinence, stress incontinence, or mixed incontinence. Urinary incontinence
affects up to 50% of women at some point in their lives. (Ford AA, Rogerson L, Cody JD, Ogah
J. Mid-urethral sling operations for stress urinary incontinence in women. Cochrane Database of
Systematic Reviews 2015, Issue 7. Art. No.: CD006375. DOI:
10.1002/14651858.CD006375.pub3.) Stress Urinary Incontinence (“SUI”) is the involuntary
leakage of urine during activities such as coughing, sneezing, lifting, laughing, or exercising.

                                                 2
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-4 Filed   Filed 05/26/20
                                                   Page 4 ofPage 55 of 155
                                                             31 PageID  #: 33454



(IUGA Stress Urinary Incontinence – A Guide for Women.) The proposed mechanism of action
for the development of stress urinary incontinence is weakening of the pubourethral ligaments
and loss of intrinsic sphincter tone.

         SUI is diagnosed by bladder questionnaire, examination, cough test, bladder diary,
urodynamic studies, and cystoscopy. Pelvic organ prolapse, overactive bladder, and urinary
incontinence affect more women than diabetes, heart disease, or arthritis. SUI is a very common
condition, and affects at least 10–35% of women. (IUGA Stress Urinary Incontinence – A
Guide for Women; Dooley Y, et al., Urinary incontinence prevalence: results from the National
Health and Nutrition Examination Survey. J Urol 2008 Feb;179(2):665–661.) A recent
Cochrane review notes that, of the 50% of women who will experience urinary incontinence at
some point in their lives, 30–80% experience SUI. (Ford AA, Rogerson L, Cody JD, Ogah J.
Mid-urethral sling operations for stress urinary incontinence in women. Cochrane Database of
Systematic Reviews 2015, Issue 7. Art. No.: CD006375. DOI:
10.1002/14651858.CD006375.pub3.) Moderate-to-severe SUI affects women at an increasing
rate as they age, and has been reported to affect 6.9% of women 20–39 years old, 17.2% of
women 40–59 years old, 23.3% of women aged 60–79 years, and 31.7% of women 80 years or
older. (Nygaard I, et al., Prevalence of symptomatic pelvic floor disorders in US women. JAMA
2008 Sep 17;300(11):1311–1316.) One study estimated that approximately 11% of women will
have surgery to treat either SUI or pelvic organ prolapse in their lifetime. (Olsen AL, et al.,
Epidemiology of surgically managed pelvic organ prolapse and urinary incontinence. Obstet
Gynecol 1997;89:501-506.) Over 200,000 surgeries are performed in the U.S. for the treatment
of SUI and pelvic organ prolapse each year. (Gerten KA, et al., Prolapse and incontinence
surgery in older women. J Urol 2008 Jun;179(6):2111–21118.)

       b.     Risk Factors for Stress Urinary Incontinence

       Smoking: Women who smoke are 1.8–2.9 times more likely to develop SUI. (Bump
RC, Am. J. Obstet. & Gynecol 1992;167:1213–1218.) Smoking can lead to COPD, which
increases abdominal pressures through chronic coughing.

        Obesity: Increasing body mass index correlates to an increase in the symptoms of
urinary incontinence and pelvic organ prolapse through the mechanism of increased intravesical
pressure and bladder receptor changes. (Hannestad YS, et al., Are smoking and other lifestyle
factors associated with female urinary incontinence? The Norwegian EPINCONT Study. Br J
Obstet Gynaecol 2003 Mar;110(3):247–254.) Obese women have a 4.2-fold greater risk of
developing SUI compared to women with an average BMI. (ACOG / AUGS Practice Bulletin
No. 155; Nov. 2015.)

        Menopause: Decreasing serum levels of estrogen are known to increase the incidence of
both stress incontinence and integrity of the pubocervical fascia of the vagina by decreasing
vascularity and thickness of the tissues. Postmenopausal decreased estrogen levels lead to
urogenital atrophy with the increased risk of infections of the urinary tract and changing of the
vaginal pH. (Siddighi S & Hardesty JS, Urogynecology & Female Pelvic Reconstructive
Surgery. ISBN 0-07-144799-7.)



                                                3
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-4 Filed   Filed 05/26/20
                                                   Page 5 ofPage 56 of 155
                                                             31 PageID  #: 33455



        Pregnancy and Childbirth: Damage sustained to the muscles and nerves of the pelvic
floor significantly increases the risk of both stress and urge incontinence and pelvic organ
prolapse. A woman with three or more vaginal deliveries has an eleven-fold increased risk of
pelvic organ prolapse compared to a nulliparous woman. The weight of the infant contributes to
prolapse with an increase of 10% per pound weight of the infant. (Siddighi S & Hardesty JS,
Urogynecology & Female Pelvic Reconstructive Surgery. ISBN 0-07-144799-7.)

       Chronic Constipation and Heavy Lifting: Chronic constipation and heavy lifting cause
increased pelvic pressures which leads to increased fascial stress over time.

       Race: Increasing incidence of SUI occurs from Asian women < African-American
women < Caucasian Women. Caucasian women have the highest risk of pelvic organ prolapse.
(Siddighi S & Hardesty JS, Urogynecology & Female Pelvic Reconstructive Surgery. ISBN 0-
07-144799-7.)

        Age: The mean age for SUI in women is 48 years, for mixed incontinence in women 55
years, and urge incontinence in women is 61 years. The prevalence of incontinence is 39.6
million women as of 2001. (Siddighi S & Hardesty JS, Urogynecology & Female Pelvic
Reconstructive Surgery. ISBN 0-07-144799-7.)

        Congenital Factors: Women with prolapse tend to have an abundance of the weaker
type III collagen in the pubocervical fascia with a higher degree of joint hypermobility with
associated collagen vascular disorders. These factors also increase the incidence and severity of
prolapse. Collagen vascular diseases have been implicated in the development of SUI and pelvic
organ prolapse. (Siddighi S & Hardesty JS, Urogynecology & Female Pelvic Reconstructive
Surgery. ISBN 0-07-144799-7.)

      Pelvic Organ Prolapse: 62% of women with prolapse also report SUI and 63% of
women with stress incontinence have associated prolapse. (Siddighi S & Hardesty JS,
Urogynecology & Female Pelvic Reconstructive Surgery. ISBN 0-07-144799-7.)

       c.     Economic Impact and Impact on Quality of Life

         Women who develop urinary incontinence adapt by minimizing activities, wearing
incontinence diapers, and by avoiding social interactions and sexual relationships due to fear of
embarrassment. (Fultz NH, et al., Burden of stress urinary incontinence for community-dwelling
women. Am J Obstet Gynecol 2003 Nov;189(5):1275–1282.) It has been reported that less than
half of women who experience incontinence tell their healthcare providers about their symptoms.
(Wu JM, et al., Prevalence and incidence of urinary incontinence in a diverse population of
women with noncancerous gynecologic conditions. Female Pelvic Med Reconstr Surg
2010;16(5):284–289; ACOG / AUGS Practice Bulletin No. 155; Nov. 2015.) The impact of
decreased physical activities for fear of incontinence leads to cardiovascular deconditioning,
further obesity, and social isolation. The incontinence also increases the incidence of urinary
tract infections, which can lead to kidney infections and hospitalizations. The symptoms of SUI
can also increase the incidence and severity of depression.



                                                4
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-4 Filed   Filed 05/26/20
                                                   Page 6 ofPage 57 of 155
                                                             31 PageID  #: 33456



         62% of women with prolapse also report SUI and 63% of women with stress
incontinence have associated prolapse. (Gallentine ML and Cespedes RD, Occult stress urinary
incontinence and the effect of vaginal vault prolapse on abdominal leak point pressures. Urology
2001 Jan;57(1):40-44.) 30% of women will undergo repeat surgery for recurrent prolapse over
their lifetime.

        Economic costs of urinary incontinence were estimated to be $32 billion as of 2000, with
the cost derived from providing laundry, pads, and absorbent products. The majority of those
costs do not come from providing treatment. The November 2015 ACOG/AUGS Practice
Bulletin on Urinary Incontinence in Women notes that the “estimated direct cost of urinary
incontinence care in the United States is $19.5 billion.” (ACOG / AUGS Practice Bulletin No.
155; Nov. 2015.) 62% of women with prolapse also report SUI and 63% of women with stress
incontinence have associated prolapse. (Siddighi S & Hardesty JS, Urogynecology & Female
Pelvic Reconstructive Surgery. ISBN 0-07-144799-7; Wagner, Economic Costs of Urinary
Incontinence, Urology 1998;51:355–361.)

III. Treatment Options for SUI

       a.     Nonsurgical Options for Treatment of Stress Urinary Incontinence

        Nonsurgical treatment options for SUI are behavior modifications, including more
frequent voiding, incontinence pads or briefs, biofeedback, pelvic floor muscle exercises, weight
reduction, management of fluid intake, smoking cessation, reduced intake of coffee, tea, and
carbonated beverages, reduced occupational or recreational activities that require repetitive or
chronic straining, and constipation management. Other nonsurgical treatment options include
functional electrical stimulation (PTNS) and mechanical devices. (Siddighi S & Hardesty JS,
Urogynecology & Female Pelvic Reconstructive Surgery. ISBN 0-07-144799-7; ACOG / AUGS
Practice Bulletin No. 155; Nov. 2015.) Only 15–28% of women have their incontinence 100%
cured by pelvic floor muscle training (PFMT), and after a 3–15-year follow-up, 25–50% of
women primarily treated with PFMT to try to improve or cure their incontinence will undergo
surgery. (Labrie J, et al., Protocol for Physiotherapy OR Tvt Randomised Efficacy Trial
(PORTRET): a multicenter randomised controlled trial to assess the cost-effectiveness of the
tension free vaginal tape versus pelvic floor muscle training in women with symptomatic
moderate to severe stress urinary incontinence. BMC Women’s Health 2009;9:24.)

       Pessaries are believed to control SUI symptoms by increasing urethral resistance and
supporting the urethra. They “may improve the symptoms of stress and mixed urinary
incontinence, but objective evidence regarding their effectiveness has not been reported.”
(ACOG / AUGS Practice Bulletin No. 155; Nov. 2015.)

        The limitations of nonsurgical management options are that they rarely fully restore
continence, but rather help cope with the condition. There is no FDA-approved medication for
the treatment of SUI. (ICS Fact Sheets: A Background to Urinary and Faecal Incontinence (July
2013); 2013 AUA SUI Patient Guide.)




                                               5
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-4 Filed   Filed 05/26/20
                                                   Page 7 ofPage 58 of 155
                                                             31 PageID  #: 33457



       b.      Surgical Options for Treatment of Stress Urinary Incontinence

        Because of the limitations of nonsurgical treatment options, surgery is the definitive and
long-term treatment for symptomatic SUI. There are over 150 described surgical treatments for
SUI. All of these surgeries have shared risks such as hematoma, bladder or bowel injury, lower
urinary tract injury, vascular injury, infection, urinary retention, persistent SUI, bleeding, pain,
dyspareunia, fistula, and de novo or worsening urge incontinence. (ACOG / AUGS Practice
Bulletin No. 155; Nov. 2015.)

               i.      Native Tissue and Tension Repairs

        The primary surgical native tissue and tension repairs include the Kelly plication
(introduced in 1912), Pereyra needle urethropexy (introduced in 1959), and abdominal
operations for SUI such as the Burch colposuspension (introduced in 1961) and Marshall
Marchetti Krantz (MMK) cystourethropexy (introduced in 1949). (Siddighi S & Hardesty JS,
Urogynecology & Female Pelvic Reconstructive Surgery. ISBN 0-07-144799-7.)

        Retropubic trans-abdominal surgeries (Burch and MMK) when compared to TVT, are
less cost-effective, more morbid, have greater operative time, and longer recovery with equal
efficacy. (Ward K, et al., Prospective multi-center randomized trial of tension-free vaginal tape
and colposuspension as primary treatment for stress incontinence. BMJ 2002 Jul;325:1–7.) In a
randomized controlled trial of TVT versus Burch with five-year follow-up, the procedures had
similar patient satisfaction and efficacy, but the TVT group had less voiding dysfunction. (Ward
K and Hilton P on behalf of the UK and Ireland TVT Trial Group, Tension-free vaginal tape
versus colposuspension for primary urodynamic stress incontinence: 5-year follow up. BJOG
2008;115:226–233.) A 2009 Cochrane review of TVT versus Burch reported that TVT appeared
to be as effective as the open Burch procedure, but associated with fewer complications, less
voiding dysfunction, shorter operative times, and increased safety. (Ogah, J., Cody, JD,
Rogerson, L., Minimally invasive synthetic suburethral sling operations for stress urinary
incontinence in women. Cochrane Database of Systematic Reviews 2009, Issue 4. Art. No.:
CD006375. DOI:10.1002/14651858.CD006375.pub2.) A meta-analysis of 39 RCTs published in
2010 by Novara, et al. indicated that patients receiving midurethral slings, especially TVT, while
having an increased risk of bladder perforation, had significantly higher overall and objective
cure rates than did the patients who had a Burch procedure. (Novara G, et al. Updated
systematic review and meta-analysis of the comparative data on colposuspensions, pubovaginal
slings, and midurethral tapes in the surgical treatment of female stress urinary incontinence. Eur
Urol 2010 Aug;58(2):218-38.)

        Retropubic trans-abdominal surgeries such as the Burch and MMK involve larger
incisions, more dissection, are performed as inpatient rather than ambulatory procedures, and
have a greater average blood loss than the mid-urethral sling procedures discussed below.
(Chaliha C, Stanton SL. Complications of surgery for genuine stress incontinence. Br J Obstet
Gyaecol. 1999 Dec;106(12):1238–45.) Data shows that long-term efficacy following Burch
declines with time and plateaus at ten years with 70% cure. One in ten patients needs at least one
additional surgery for correction of SUI ten years after undergoing a Burch procedure. (Alcalay,
Burch colposuspension: a 10-20 year follow up. Br J Obstet Gynaecol 1995;102:740-745.) In

                                                  6
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-4 Filed   Filed 05/26/20
                                                   Page 8 ofPage 59 of 155
                                                             31 PageID  #: 33458



another long-term study of the Burch procedure, 56% of the patients studied experienced
subjectively significant urinary incontinence. (Kjolhede P, Long-term efficacy of Burch
colposuspension: a 14-year follow-up study, Acta Obstet Gynecol Scand 2005, 84:767-772.) In
the SISTEr study, 70% of patients undergoing the Burch procedure had treatment failure at two
years’ follow-up when all criteria were considered. (Albo, ME, et al., Burch Colposuspension
versus Fascial Sling to Reduce Urinary Stress Incontinence, N Engl J Med 2007;356:2143-2155.)
In the extended SISTEr trial, between 2–7 years post-op continence rates dropped from 42% to
13% in patients who had the Burch procedure. (Richter HE, et al., Patient Related Factors
Associated with Long-Term Urinary Continence After Burch Colposuspension and Pubovaginal
Fascial Sling Surgeries. J Urol 2012 Aug;188(2):485–489.) A study by Demirci showed
comparable trends in decreasing efficacy and late complications. Demirci reported late
complications in 220 women, including enterocele (35), rectocele (32), cystocele (18),
suprapubic or groin pain (15), and dyspareunia (6). (Demirci F, et al. Long-term results of Burch
colposuspension. Gynecol Obstet Invest. 2001;51(4):243-7.)

        Laparoscopic Burch procedures have a lower cure rate, higher complication rate, and
higher operative cost than open Burch procedures. (Siddighi S & Hardesty JS, Urogynecology &
Female Pelvic Reconstructive Surgery. ISBN 0-07-144799-7; Walters, Surgical management of
stress incontinence, Clinical Obstetrics & Gynecology-Incontinence. Lipincott William &
Wilkins 2004:93–103.) A 2012 Cochrane Review reported that there was insufficient evidence
to determine whether the laparoscopic Burch procedure has an advantage over the open Burch
procedure in terms of cost-effectiveness, longer-term complications, safety, quality of life, and
subjective and objective cure rates. (Lapitan MC, Cody JD. Open retropubic colposuspension
for urinary incontinence in women. Cochrane Database Syst Rev 2012 Jun 13.)

        In the SISTEr trial, 47% of the patients undergoing the Burch procedure experienced
adverse events. (Albo, ME, et al., Burch Colposuspension versus Fascial Sling to Reduce
Urinary Stress Incontinence, N Engl J Med 2007;356:2143-2155.) Urinary retention rate after
Burch is 12%. De novo detrusor overactivity is 16% post-operatively. 25-45% patients with
mixed incontinence pre-op will have worse detrusor overactivity post-op. There is a 7–14% risk
of enterocele (prolapsed small intestine) formation. 12% have post-colposuspension syndrome,
which is chronic pain in the low-to-mid pelvis due to the Burch suture tension. (Siddighi S &
Hardesty JS, Urogynecology & Female Pelvic Reconstructive Surgery. ISBN 0-07-144799-7.)
Osteitis pubis—which is inflammation of the periosteum from the sutures—occurs at a rate of 2-
3%. Dyspareunia increases when combined with vaginal prolapse surgery. Urinary tract
infections and wound complications also occur. (Siddighi S & Hardesty JS, Urogynecology &
Female Pelvic Reconstructive Surgery. ISBN 0-07-144799-7.) The Alcalay study reported that
14.7% of the patients had detrusor instability, 22% had long-term voiding difficulty, and 4.6%
had recurrent urinary tract infections. The AUA 2012 Update to the SUI Guidelines reported
higher rates of pain and sexual dysfunction with the Burch procedure than with midurethral
slings. (Guideline for the Surgical Management of Female Stress Urinary Incontinence: 2009
Update Appendices A11 and A16.) The significant post-operative morbidity and complications
associated with the Burch procedure has caused surgeons to turn to other procedures to treat SUI.
(Wu CJ, et al., The surgical trends and time-frame comparison of primary surgery for stress
urinary incontinence, 2006-2010 vs 1997-2005: a population-based nation-wide follow-up
descriptive study. Int Urogynecol J 2014 Dec;25(12):1683–91; Chughtai BI, et al., Midurethral

                                               7
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-4 Filed   Filed 05/26/20
                                                   Page 9 ofPage 60 of 155
                                                             31 PageID  #: 33459



Sling Is the Dominant Procedure For Female Stress Urinary Incontinence: Analysis of Case Logs
From Certifying American Urologists. Urology 2013 Dec;82(6):1267–71; Suskind AM, et al.,
Effectiveness of Mesh Compared with Nonmesh Sling Surgery in Medicare Beneficiaries. Obstet
Gynecol 2013 Sep;122(3):546–52; Rogo-Gupta L, et al., Trends in the Surgical Management of
Stress Urinary Incontinence Among Female Medicare Beneficiaries, 2002-2007. Urology 2013
Jul;82(1):38–41; Nager CW, et al., A Randomized Trial of Urodynamic Testing before Stress-
Incontinence Surgery. N Engl J Med 2012 May;24;366(21):1987–97; Wu JM, et al., Trends in
inpatient urinary incontinence surgery in the USA, 1998-2007. Int Urogynecol J 2011
Nov;22(11):1437–43.)

       Retropubic needle suspensions have been essentially abandoned due to high failure rates,
and share all of the risks discussed above with respect to retropubic trans-abdominal surgeries.

               ii.    Bulking Agents

         Bulking agents are another option for treatment of SUI. They can be made of bovine
collagen or polytetrafluoroethylene (PTFE), and are needle-injected into the urethral submucosa
to coapt the urethra. Advantages of these procedures include the fact that they can be office-
based, they do not require general anesthesia, they can be performed in patients who are not
surgical candidates, and they can be used after failed previous surgeries. While bulking agents
are invasive, they are less invasive than other surgical options. Drawbacks of bulking agents
include high cost, lower cure rates—25% dry, 50% improved, and 25% requiring repeat
injections. Complications include urinary retention (15-25%), urinary tract infection (5-30%),
irritative voiding symptoms (less than 20%), allergic reactions (4%), and product migration.
(Gross M, et al., Periurethral injections. In: Bent AE, et al., eds. Ostergard’s Urogynecology and
Pelvic Floor Dysfunction 5th ed. William & Wilkins; 2003:495–502.) “[U]rethral bulking agents
are less effective than surgical procedures such as sling placement and are rarely used as primary
treatment for stress urinary incontinence.” (ACOG / AUGS Practice Bulletin No. 155; Nov.
2015.)

               iii.   Artificial Urinary Sphincters

       Artificial urinary sphincters are inflatable cuffs that surround the proximal urethra and
bladder neck. They provide mechanical obstruction of the urethra when inflated and allow
opening with activation of a control pump. Due to the extensive surgery required and long-term
complications of device failure (e.g., pump failure, urethral erosion, infection), artificial
sphincters are used for severe incontinence when other procedures have failed. (Appell,
Techniques and results in the implantation of the artificial urinary sphincter in women with type
3 SUI with vaginal approach. Neurourol Urodyn 1988;7:613–619.)

               iv.    Proximal Suburethral Slings

        Another surgical treatment option for SUI is the proximal suburethral sling. Originally
used only for intrinsic sphincter deficiency (“ISD”) and recurrent stress incontinence because of
the higher post-operative complications, proximal suburethral slings create a hammock
underneath the urethra and bladder neck to prevent descent and provide a backboard for

                                                8
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-4 Filed    Filed 05/26/20 Page
                                                     Page 10 of     61 of 155
                                                                31 PageID  #: 33460



 compression of the urethra during increased intra-abdominal pressure. First described in 1907,
 several biologic and synthetic materials have been used, and bone-anchored slings have also
 been developed. The biologic materials used include autografts (fascial tissue removed from the
 patient’s abdomen (rectus fascia) or outer thigh (fascia lata)), allografts (sterilized fascia from a
 cadaver), or xenografts (sterilized fascia from an animal). Modification of the suburethral slings
 by anchoring to the pubic bone does not increase effectiveness, and carries an increased risk of
 osteomyelitis. Overall success is between 82–90% at 5 years. Cure rates for SUI with ISD at 5
 years is 80–90%, which is higher than Burch. However, In the SISTEr study, 57% of patients
 receiving a fascial sling had treatment failure at two years’ follow-up when all criteria were
 considered. (Albo, ME, et al., Burch Colposuspension versus Fascial Sling to Reduce Urinary
 Stress Incontinence, N Engl J Med 2007;356:2143-2155.) In the extended SISTEr trial, between
 2–7 years post-op continence rates dropped from 52 to 27% in patients who had pubovaginal
 slings. (Richter HE, et al., Patient Related Factors Associated with Long-Term Urinary
 Continence After Burch Colposuspension and Pubovaginal Fascial Sling Surgeries. J Urol 2012
 Aug;188(2):485–489.) The 2014 SGS systematic review and meta-analysis by Shimpf et al.
 observed that, when comparing pubovaginal slings versus midurethral slings, subjective cure was
 higher with midurethral slings. Therefore, the authors recommended midurethral slings over
 pubovaginal slings. (Schimpf MO, et al., Sling surgery for stress urinary incontinence in
 women: a systematic review and metaanalysis. Am J Obstet Gynecol 2014;210:1.e1-1.e27.)

         Cure rates may be high, but complication rates are also higher with these procedures.
 These procedures are highly morbid, involve abdominal and transvaginal incisions, greater
 operative time, more blood loss, more transfusions, autologous fascia has to be harvested from
 the patient using a separate incision, recovery time is much longer than other surgical treatment
 methods, and the complication rate is higher in terms of urinary retention, possible bone
 anchoring complications, hematoma, chronic pain, infection, exposure, and de novo urinary
 detrusor overactivity. (Chaikin DC, et al., Pubovaginal fascial sling for all types of stress urinary
 incontinence: long-term analysis. J Urol 1998 Oct;160(4):1312–1316; Schimpf MO, et al., Sling
 surgery for stress urinary incontinence in women: a systematic review and metaanalysis. Am J
 Obstet Gynecol 2014;210:1.e1-1.e27; Brubaker L, 5-Year Continence Rates, Satisfaction and
 Adverse Events of Burch Urethropexy and Fascial Sling Surgery for Urinary Incontinence,
 Urology 2012;187:1324-1330; Richter HE, et al., Patient Related Factors Associated with Long-
 Term Urinary Continence After Burch Colposuspension and Pubovaginal Fascial Sling
 Surgeries, Urology 2012;188:485-489; Albo, ME, et al., Burch Colposuspension versus Fascial
 Sling to Reduce Urinary Stress Incontinence, N Engl J Med 2007;356:2143-2155; Rehman H, et
 al., Traditional suburethral sling operations for urinary incontinence in women. Cochrane
 Database Syst Rev. 2011 Jan 19;(1):CD001754. Doi: 10.1002/14651858.) In the SISTEr trial,
 63% of the patients receiving fascial slings experienced adverse events. (Albo, ME, et al., Burch
 Colposuspension versus Fascial Sling to Reduce Urinary Stress Incontinence, N Engl J Med
 2007;356:2143-2155.) The AUA 2012 Update to the SUI Guidelines reported higher rates of
 pain and sexual dysfunction with pubovaginal slings than with midurethral slings. (Guideline for
 the Surgical Management of Female Stress Urinary Incontinence: 2009 Update Appendices A11
 and A16.) Harvesting autologous fascia from the abdomen or outer thigh carries a risk of pain,
 nerve entrapment, and infection, which is a significant drawback to the procedure. The
 American College of Obstetricians and Gynecologists and the American Urogynecologic Society
 recommend that autologous fascial bladder neck slings be considered for women who decline or

                                                  9
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-4 Filed    Filed 05/26/20 Page
                                                     Page 11 of     62 of 155
                                                                31 PageID  #: 33461



 are not candidates for synthetic mesh slings. (ACOG / AUGS Practice Bulletin No. 155; Nov.
 2015.) Using allografts and xenografts can be met with cultural or religious objections from
 patients, and carries a risk of disease transmission and rejection. Allografts and xenografts are
 also more costly than other materials, and lack the long-term durability of synthetic materials.

                v.      Midurethral Tension-Free Slings

         Midurethral tension-free slings were developed by Ulmsten in Sweden in the 1980s to
 mid-‘90s due to the high morbidity and unpredictable success of retropubic or proximal urethral
 suspension procedures. These procedures involve the placement of a tension-free synthetic
 midurethral sling that can be placed either retropubic or transobturator. They act as a hammock
 or backstop for the midurethra during the moments of increased bladder pressure caused by
 physical activity. Indications for midurethral slings are SUI with hypermobility of the urethra,
 SUI with ISD, mixed incontinence with stress predominance, and recurrent SUI following failed
 previous procedures. They have been used extensively in Europe for the treatment of SUI,
 became popular in the U.S. in the late 1990s, and have revolutionized the treatment of SUI.
 (Siddighi S & Hardesty JS, Urogynecology & Female Pelvic Reconstructive Surgery. ISBN 0-
 07-144799-7.) The majority are performed in ambulatory centers with minimal incision and
 without the requirement for post-operative catheterization. Other advantages are that it is a
 shorter learning curve for the surgeon (which means more women have access to the treatment),
 and involve less post-operative pain for the patient. Most pelvic floor surgeons prefer synthetic
 mid-urethral slings to traditional procedures in most circumstances. (Clemons JL, et al., Impact
 of the 2011 FDA Transvaginal Mesh Safety Update on AUGS Members’ Use of Synthetic Mesh
 and Biologic Grafts in Pelvic Reconstructive Surgery. Female Pelvic Med Reconstr Surg
 2013;19:191-198; Chughtai BI, et al., Midurethral Sling Is the Dominant Procedure for Female
 Stress Urinary Incontinence: Analysis of Case Logs From Certifying American Urologists.
 Urology 2013 Dec;82(6):1267–71; Nager CW, et al., A Randomized Trial of Urodynamic
 Testing before Stress-Incontinence Surgery. N Engl J Med 2012 May 24;366(21):1987–1997.)

 IV.    Ethicon TVT Products

        a.      Historical Background of Surgical Use of Mesh

         Polypropylene sutures have been used for over 45 years and are biologically compatible
 with human tissue. Polypropylene hernia mesh has been and continues to be the standard of care
 for the last thirty years for abdominal wall hernia repair. Polypropylene mesh has been used in
 open abdominal sacrocolpopexies since the 1960s. The advantage of mesh is augmentation and
 strength during the healing process with the incorporation of collagen fibers into the material to
 provide lasting support. I have been performing polypropylene mesh hernia repairs since the
 1980s and have never had a patient develop an infection or rejection of the material.

        b.      The Development of Tension-Free Vaginal Tape Using Prolene Mesh

        As mentioned above, midurethral tension-free slings were developed by Ulmsten in
 Upsala, Sweden in the 1980s to mid-1990s, at which time he and Dr. Petros experimented with
 multiple different available materials for the slings, including Mersilene, Marlex, Prolene, Gore-

                                                 10
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-4 Filed    Filed 05/26/20 Page
                                                     Page 12 of     63 of 155
                                                                31 PageID  #: 33462



 Tex, and others. (Petros PE, Creating a gold standard surgical device: scientific discoveries
 leading to TVT and beyond: Ulf Ulmsten Memorial Lecture 2014. Int Urogynecol J 2015
 Apr;26(4):471-6; Ulmsten U, et al. A multicenter study of tension-free vaginal tape (TVT) for
 surgical treatment of stress urinary incontinence. Int Urogynecol J Pelvic Floor Dysfunct
 1998;9(4):210-213; Petros PE, Ulmsten UI, An integral theory and its method for the diagnosis
 and management of female urinary incontinence. Scand J Urol Nephrol Suppl 1993;153:1-93.)
 Dr. Ulmsten and Dr. Petros selected the monofilament, large-pore, knitted, lightweight Prolene
 mesh due to Prolene’s long-term use in surgery as a suture material, its ease of use, and its
 biocompatibility in the vagina. Dr. Ulmsten also determined that a Prolene sling that was 1
 centimeter in width and 40 centimeters in length was optimal. The width of the sling was
 eventually changed to 1.1 cm, and the length was subsequently increased to 45 cm to facilitate
 treatment of more women. Dr. Axel Arnaud of Ethicon went to Sweden in 1995 and observed
 four of Ulmsten’s tension-free procedures and negotiated with Ulmsten to purchase the rights to
 the product he had developed. The TVT has been used extensively in Europe for the treatment
 of SUI and was introduced to the U.S. in 1998, becoming the gold standard for SUI surgery over
 the next several years.

        c.      The TVT and TVT-O Devices

         The TVT is a monofilament, knitted, macroporous, lightweight, synthetic mesh sling that
 is swedged onto trocars that are passed at the midurethra via a 1.5 cm vaginal incision under the
 pubic symphysis and emanating approximately 2 cm lateral from the midline of the abdomen,
 just above the pubic symphysis. The mesh is encased in a plastic sheath that is removed after
 deployment of the mesh. The sling is not anchored; it is placed without tension under the mid-
 urethra, and a cough test is then performed to assess the degree of continence provided by the
 sling. The ends of the sling are cut beneath the surface of the skin on the abdominal wall after
 tensioning, and the vaginal incision is closed with an absorbable suture. Cystoscopy is
 performed to insure the bladder is not perforated by the sling during its deployment. The device
 comes in a box with the above-mentioned components, along with instructions for use for the
 device. Internationally, the TVT is the most common midurethral synthetic sling that is utilized.
 The TVT has the longest studies available that have demonstrated both low complication rates
 and high efficacy, with studies carried out as long as seventeen years. (Nilsson CG, et al.,
 Seventeen years’ follow-up of the tension-free vaginal tape procedure for female stress urinary
 incontinence. Int Urogynecol J 2013 Aug;24(8):1265–1269. doi 10.1007/s00192-013-2090-2.)
 The TVT is more cost effective, uses less operative time, and has a higher objective cure rate (at
 less than two years) than the laparoscopic Burch colposuspension. Compared to open Burch
 procedure, the TVT has a similar cure rate for up to two years of treatment, but is less costly and
 involves less recovery time. (Siddighi S & Hardesty JS, Urogynecology & Female Pelvic
 Reconstructive Surgery. ISBN 0-07-144799-7.)

          The TVT-O, like the TVT, is a monofilament, knitted, macroporous, synthetic mesh sling
 that is swedged onto trocars that are passed at the midurethra via a 1.5 cm vaginal incision and
 through the obturator foramen and out the medial thigh. The same Prolene mesh is used in both
 the TVT and TVT-O slings. The mesh is a Type I mesh, per the biomaterial classification
 published by PK Amid in 1997, as it contains pores larger than 75 microns, “which is the
 required pore size for admission of macrophages, fibroblasts (fibroplasia), blood vessels

                                                 11
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-4 Filed    Filed 05/26/20 Page
                                                     Page 13 of     64 of 155
                                                                31 PageID  #: 33463



 (angiogenesis) and collagen fibers into the pores.” (Amid PK, Classification of biomaterials and
 their related complications in abdominal wall hernia surgery. Hernia 1997;1:15–21.) Like the
 TVT, the mesh of the TVT-O is encased in a plastic sheath that is removed after deployment of
 the mesh. The sling is not anchored; it is placed without tension, and a cough test is performed
 to assess the degree of continence provided by the sling. The ends of the sling are cut beneath
 the surface of the skin on the medial thigh after tensioning, and the vaginal incision is closed
 with an absorbable suture. It is recommended that cystoscopy be performed following the
 procedure, but I have found it to be optional due to the decreased likelihood of perforation of the
 bladder. The device comes in a box with the above-mentioned components along with
 instructions for use for the device. Hundreds of thousands of TVT-O procedures have been
 performed internationally since its introduction. It was first introduced in North America in
 2004, and I performed the first case in North America in January 2004. The advantage of the
 transobturator approach is less risk of bladder perforation, retropubic hematoma, and possible
 bowel injury by avoiding the space of Retzius. The TVT-O procedure has a short learning curve,
 low morbidity, and a short operating time, and is technically simple to perform, which makes the
 procedure available to more women. (Groutz A, et al., Long-Term Outcome of Transobturator
 Tension-Free Vaginal Tape: Efficacy and Risk Factors for Surgical Failure. J Women’s Health
 2010;20(10):1525–1528.) There are several long- or intermediate-term studies of the TVT-O
 supporting its safety and efficacy. (Groutz A, et al., Long-Term Outcome of Transobturator
 Tension-Free Vaginal Tape: Efficacy and Risk Factors for Surgical Failure. J of Women’s Health
 2011;20(10):1525–1528; Laurikainen E, et al., Five-year Results of a Randomized Trial
 Comparing Retropubic and Transobturator Midurethral Slings for Stress Incontinence. Eur Urol
 2014 Jun;65(6):1109–14; Athanasiou S, et al., Seven years of objective and subjective outcomes
 of transobturator (TVT-O) vaginal tape: Why do tapes fail? 2014;25:219–225; Serati M, et al.,
 TVT-O for the Treatment of Pure Urodynamic Stress Incontinence: Efficacy, Adverse Effects,
 and Prognostic Factors at 5-Year Follow-up. Eur Urol 2013;63:872–78; Liapis A, et al., Efficacy
 of inside-out transobturator vaginal tape (TVTO) at 4 years follow up. 2010;148:199–201;
 Angioli R, et al., Tension-Free Vaginal Tape Versus Transobturator Suburethral Tape: Five-Year
 Follow-up Results of a Prospective, Randomised Trial. Eur Urol 2010;58:671–677; Cheng D, et
 al., Tension-free vaginal tape-obturator in the treatment of stress urinary incontinence: a
 prospective study with five-year follow-up. Eur J Obstet Gynecol Reprod Biol 2012;161:228–
 231.)

         A recent high-quality Cochrane meta-analysis review of the literature concludes that
 TVT, TVT-O, and Burch procedures have similar efficacy, but the TVT and TVT-O procedures
 involve shorter recovery time. The review further concludes that midurethral synthetic sling
 operations are the most extensively researched surgical treatment for SUI in women and have a
 good safety profile. The TVT, in particular, is the most studied mesh device, with more than 100
 randomized controlled trials having been done with the device. The Cochrane review authors
 note that irrespective of the routes traversed, synthetic mesh midurethral slings are highly
 effective in the short and medium term, and evidence demonstrates their effectiveness in the
 long-term. The Cochrane Review illustrates positive impact on improving the quality of life of
 women with SUI. With the exception of groin pain, fewer adverse events occur with
 employment of a transobturator approach. (Ford AA, Rogerson L, Cody JD, Ogah J. Mid-
 urethral sling operations for stress urinary incontinence in women. Cochrane Database of
 Systematic Reviews 2015, Issue 7. Art. No.: CD006375. DOI:

                                                 12
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-4 Filed    Filed 05/26/20 Page
                                                     Page 14 of     65 of 155
                                                                31 PageID  #: 33464



 10.1002/14651858.CD006375.pub3.) The 2015 Cochrane systematic review demonstrates that
 both retropubic and transobturator approaches appear to be comparable in terms of efficacy and
 patient satisfaction. (ACOG / AUGS Practice Bulletin No. 155; Nov. 2015.) However, a 2015
 systematic review and meta-analysis observed similar rates of objective cure between
 transobturator and retropubic midurethral slings, and higher subjective cure rates in retropubic
 slings. (Tommaselli GA, et al., Medium-term and long-term outcomes following placement of
 midurethral slings for stress urinary incontinence: a systematic review and metaanalysis. Int
 Urogynecol J 2015.)

          In 2010, Novara added 14 new trials to their 2007 systematic review metaanalysis
 evaluating efficacy, complication rate, and reoperation rate of Burch colposuspension and
 synthetic midurethral slings. Midurethral slings were found to have higher objective cure rates
 than Burch colposuspension. Similar rates of postoperative complications, including pelvic
 hematoma, UTI, postoperative lower urinary tract symptoms, and reoperation were noted
 between the two groups. Midurethral slings resulted in a greater improvement in patient quality
 of life over the Burch procedure in two trials. Midurethral slings were also found to be more
 cost-effective than the Burch procedure. (Cox A, Herschorn S, Lee L, Surgical management of
 female SUI: is there a gold standard? Nature 2013;10:78-89.) Based on the literature, a new gold
 standard for first-line surgical treatment for women with SUI has emerged—the synthetic
 midurethral sling inserted via retropubic or transobturator approach. (Cox A, Herschorn S, Lee
 L, Surgical management of female SUI: is there a gold standard? Nature 2013;10:78-89.)
 Studies have shown that midurethral slings are superior to both the Burch procedure and
 pubovaginal slings in terms of cure rates. (Schimpf MO, et al., Sling surgery for stress urinary
 incontinence in women: a systematic review and metaanalysis. Am J Obstet Gynecol
 2014;210:1.e1-1.e27.) Objective cure rate at one year is greater than 90%, and 85% at seventeen
 years. (Nilsson CG, et al., Seventeen years’ follow-up of the tension-free vaginal tape procedure
 for female stress urinary incontinence. Int Urogynecol J 2013 Aug;24(8):1265–1269.)

         Due to the increased morbidity of the open Burch procedure, it is less frequently taught in
 residencies and fellowships. Almost all residents, however, are trained on midurethral slings as
 the primary treatment option for SUI management. The TVT retropubic and transobturator
 approaches are commonly taught and performed in training programs throughout the world.

         The TVT and TVT-O have proven long-term efficacy due to the permanence and stability
 of the mesh and are superior in efficacy to retropubic suspensions. (Aigmueller T, et al., Ten-
 year follow-up after the tension-free vaginal tape procedure. Am J Obstet Gynecol 2011
 Nov;205(5):496.e1–5.) Compared with open or laparoscopic colposuspension the success rates
 are more stable with a lesser decline of success over years. Reported long-term success rates
 after open or laparoscopic colposuspension vary between 36% and 69%. (Alcalay M, et al.,
 Burch colposuspension: a 10-20 year follow up. Br J Obstet Gynaecol 1995;102:740-745; Barr
 S. The long-term outcome of laparoscopic colposuspension: a 10-year cohort study. Int.
 Urogynecol J 2009:20:443-5.)

         I have personally performed over 1,000 TVT procedures, including the TVT, the TVT-O
 and the more recent TVT-Exact and TVT-Abbrevo, and have found the products to be safe and
 efficacious when following the appropriate patient selection and the technique described by Drs.

                                                 13
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-4 Filed    Filed 05/26/20 Page
                                                     Page 15 of     66 of 155
                                                                31 PageID  #: 33465



 Ulmsten and de Leval, which is covered in the product instructions for use. I have lectured and
 proctored physicians on the safe use of the TVT, TVT-O, and several other devices since 2000.
 The devices are high quality, straightforward, and the polypropylene mesh is stable over time, as
 I have patients implanted 15 years ago and see no long-term complication trends. Since the
 television advertisements claiming pelvic mesh is a dangerous product, I have received hundreds
 of phone calls from anxious patients with fears of product recalls and future complications. The
 overwhelming majority of those anxious patients have excellent outcomes and no adverse
 symptoms. The effect on current patients is to create fear that a synthetic sling will cause future
 problems and many choose not to proceed to treatment. There is a 30% reduction in the number
 of patients undergoing stress incontinence and pelvic reconstructive surgery. (Perkins CE,
 Warrior K, Eilber KS, et al. The Role of Mid-urethral Slings in 2014: Analysis of the Impact of
 Litigation on Practice. Curr Bladder Dysfunct Rep (2015) 10:39-45. DOI 10.1007/s11884-014-
 0278-z; Koo K, Gormley EA, Abstract MP81-05: Transvaginal Mesh in the Media Following the
 2011 FDA Update.)

          The efficacy and safety of the TVT and TVT-O are well-reported. The TVT is the most
 studied midurethral sling, with more than 100 RCTs. The TVT-O has also been extensively
 studied—with thousands of patients included in the collection of studies. Additionally, the
 following professional organization position statements and guidelines and FDA publications
 have addressed the safety, efficacy, and widespread acceptance of synthetic mesh midurethral
 slings like the TVT and TVT-O.

            •   ACOG / AUGS Practice Bulletin No. 155; Nov. 2015.
                   o “Synthetic midurethral mesh slings are the most common primary surgical
                      treatment for stress urinary incontinence in women. Synthetic midurethral
                      slings demonstrate efficacy that is similar to traditional suburethral fascial
                      slings, open colposuspension, and laparoscopic colposuspension.
                      Compared with suburethral fascial slings, fewer adverse events have been
                      reported with synthetic midurethral slings. Voiding dysfunction is more
                      common with open colposuspension than with synthetic midurethral
                      slings. For these reasons, midurethral synthetic mesh slings have become
                      the primary surgical treatment for stress urinary incontinence in women.”
                   o “Although controversy exists about the role of synthetic mesh used in the
                      vaginal repair of pelvic organ prolapse, there are substantial safety and
                      efficacy data that support the role of synthetic mesh midurethral slings as a
                      primary surgical treatment option for stress urinary incontinence in
                      women. For this reason, and to clarify uncertainty for patients and
                      practitioners, the American Urogynecologic Society and the Society of
                      Urodynamics, Female Pelvic Medicine & Urogenital Reconstruction
                      published a position statement recognizing polypropylene mesh
                      midurethral slings as the ‘standard of care’ in the surgical treatment of
                      stress urinary incontinence.”
            •   AUGS-SUFU, Position Statement on Mesh Midurethral Slings for Stress
                Urinary Incontinence (Jan. 3, 2014)
                   o “The polypropylene mesh midurethral sling is the recognized worldwide
                      standard of care for the surgical treatment of stress urinary incontinence.

                                                 14
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-4 Filed    Filed 05/26/20 Page
                                                     Page 16 of     67 of 155
                                                                31 PageID  #: 33466



                    The procedure is safe, effective, and has improved the quality of life for
                    millions of women.”
                o   “Polypropylene material is safe and effective as a surgical implant.
                    Polypropylene has been used in most surgical specialties (including
                    general surgery, cardiovascular surgery, transplant surgery,
                    ophthalmology, otolaryngology, gynecology, and urology) for over five
                    decades.”
                o   “As a knitted implant for the surgical treatment of SUI, macroporous,
                    monofilament, light weight polypropylene has demonstrated long term
                    durability, safety, and efficacy up to 17 years.”
                o   “The monofilament polypropylene mesh MUS is the most extensively
                    studied anti-incontinence procedure in history. A broad evidence base
                    including high quality scientific papers in medical journals in the US and
                    the world supports the use of the MUS as a treatment for SUI. There are
                    greater than 2000 publications in the scientific literature describing the
                    MUS in the treatment of SUI. These studies include the highest level of
                    scientific evidence in the peer reviewed scientific literature. . . . No other
                    surgical treatment for SUI before or since has been subject to such
                    extensive investigation.”
                o   “Polypropylene mesh midurethral slings are the standard of care for the
                    surgical treatment of SUI and represent a great advance in the treatment of
                    this condition for our patients. Since the publication of numerous level
                    one randomized comparative trials, the MUS has become the most
                    common surgical procedure for the treatment of SUI in the US and the
                    developed world. This procedure has essentially replaced open and
                    transvaginal suspension surgeries for uncomplicated SUI. . . . Full-length
                    midurethral slings, both retropubic and transobturator, have been
                    extensively studied, are safe and effective relative to other treatment
                    options and remain the leading treatment option and current gold standard
                    for stress incontinence surgery. Over 3 million MUS have been placed
                    worldwide and a recent survey indicates that these procedures are used by
                    >99% of AUGS members.”
                o   “The polypropylene midurethral sling has helped millions of women with
                    SUI regain control of their lives by undergoing a simple outpatient
                    procedure that allows them to return to daily life very quickly. With its
                    acknowledged safety and efficacy it has created an environment for a
                    much larger number of women to have access to treatment. In the past,
                    concerns over failure and invasiveness of surgery caused a substantial
                    percent of incontinent women to live without treatment. One of the
                    unintended consequences of this polypropylene mesh controversy has
                    been to keep women from receiving any treatment for SUI. This
                    procedure is probably the most important advancement in the treatment of
                    stress urinary incontinence in the last 50 years and has the full support of
                    our organizations which are dedicated to improving the lives of women
                    with urinary incontinence.”



                                              15
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-4 Filed    Filed 05/26/20 Page
                                                     Page 17 of     68 of 155
                                                                31 PageID  #: 33467



          •   AUGS Position Statement on Restriction of Surgical Options for Pelvic Floor
              Disorders (2013)
                 o “The American Urogynecologic Society strongly opposes any restrictions
                    by state or local medical organizations, healthcare systems, or insurance
                    companies which ban currently available surgical options performed by
                    qualified and credentialed surgeons on appropriately informed patients
                    with pelvic floor disorders.”
                 o “In a recent study involving 53 expert urologists and urogynecologists (of
                    whom >90% were fellowship trained) and who could select among many
                    surgical options, the full-length synthetic midurethral sling was the
                    preferred option in 93% for the surgical treatment of primary stress
                    incontinence. Full-length midurethral slings, both retropubic and
                    transobturator, have been extensively studied, are safe and effective
                    relative to other treatment options and remain the leading treatment option
                    and current gold standard of care for stress incontinence surgery.”
          •   AUA Position Statement on the Use of Vaginal Mesh for the Surgical
              Treatment of Stress Urinary Incontinence (Nov. 2011).
                 o “Suburethral synthetic polypropylene mesh sling placement is the most
                    common surgery currently performed for SUI. Extensive data exist to
                    support the use of synthetic polypropylene mesh suburethral slings for the
                    treatment of female SUI, with minimal morbidity compared with
                    alternative surgeries. Advantages include shorter operative
                    time/anesthetic need, reduced surgical pain, reduced hospitalization, and
                    reduced voiding dysfunction. Mesh-related complications can occur
                    following polypropylene sling placement, but the rate of these
                    complications is acceptably low.”
                 o “Multiple case series and randomized controlled trials attest to the efficacy
                    of synthetic polypropylene mesh slings at 5-10 years. This efficacy is
                    equivalent or superior to other surgical techniques. There is no significant
                    increase in adverse events observed over this period of follow-up. Based
                    on these data, the AUA Guideline for the Surgical Management of Stress
                    Urinary Incontinence (2009) concluded that synthetic slings are an
                    appropriate treatment choice for women with stress incontinence, with
                    similar efficacy but less morbidity than conventional non-mesh sling
                    techniques.”
          •   IUGA – Stress Urinary Incontinence – A Guide for Women (2011)
                 o “Before 1993, the treatment of stress incontinence often involved major
                    surgery with an abdominal incision. The most common treatment now
                    involves the use of a permanent sling that lies under the middle section of
                    the urethra.”
          •   ICS Fact Sheets: A Background to Urinary and Faecal Incontinence (July
              2013)
                 o “Worldwide, midurethral slings comprised of synthetic mesh have become
                    the treatment of choice for SUI. Long-term data are robust and
                    demonstrate durable efficacy with a very low complication rate,
                    particularly in experienced hands. Various techniques for sling placement

                                              16
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-4 Filed    Filed 05/26/20 Page
                                                     Page 18 of     69 of 155
                                                                31 PageID  #: 33468



                     and different meshes are employed according to physician preference, but
                     all appear to be equally effective.
          •   Lucas MG, Ruud JLB, Burkhard FC, et al., EAU Guidelines on Surgical
              Treatment of Urinary Incontinence. European Urol 62 (2012) 1118-1129.
                 o “There has been a rapid adoption of midurethral synthetic sling insertion
                     as the first-line surgical option for SUI because it is effective, it is less
                     invasive, and patients recover more quickly. “
                 o Notes that a systematic review of midurethral slings with both open
                     colposuspension and laparoscopic colposuspension showed that retropubic
                     insertion of a synthetic midurethral sling gave equivalent patient-reported
                     and superior clinician-reported cure of SUI compared with
                     colposuspension at 12 months; transobturator insertion gave equivalent
                     patient-reported and clinician-reported cure of SUI at 12 months. Also
                     notes that midurethral sling insertion was associated with a lower rate of
                     new symptoms of urgency and voiding dysfunction compared with
                     colposuspension.
          •   NICE clinical guideline 171. Urinary incontinence: The management of
              urinary incontinence in women. (Sept. 2013).
                 o Notes that if conservative management for SUI has failed, the surgeon
                     should offer, among other options, a synthetic mid-urethral tape.
                 o Notes that, when offering a synthetic mid-urethral tape procedure,
                     surgeons should use procedures and devices for which there is current
                     high quality evidence of efficacy and safety. Footnote 11 then notes that
                     at the time of publication, TVT and TVT-O (among others) met this
                     guideline.
          •   FDA, Considerations about Surgical Mesh for SUI (2013)
                 o “Mesh sling procedures are currently the most common type of surgery
                     performed to correct SUI. Based on industry estimates, there were
                     approximately 250,000 of these procedures performed in 2010.”
                 o “The safety and effectiveness of multi-incision slings is well-established
                     in clinical trials that followed patients for up to one-year. Longer follow-
                     up data is available in the literature, but there are fewer of these long-term
                     studies compared to studies with one-year follow-up.”
          •   FDA Executive Summary, Surgical Mesh for Treatment of Women with
              Pelvic Organ Prolapse and Stress Urinary Incontinence (Sept. 8-9, 2011)
                 o Notes that the Burch has a long history, but its popularity has declined
                     over the past two decades with the introduction of less invasive
                     procedures. Notes that pubovaginal sling procedures using biologic graft
                     material (often autologous fascia) similarly have declined in popularity.
                 o Notes that anterior repair with Kelly plication to correct SUI in the
                     presence of a cystocele and bladder neck needle suspension is rarely
                     performed currently due to poor long-term outcomes.
                 o “A substantial number of quality clinical trials, as well as systematic
                     reviews, have been published for the first generation minimally invasive
                     slings that provide evidence of safety and effectiveness of these devices.”
                     (p. 28)

                                               17
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-4 Filed    Filed 05/26/20 Page
                                                     Page 19 of     70 of 155
                                                                31 PageID  #: 33469



                    o “After considering all available data on both safety and effectiveness, and
                       considering the risk/benefit profile, it appears that new premarket clinical
                       trials are not warranted for minimally invasive slings for SUI unless the
                       device has new features (e.g. new polymer or coating) that could affect
                       device performance.”
            •   FDA 24-hr Summary – Ob/Gyn Devices Panel (Sept. 8-9, 2011)
                    o Notes that the panel consensus on retropubic and transobturator
                       suburethral slings was that the safety and effectiveness of these devices is
                       well-established.”
            •   Dmochowski RR, Blaivas JM, Gormley EA, et al., Update of AUA Guideline
                on the Surgical Management of Female Stress Urinary Incontinence. J. Urol.
                183: 1906-1914 (May 2010).
                    o Noting the importance of the transobturator technique in the treatment of
                       SUI and that midurethral slings are one treatment modality that may be
                       considered for the index patient.
            •   AUA Position Statement on the Use of Vaginal Mesh for the Surgical
                Treatment of Stress Urinary Incontinence (2012)
                    o “Suburethral synthetic polypropylene mesh sling placement is the most
                       common surgery currently performed for SUI. Extensive data exist to
                       support the use of synthetic polypropylene mesh suburethral slings for the
                       treatment of female SUI, with minimal morbidity compared with
                       alternative surgeries. Advantages include shorter operative
                       time/anesthetic need, reduced surgical pain, reduced hospitalization, and
                       reduced voiding dysfunction. Mesh-related complications can occur
                       following polypropylene sling placement, but the rate of these
                       complications is acceptably low. Furthermore, it is important to recognize
                       that many sling-related complications are not unique to mesh surgeries and
                       are known to occur with non-mesh sling procedures as well. It is the
                       AUA’s opinion that any restriction of the use of synthetic polypropylene
                       mesh suburethral slings would be a disservice to women who choose
                       surgical correction of SUI.”
                    o “Multiple case series and randomized controlled trials attest to the efficacy
                       of synthetic polypropylene mesh slings at 5–10 years. This efficacy is
                       equivalent or superior to other surgical techniques. There is no significant
                       increase in adverse events observed over this period of follow-up. Based
                       on these data, the AUA Guideline for the Surgical Management of Stress
                       Urinary Incontinence (2009) concluded that synthetic slings are an
                       appropriate treatment choice for women with stress incontinence, with
                       similar efficacy but less morbidity than conventional non-mesh sling
                       techniques.”

         Plaintiffs’ experts’ theory of mesh degradation is not substantiated in the literature or in
 my personal experience using polypropylene slings and mesh for incontinence treatment and
 pelvic reconstruction. Studies of explanted mesh are difficult to interpret, as there is damage to
 the material during explantation, treatment with chemicals to remove the collagen and biologic
 matrix that has incorporated into the mesh, and preparation onto slides for microscopic

                                                  18
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-4 Filed    Filed 05/26/20 Page
                                                     Page 20 of     71 of 155
                                                                31 PageID  #: 33470



 examination. There is no literature to support clinically significant mesh degradation in humans.
 Polypropylene suture is used by vascular surgeons on major blood vessels and in my practice
 when tying off renal arteries and repairing the largest vein in the body; the vena cava. If there
 was a question of degradation or loss of strength over time, Prolene suture would not be the
 suture of choice for the highest-risk surgery. The studies often relied on by plaintiffs’ experts
 offering the opinion that the Prolene mesh degrades are unreliable and do not support that theory.
 For instance, the Clavé study from 2010 is unreliable and does not show degradation. The
 chemical analyses performed on a limited subset of the specimens does not show degradation,
 and the scanning electron microscope photos in the study show surface cracking that could be
 from biologic material and handling or preservation rather than the cracking of the
 polypropylene itself. Also, the sample analyzed in the study was only 32 out of the 100
 specimens, and the authors fail to discuss how those 32 specimens were selected. They also fail
 to discuss whether the mesh was damaged during surgical explantation.

         Nor have I seen a problem with Prolene mesh roping or curling, unless it is placed
 improperly by over-tensioning. Nor have I observed particle loss from mechanically cut mesh in
 my practice. Even if there was particle loss from the mechanically cut Prolene mesh, the
 particles lost would be the same Prolene as the suture material that is FDA approved as safe and
 effective for use in the human body. Furthermore, the mesh does not contract or experience pore
 collapse when placed according to the IFU. The sheath that covers the mesh on the TVT and
 TVT-O devices protects the tissue against trauma, helps the mesh pass through the tissue
 smoothly, and carries the forces of implantation so that the mesh retains its shape. Scar tissue
 that forms after any pelvic surgery contracts, and tissue incorporating into implanted mesh is no
 exception, but the mesh itself does not contract. (Nilsson, CG, Seventeen years’ follow-up of the
 tension-free vaginal tape procedure for female stress urinary incontinence. Int Urogynecol J 2013
 Aug;24(8):1265–1269; Lukacz ES, et al., The effects of the tension-free vaginal tape on
 proximal urethral position: a prospective, longitudinal evaluation. Int Urogynecol J 2004 Jan-
 Feb;15(1):32-38.)

         There is no practical or clinical difference between mechanically cut or laser-cut mesh in
 terms of how it is deployed or incorporated in the tissues. (ETH.MESH.01784823-28 (CER
 Laser Cut Mesh); ETH.MESH.01222075-79 (Elongation Characteristics of Laser Cut Prolene
 Mesh for TVT); ETH.MESH.06696367-79 (Performance Evaluation of TVT U Prolene Mesh);
 Lin AT, et al., In Vivo tension Sustained by Fascial Sling in Pubovaginal Sling Surgery for
 Female Stress Urinary Incontinence, J Urol , 2005 Mar;173(3):894–897.) Mesh is not pre-
 stretched to 50% elongation before it is used, and it is implanted with trocars and with a
 protective sheath over the mesh. The mesh sling must be stiff enough to lie flat against the
 posterior urethra with porosity large enough to encourage fibroblast and collagen deposition for
 incorporation, and it must have enough elasticity to allow give during dynamic stressing that
 occurs with activity. Mesh requires an optimal level of stiffness to properly do its job supporting
 the urethra. Based on my experience and my assessment of the available literature, I do not
 believe that any particle loss from mechanically cut Prolene polypropylene mesh has a clinical
 effect in patients. Both laser-cut and mechanically cut Prolene mesh is safe and efficacious as
 demonstrated by the medical literature and in my experience.




                                                 19
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-4 Filed    Filed 05/26/20 Page
                                                     Page 21 of     72 of 155
                                                                31 PageID  #: 33471



          Plaintiffs’ experts assert that the Prolene mesh used in the TVT and TVT-O is small-pore
 mesh. That is not true. The Ethicon TVT mesh has the largest porosity, and greatest elasticity of
 all the SUI meshes available. It is also monofilament and knitted to provide the optimal
 combination of biocompatibility and minimal inflammatory response. The mesh—which has a
 pore size of approximately 1,379 microns—allows adequate tissue incorporation/ingrowth.
 (Amid PK, Classification of biomaterials and their related complications in abdominal wall
 hernia surgery. Hernia 1997;1:15–21.) The Ethicon mesh is not associated with an increased risk
 of infection compared to other SUI vaginal surgeries. Verified infection after TVT or TVT-O is
 a very rare occurrence, and has not occurred in my practice in over 1,000 cases and 15 years.

         Nor is the TVT or TVT-O mesh “heavyweight” mesh. Synthetic slings require an
 optimal amount of weight/density to properly do their job supporting the urethra without
 adversely affecting its function. Indeed, seventeen-year follow-up substantiates the
 biocompatibility of the weight/stiffness/elasticity and porosity of the TVT mesh. At seventeen
 years of follow-up, 91.3% of patients’ SUI was objectively cured, and there was no tape
 rejection, no clinically significant contracture, and only one mesh exposure, which was not
 symptomatic and was due to vaginal atrophy in an elderly patient. (Nilsson, CG, Seventeen
 years’ follow-up of the tension-free vaginal tape procedure for female stress urinary
 incontinence. Int Urogynecol J 2013 Aug;24(8):1265–1269.)

          Plaintiffs’ experts have also claimed that the mesh used in the TVT and TVT-O devices
 is cytotoxic and causes an excessive inflammatory response. This is not supported in the
 literature, and I have not seen it in my practice. The long-term studies on the TVT and TVT-O
 mesh belie this claim. Studies show minimal inflammation associated with the Prolene mesh
 used in TVT and TVT-O, and practically no tissue reaction out to two years. (Falconer C, et al.
 Influence of different sling materials on connective tissue metabolism in stress urinary
 incontinent women. Int Urogynecol J Pelvic Floor Dysfunct. 2001;12 Suppl 2:S19-23.) The
 mere presence of chronic inflammatory cells in a tissue specimen does not prove that there is a
 chronic inflammatory process that is active. Such cells can be present but quiescent, and can be
 seen in vaginal tissue even when no mesh or other foreign body has been implanted. If it were
 the case that the mesh in the TVT and TVT-O devices was cytotoxic, the many intermediate- and
 long-term studies on the products would not demonstrate the high efficacy and low complication
 rates that they do.

          Any suggestion by plaintiffs’ experts that PVDF is a safer alternative to the Prolene mesh
 used in the TVT and TVT-O devices is untenable. There is no mid- or long-term data supporting
 the use of PVDF in SUI treatment. To my knowledge, PFDF has not been studied to treat SUI in
 women. Plaintiffs’ experts may also claim that Ultrapro or Vypro mesh would have been a safer
 alternative to the Prolene mesh used in the TVT and TVT-O slings. However, with respect to
 Vypro, a study of the use of that mesh in pelvic floor surgery showed that tolerance of the Vypro
 mesh was “very poor” and associated with high rates of erosion and cicatrisation. (Denis S, et
 al., Pelvic Organ Prolapse Treatment by the Vaginal Route Using a Vypro Composite Mesh:
 Preliminary Results About 106 Cases. ICS IUGA 2004; Abstract 620.) With respect to Ultrapro,
 the study often cited by plaintiffs’ experts in support of that material as a safer alternative to the
 Prolene TVT mesh is the Okulu study, but that study does not compare TVT mesh to Ultrapro
 mesh, and involves a technique completely different than the one used to implant the TVT or

                                                  20
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-4 Filed    Filed 05/26/20 Page
                                                     Page 22 of     73 of 155
                                                                31 PageID  #: 33472



 TVT-O slings. (Okulu E, et al., Use of three types of synthetic mesh material in sling surgery: A
 prospective randomized clinical trial evaluating effectiveness and complications. Sand J Urol
 2013;47:217–224.) Ethicon studied the use of Ultrapro mesh with a sheath and found that the
 force required to remove the sheath was excessive, which it believed to be due to the fact that the
 mesh stuck to the sheath after sterilization. (R&D Memorandum on PA Mesh Assessments for
 TVTO-PA, ETH.MESH.09922570.)

          Plaintiffs’ experts sometimes suggest or claim that the Prolene mesh is carcinogenic, but
 there is no reliable scientific evidence to support the theory or claim that polypropylene can
 cause cancer or sarcoma. In the more than 1,000 cases in which I have implanted one of the
 TVT family of products, I have not seen a single case of cancer attributable to the mesh. The
 literature also refutes plaintiffs’ experts’ suggestion or claim. (King AB, et al. Is there an
 association between polypropylene midurethral slings and malignancy? Urology. 2014
 Oct;84(4):789-92; King AB, Goldman HB. Current controversies regarding oncologic risk
 associated with polypropylene midurethral slings. Curr Urol Rep. 2014 Nov;15(11):453; Linder
 BJ, et al., Evaluation of the local carcinogenic potential of mesh used in the treatment of female
 stress urinary incontinence. Int Urogynecol J 2016. DOI 10.1007/s00192-016-2961-4.) The
 medical literature contains no case reports of tumors caused by or associated with polypropylene
 implantation despite the fact that polypropylene has been implanted in millions of people.
 (AUGS & SUFU, Frequently Asked Questions by Providers—Mid-urethral Slings for Stress
 Urinary Incontinence (available at http://www.augs.org/p/bl/et/blogaid=194).)

         The mesh used in the TVT and TVT-O slings is the most commonly used mesh for
 treatment of stress urinary incontinence and is state of the art. Many long- and intermediate-term
 studies consistently show that the TVT and TVT-O are safe and effective and the standard of
 care for surgical treatment of SUI. (Serati M, et al., TVT for the Treatment of Urodynamic
 Stress Incontinence: Efficacy and Adverse Effects at 13-Year Follow-Up. Neurourol and
 Urodynamics DOI 10.1002/nau; Groutz A, et al., Long-Term Outcome of Transobturator
 Tension-Free Vaginal Tape: Efficacy and Risk Factors for Surgical Failure. J of Women’s Health
 2011;20(10):1525–1528; Laurikainen E, et al., Five-year Results of a Randomized Trial
 Comparing Retropubic and Transobturator Midurethral Slings for Stress Incontinence. Eur Urol
 2014 Jun;65(6):1109–14; Athanasiou S, et al., Seven years of objective and subjective outcomes
 of transobturator (TVT-O) vaginal tape: Why do tapes fail? 2014;25:219–225; Serati M, et al.,
 TVT-O for the Treatment of Pure Urodynamic Stress Incontinence: Efficacy, Adverse Effects,
 and Prognostic Factors at 5-Year Follow-up. Eur Urol 2013;63:872–78; Liapis A, et al., Efficacy
 of inside-out transobturator vaginal tape (TVTO) at 4 years follow up. 2010;148:199–201;
 Angioli R, et al., Tension-Free Vaginal Tape Versus Transobturator Suburethral Tape: Five-Year
 Follow-up Results of a Prospective, Randomised Trial. Eur Urol 2010;58:671–677; Cheng D, et
 al., Tension-free vaginal tape-obturator in the treatment of stress urinary incontinence: a
 prospective study with five-year follow-up. Eur J Obstet Gynecol Reprod Biol 2012;161:228–
 231; Heinonen P, et al., Tension-free vaginal tape procedure without preoperative urodynamic
 examination: long-term outcome. Int J Urol. 2012 Nov;19(11):1003-9; Aigmueller T, et al., Ten-
 year follow-up after the tension-free vaginal tape procedure. Am J Obstet Gynecol 2011
 Nov;205(5):496.e1-5; Olsson I, et al., Long-term efficacy of the tension-free vaginal tape
 procedure for the treatment of urinary incontinence: a retrospective follow-up 11.5 years post-
 operatively. Int Urogynecol J 2010 Jun;21(6):679–683; Liapis A, et al., Long-term efficacy of

                                                 21
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-4 Filed    Filed 05/26/20 Page
                                                     Page 23 of     74 of 155
                                                                31 PageID  #: 33473



 tension-free vaginal tape in the management of stress urinary incontinence in women: efficacy at
 5- and 7-year follow-up. Int Urogynecol J 2008 Nov;19(11):1509-1512; Svenningsen R, et al.,
 Long-term follow-up of the retropubic tension-free vaginal tape procedure. Int Urogynecol J.
 2013 Aug;24(8):1271-8; Chêne G, et al., Long-term results of tension-free vaginal tape (TVT)
 for the treatment of female urinary stress incontinence. Eur J Obstet Gynecol Reprod Biol 2007
 Sep;134(1):87-94; Vesna Bjelic-Radisic V, Patient-related Outcomes and Urinary Continence
 Five Years After the Tension-Free Vaginal Tape Operation, Neurourology and Urodynamics
 2011;30(8):1512-1517 (2011); Jin-Yan Wu JY, et al., Surgical therapies of female stress urinary
 incontinence: experience in 228 cases, Int Urogynecol J 2010 Jun;21(6):645-649; Song PH, et
 al., The 7-year outcome of the tension-free vaginal tape procedure for treating female stress
 urinary incontinence. BJU Int 2009 Oct;104(8):1113-1117; Kuuva N, et al., Long-term results of
 the tension-free vaginal tape operation in an unselected group of 129 stress incontinent women.
 Acta Obstet Gynecol 2006;85(4):482-487; Celebi I, et al., Results of the tension-free vaginal tape
 procedure for treatment of female stress urinary incontinence: a 5 year follow-up. Arch Gynecol
 Obstet 2009 Apr;279(4):463-467; Prien-Larsen JC, et al., Long-term outcomes of TVT and IVS
 operations for treatment of female stress urinary incontinence: monofilament vs. multifilament
 polypropylene tape. Int Urogynecol J 2009 Jun;20(6):703-709; Jelovsek JE, et al, Randomized
 trial of laparoscopic Burch colposuspension versus tension-free vaginal tape: long-term follow
 up. BJOG 2008 Jan;115(2):219-225; McCracken GR, et al., Five Year Follow-up Comparing
 Tension-Free Vaginal Tape and Colposuspension, Ulster Med J 2007 Sep;76(3):146-149.)

         The incidence of mesh exposure is low, but varies in studies between 1 and 5%. A short
 version Cochrane Review in 2011 observed that the monofilament synthetic mid-urethral
 slings—such as the TVT and TVT-O—were more efficacious and were associated with a lower
 rate of erosion than multifilament non-type-1 meshes. (Ogah J, Cody DJ, Rogerson L.
 Minimally invasive synthetic suburethral sling operations for stress urinary incontinence in
 women: a short version Cochrane review. Neurourol Urodyn. 2011 Mar;30(3):284-91.) Mesh
 exposure is usually asymptomatic, can cause a vaginal discharge and possibly cause coital
 discomfort in the male partner. Management can be topical application of vaginal estrogen or
 excision under local anesthetic in the office. Removal of the exposed mesh can still provide
 continence 80-90% of the time. (Klutke C, et al., Urinary retention after tension-free vaginal
 tape procedure: incidence and treatment. Urology 2001 Nov;58(5):697-701.) While mesh-
 related complications can occur after placement of a polypropylene sling, the rate of such
 complications is acceptably low. The rate of reoperation has consistently reported to be
 approximately 2–5% for voiding dysfunction and exposure after a decade or more of follow-up
 in various studies, meta-analyses, and database reviews. (Welk B, et al., Removal or Revision of
 Vaginal Mesh Used for the Treatment of Stress Urinary Incontinence. JAMA Surg 2015
 Sep;9:1–9; Unger CA, et al., Indications and risk factors for midurethral sling revision. Int
 Urogynecol J 2015 Jul 2; Schimpf MO, et al., Sling surgery for stress urinary incontinence in
 women: a systematic review and metaanalysis. Am J Obstet Gynecol 2014;210:1.e1-1.e27;
 Laurikainen E, et al., Five-year Results of a Randomized Trial Comparing Retropubic and
 Transobturator Midurethral Slings for Stress Incontinence. Eur Urol 2014 Jun;65(6):1109–14;
 Jonsson Funk M, et al., Sling revision/removal for mesh erosion and urinary retention: long-term
 risk and predictors. Am J Obstet Gynecol 2013 Jan;208(1):73.e1–7; Svenningsen R, et al., Long-
 term follow-up of the retropubic tension-free vaginal tape procedure. Int Urogynecol J. 2013
 Aug;24(8):1271-8; Nguyen JN, et al., Perioperative complications and reoperations after

                                                22
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-4 Filed    Filed 05/26/20 Page
                                                     Page 24 of     75 of 155
                                                                31 PageID  #: 33474



 incontinence and prolapse surgeries using prosthetic implants. Obstet Gynecol 2012 Mar;
 119(3):539–546; Ogah, J., Cody, JD, Rogerson, L., Minimally invasive synthetic suburethral
 sling operations for stress urinary incontinence in women. Cochrane Database of Systematic
 Reviews 2009, Issue 4. Art. No.: CD006375. DOI:10.1002/14651858.CD006375.pub2; Novara
 G, et al., Complication Rates of Tension-Free Midurethral Slings in the Treatment of Female
 Stress Urinary Incontinence: A Systematic Review and Meta-Analysis of Randomized
 Controlled Trials Comparing Tension-Free Midurethral Tapes to Other Surgical Procedures and
 Different Devices. Eur Urol 2008 Feb;53(2):288–309.)

 V. The TVT and TVT-O’s Instructions for Use and Other Educational Materials

        a.      Ethicon’s Instructions for Use

          The instructions for use (IFU) included with the devices are specific in detail to allow the
 safe deployment of the devices. The procedures are adequately described such that a trained and
 experienced physician could implant the devices safely and effectively. The indications are
 adequately described in terms of patient selection and contraindications for surgery. The
 contraindications and warnings are adequately described based on my experience and review of
 the literature. The IFU is not intended to teach surgical technique, which is assumed to have
 been in the skill set of the surgeon. Every pelvic surgeon should be aware of the intraoperative
 and post-operative risks inherent. A surgeon need not be taught the entire practice of medicine
 in an IFU. The totality of surgical risks of pelvic floor surgeries is not included in the IFU for
 gynecologists or urologists. Surgeons have training from numerous sources—medical school,
 residency, maybe fellowships, colleagues’ experiences, their own experience, literature, etc. The
 IFU is used by the surgeon to become familiar with the specific device, the handling, placement
 and deployment in the manner that maximizes safety and efficacy. The IFU is never assumed to
 be a completely comprehensive list of all the possible adverse complications that are low
 prevalence. The IFU is intended to guide the surgeon to perform the procedure as the device was
 designed.

         Mesh exposure and erosion are the only unique risks to mesh surgeries, and are
 essentially wound complications. Wound complications can also occur with other surgeries.
 Mesh exposure can be caused by poor quality tissue due to atrophic vaginitis, history of pelvic
 radiation therapy, too superficial dissection prior to sling placement, hematoma, and early sexual
 activity. The IFU advises surgeons that:

    •   Failure to follow instructions may result in improper functioning of the device and lead to
        injury.
    •   It’s not a comprehensive reference to surgical technique for treating SUI.
    •   The device should only be used by physicians trained in the surgical treatment of SUI and
        specifically in implanting the TVT device.
    •   All information should be reviewed prior to performing this procedure.

        The IFU package insert is included with each device and is used as a guide for the
 surgeon to use the device in the manner it is intended. The IFU lists indications for use,
 contraindications, most prevalent risks, and the detailed description of how to deploy the device

                                                  23
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-4 Filed    Filed 05/26/20 Page
                                                     Page 25 of     76 of 155
                                                                31 PageID  #: 33475



 safely. IFUs in general are not intended to list every possible adverse event or post-operative
 complication. The IFU is generally understood to be a guide in the proper deployment of the
 device. Surgeons are trained in residency how to manage vaginal surgery with anatomy,
 handling of tissues, defining surgical planes, and perioperative care. The IFU functions to
 describe how this particular device is best deployed but the patient selection, preoperative
 informed consent, perioperative management, and post-operative care of the patient is the
 surgeon’s responsibility. The patient’s degree of severity of vaginal prolapse and stress
 incontinence, with consideration of patient age, tissue integrity, previous pelvic surgery, health
 status, tobacco usage, and steroid or opioid dependency leads the surgeon to make a complex
 decision about surgical approach and the likelihood of success.

        b.      Ethicon’s Training Programs

         Ethicon began offering didactic training programs for the TVT in 1999 and later for
 pelvic prolapse repair when both Gynemesh and Prolift became available. The programs include
 didactic lectures followed by hands-on cadaver labs with experienced pelvic surgeons at each
 cadaver station guiding the use of the devices with step-by-step instructions about the use of the
 products. The didactic lectures are provided by faculty members invited from academia and
 private practice with extensive backgrounds in pelvic surgery and the use of Ethicon products.
 The programs include discussions about disease state, indications for surgery, contraindications,
 avoidance of complications, and the safe use of the products. Every course included a discussion
 of management of complications and questions from the audience. Webinars, and telesurgery
 programs were also offered for surgeons that previously attended cadaver labs, or were for
 advanced users to become familiar with the newer devices, and for dissemination of information
 on longer-term results when new papers were published. The preceptors are independent of
 Ethicon, are required to teach the courses in compliance with the slide set provided so as not to
 advocate or discuss any off-label uses of the products. I began as a preceptor in 2000 with the
 TVT and later TVT-O, TVT-Abbrevo, TVT-Secur, Prolift, and Prosima devices. I was
 thoroughly familiar with the products having performed the surgeries in my own practice.
 Contributing as a preceptor is professionally fulfilling, as it requires that I remain current in the
 field, and have the opportunity to collaborate with experts both nationally and internationally.
 There is a lack of opportunity for surgeons to learn and train on new technologies outside of
 residency, and Ethicon provided resources that are much appreciated by those pelvic surgeons
 who would like to stay current and improve their patient outcomes. Each course collected
 anonymous questionnaires and feedback from the attendees rating the quality of the course and
 proctors, including whether they felt there was commercial bias. Overwhelmingly, the response
 was positive, and those proctors that were not received well were disinvited to teach future
 courses. The faculty has the opportunity to discuss surgical techniques and management of
 possible complications prior to each course.

         Even after a surgeon attends a course, no certification can be provided that will ensure
 credentialing at their respective hospitals. Each hospital has a surgery committee that reports to
 the credentials committee that grants privileges for specific procedures. Surgeons must
 demonstrate previous training through residency, and the quality assurance department will track
 patient outcomes and complications. Hospitals vary in their requirements for credentialing,
 which includes proctoring and/or close surveillance of outcomes for new technologies or

                                                  24
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-4 Filed    Filed 05/26/20 Page
                                                     Page 26 of     77 of 155
                                                                31 PageID  #: 33476



 procedures. The medical device industry can provide education and training, but does not grant
 privileges for the use of their products. Surgeons are granted privileges based on the background
 training, residency director recommendations, and review of malpractice history and National
 Data Bank files. When credentials committees grant privileges for a specific area, they will not
 state specific proprietary procedures, but rather generalized areas such as cystourethropexies
 rather than MMK procedures or the Burch procedure.

        c.      Ethicon’s Patient Brochures

         Ethicon’s Patient brochures provide information about the medical condition of
 incontinence, the different types, and treatment options ranging from behavior modification with
 pelvic exercises, electrical stimulation, medications, and bulking agents, to surgery. The
 information provided gives general terminology of the disease state, possible causes, and
 symptoms, as well as diagnosis and treatment options. The brochures are not intended to be in-
 depth and comprehensive, but rather to serve as a reference along with the website to pursue
 further information if desired. A list of contraindications for surgery is also included. The
 description of the procedure includes the most frequently encountered possible adverse events
 and repair options. The brochures are not intended and have never been used in my practice to
 serve as the only source of preoperative informed consent. Patients are separately informed
 about the indications, alternative treatments, and description of how the mesh sling will be
 implanted. Risks of bleeding, infection, bowel or bladder injury, persistent incontinence,
 retention, and pain are discussed. The possibility of mesh exposure or erosion is also discussed
 with re-operative repair techniques or application of vaginal cream. The information clearly
 states to discuss any questions with the surgeon and also provides a toll-free number to call to
 discuss questions with an on-call nurse.

 VI. The Design of the TVT and TVT-O Devices

        a.      The Usefulness, Desirability, and Safety of the Devices

         Prior to the availability of the TVT and TVT-O in the U.S., surgery for stress
 incontinence had been more morbid and less predictable in surgical treatment outcomes. Patients
 who have undergone open suspensions such as a Burch procedure that have failed are reluctant
 to undergo reoperation due to the long and painful recovery from the open repair. Surgeries that
 attempt to pull up and fix the urethra and bladder neck to the pubic bone require a more
 extensive surgical dissection, which increases blood loss, operative time, require larger incisions,
 and could cause damage to the neurovascular support of the bladder neck and urethra.
 Suspending procedures such as the Stamey, Peyrera, and Raz needle suspensions have been
 abandoned over the years due to high failure rates. The introduction of a new theory of
 continence by Petros and Ulmsten in the 1990s, called the integral theory, changed the approach
 to continence from obstructive to stabilizing the bladder neck and urethra.

          The TVT is the first procedure employing a tiny incision and mesh sling placed under
 no tension, and can be performed as an outpatient under local anesthesia. The procedure does
 not routinely require catheterization post operatively, and can be routinely performed in under 30
 minutes. Continence can be tested during the procedure. It’s an outpatient procedure with

                                                 25
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-4 Filed    Filed 05/26/20 Page
                                                     Page 27 of     78 of 155
                                                                31 PageID  #: 33477



 discharge in 3-4 hours. There is little pain, and many patients do not even need pain meds.
 Persistent or chronic pain occurs rarely. A recent systematic review and meta-analysis indicated
 that persistent or chronic pain occurs in 0.3% of retropubic midurethral sling patients, and 1.2%
 of trans-obturator midurethral sling patients. (Tommaselli GA, et al., Medium-term and long-
 term outcomes following placement of midurethral slings for stress urinary incontinence: a
 systematic review and metaanalysis. Int Urogynecol J 2015 Sep;26(9):1253–68.) Most women
 can drive a car the next day, resume working within two days, return to normal exercise in just
 one week. The large pore size allows rapid tissue incorporation and is anchorless, which
 decreases post-operative pain and voiding dysfunction. Because there are no anchoring sutures
 or fixation screws, there is no possibility of local bone pain or infection. The design of the
 covering sheath provides protection to the mesh during deployment and de-tensioning, reducing
 the risk of infection and distortion of the sling. The technique has a quarter-inch incision in the
 vagina requiring one suture to close and two exit puncture sites that can be sealed with a Band-
 Aid.

         The success rates for TVT are consistently 80-95% with studies carried out up to 17
 years. TVT can be performed safely in women of advanced age, and is the ideal procedure for
 previously failed incontinence surgeries and even the most severe Type 3 intrinsic sphincteric
 incontinence. The sling can be deployed either retropubic or transobturator, providing a
 versatility that expands the indications for use. Either approach avoids an abdominal incision
 and extensive surgical dissection required by fascial slings and the Burch procedure.

         The mesh used in the TVT and TVT-O is a macroporous polypropylene monofilament
 knitted weave that is soft, elastic, and well-tolerated by the body, which incorporates the material
 and becomes a permanent support structure that allows fibroblastic and collagen deposition to
 provide a new neoligament supporting the mid urethra. The polypropylene monofilament has
 been safely used in surgery as suture throughout the body for over 40 years, and has been shown
 to be stable and does not degrade in the body over time. TVT and TVT-O implantation is easy to
 teach and readily learned by both residents and experienced surgeons with reproducibility.
 Furthermore, the popularity of the devices has led to a greater number of Urologists and
 Gynecologists offering incontinence treatment to an increasing number of women.

          Unlike the Burch or fascial sling, the TVT family of products come with instructions for
 use, a tracking lot number for safety and batch analysis, as well as MDR reporting and FDA
 analyses. The devices are not met with cultural or religious objections like allografts or
 xenografts, and are extremely effective and durable with very low recurrence rates in patients
 aged 30-80 years. There is a positive net effect on overactive bladder symptoms with
 improvement in one third to one half of patients after TVT. Additionally, there is a net positive
 effect on sexual function—no more urinating during intercourse and consistent improvement in
 validated quality of life questionnaires. A 2012 study with 2-year follow-up that looked at
 sexual function and activity following midurethral sling placement reported significant
 improvements in sexual function after both retropubic and transobturator sling procedures.
 Dyspareunia, incontinence during sex, and fear of incontinence during sex all improved
 significantly after surgery. (Zyczynski HM, et al., Sexual activity and function in women more
 than 2 years after midurethral sling placement. Am J Obstet Gynecol 2012 Nov;207(5):421.e1–
 6.) In fact, one recent systematic review and meta-analysis found that dyspareunia following

                                                 26
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-4 Filed    Filed 05/26/20 Page
                                                     Page 28 of     79 of 155
                                                                31 PageID  #: 33478



 implantation of retropubic and transobturator midurethral slings was rare. (Schimpf MO, et al.,
 Sling surgery for stress urinary incontinence in women: a systematic review and metaanalysis.
 Am J Obstet Gynecol 2014;210:1.e1-1.e27.)

          TVT has more RCTs and long-term data than any other incontinence treatment. The
 TVT and TVT-O are easily studied, patients can be counseled on the vast data, and the study
 data can be compared to other products and surgical approaches. It is comforting as a surgeon to
 be using a product that is known to have the largest amount of peer-reviewed data from multiple
 institutions substantiating a safe, reliable, reproducible technique and material. Prolene has been
 around for 50 years, been safely used in various applications, and the body’s reaction to the
 material is known. Moreover, surgeons desire polypropylene slings, as over 90% of meshes for
 SUI are polypropylene. The favored approach is transvaginal, midurethral, and supported by all
 the specialty societies.

         The design optimizes safety by avoiding the large abdominal incision needed for a Burch
 and fascial sling. A 1.5 cm vaginal incision compared to a 6-8-inch abdominal incision for a
 Burch or multiple incisions for a fascial sling. The trocars used to pass the sling are tapered with
 a blunt tip so as to pass through the tissues atraumatically as compared to Stamey needles, which
 are sharper. Passage of the trocars through the retropubic space has been performed for 50 years,
 and surgeons are familiar with the anatomy. Complications are usually surgery-related and not
 mesh-specific. Bladder injury occurs in less than 5% of patients, and occurs as a result of trocar
 passage, which is managed by re-passage of the trocar and placement of a catheter for 24 hrs.
 The bladder puncture heals rapidly and completely. Plaintiff’s experts may contend that the TVT
 and TVT-O trocars are passed “blindly” and that that is unsafe. But the use of cystoscopy
 insures that the TVT trocar passages have not perforated the bladder. Multiple cadaver studies
 show that with proper technique, trocars are passed with an anatomic margin of safety. The
 design of the helical passers used with the TVT-O is such that it avoids neurovascular structures.
 Furthermore, bladder and bowel perforation can occur with the Burch procedure as well. I have
 directly observed post-Burch bladder perforations of the sutures causing infection, bleeding, and
 stone formation.

         Exposures are uncommon and manageable, occurring in about 1-3% of cases. The cause
 can be poor tissue integrity caused by estrogen deficiency, delayed wound healing due to
 diabetes, steroid usage, hematoma formation, or placing the sling too superficially. Treatment
 includes application of topical estrogen cream, re-closure of the mucosal edges, and limited mesh
 excision if necessary. The excision can be performed in an office setting under local anesthesia
 or under light sedation in an OR. Dyspareunia is rare because the TVT’s and TVT-O’s design
 positions the mesh placement under the midurethra, via the distal anterior wall incision, at a part
 of the vaginal wall where the forces and stress from penile contact are minimal. And the design
 of the TVT provides for the mesh sling to traverse up (vertically) away from the vagina, while
 the design of the TVT-O provides for the mesh sling to traverse laterally away from the vagina.

        Obstructive voiding dysfunction occurs in less than 10% of cases and can be readily
 managed by either opening the incision in the first few days and loosening the sling or waiting 3-
 4 weeks to incise the sling under local anesthetic. Continence is preserved 90% of the time.
 Contrarily, an obstructive Burch procedure will require opening the abdominal incision and

                                                 27
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-4 Filed    Filed 05/26/20 Page
                                                     Page 29 of     80 of 155
                                                                31 PageID  #: 33479



 taking down the previous repair which entails a more morbid and protracted recovery with
 probable recurrent incontinence.

          Infection is extremely rare due to the macroporous mesh allowing the immune cells—
 macrophages—to remove possible bacteria. Fibroblasts and blood vessel incorporation allows
 for tissue regeneration and incorporation of the mesh into the body. Due to the permanence of
 the sling, recurrent incontinence is uncommon. The inert nature of polypropylene avoids the risk
 of rejection and infection, which can occur with allografts and xenografts. Since the material is
 not biologic, there is no risk of virus or prion transmission.

         Single-incision and mini slings—while appropriate, safe, and effective devices under
 certain circumstances—have less efficacy and far less data to support their use over full-length
 slings. Multifilament mesh has been previously established to be poorly tolerated by the tissues
 with an unacceptable infection and encapsulation rate. Larger pore mesh does not have the same
 support characteristics, and does not have supporting data to prove equivalence with the
 established Ethicon mesh that has 17-year published follow-up.

         As discussed above, laser-cut mesh has no clinical difference when compared to
 mechanical-cut mesh in the physiologic range of stress when implanted in the female pelvis.
 (ETH.MESH.01784823-28 (CER Laser Cut Mesh); ETH.MESH.01222075-79 (Elongation
 Characteristics of Laser Cut Prolene Mesh for TVT); ETH.MESH.06696367-79 (Performance
 Evaluation of TVT U Prolene Mesh); Lin AT, et al., In Vivo tension Sustained by Fascial Sling
 in Pubovaginal Sling Surgery for Female Stress Urinary Incontinence, J Urol , 2005
 Mar;173(3):894–897.) The only difference is aesthetic, as any particles lost on mechanical-cut
 mesh cause no harm, as it is the same Prolene used in suspension procedures, Burch or fascial
 sling fixations.

         All surgical procedures have inherent risks. All pelvic surgeries have similar risks, and
 the introduction of the TVT and TVT-O slings has served to decrease complications when
 compared to previous techniques. Because native repairs and cystourethropexies do not involve
 a kit product, complications are not reportable to the MAUDE database. Scientific research has
 provided improved materials and applications to both improve efficacy and decrease
 complications. Synthetic mesh that is microporous or too macroporous has proven to be either
 less safe or less efficacious. If the mesh is too lightweight or too large pore, there is inadequate
 support.

         Ethicon has taken extensive steps to ensure the proper use of its products. The IFU,
 Surgeon’s Monograph, Professional Education training, including didactic lectures and cadaver
 labs, proctorships, and webinars were designed to offer an extensive resource for the pelvic
 surgeon to learn the indications for use, surgical technique, and avoidance and management of
 potential complications. The combination of residency training, previous surgical and clinical
 experience, and the training resources provided by Ethicon led to many pelvic surgeons gaining
 expertise in the use of its products, which continues to this day.

        All pelvic surgery has similar and inherent risks. Pelvic floor surgeons should be and are
 aware of the potential complications involved with any surgical treatment of SUI based on a

                                                  28
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-4 Filed    Filed 05/26/20 Page
                                                     Page 30 of     81 of 155
                                                                31 PageID  #: 33480



 combination of their medical school education, their residencies, fellowships, their experience,
 their continuing education, and their review of the device’s IFU if a device is used. Risks such
 as infection, scarring, inflammation, bladder damage, bowel damage, ureter damage, nerve
 damage, injury to vessels, wound complications (such as wound dehiscence, herniation,
 hematoma, seroma, pelvic abscess, exposure, and erosion), pain, pelvic pain, groin pain,
 dyspareunia, fistula, anesthetic risks, bowel or bladder dysfunction, failure of the operation,
 bleeding, death, pulmonary embolism, myocardial infarction, pneumonia, deep vein thrombosis,
 and need for reoperation are basic elemental surgical risks of any pelvic floor surgery involving
 mesh. Surgeons understand that these complications can happen, and they also understand that
 the symptoms can range in terms of severity and duration.

          Surgeons are expected to understand the anatomy in which they are operating, and should
 identify and dissect in safe planes, avoiding inadvertent damage to the organs and vessels
 contained within the pelvis. The education and training of the pelvic surgeon should be adequate
 to know the possibility of complications and their avoidance, risks of recurrence and reoperation.
 Indeed, the development of biologic and synthetic materials was motivated by the high failure
 rate of pelvic reconstruction due to the weakness of the patients’ connective tissue leading to the
 condition requiring repair. There is an extensive body of medical knowledge in the medical
 literature discussing the possibility of complications with the use of meshes. Surgeons’ prior
 experience with mesh informs their understanding of potential complications with pelvic floor
 surgeries, including those involved with mesh devices. While mesh exposure is unique to mesh
 devices, it is obvious, and it is general knowledge within female urology and urogynecology.
 The potential injury to vessels and organs caused by trocars is well-known to surgeons, and
 potential mesh exposure and foreign body reactions are common knowledge.

         Furthermore, the FDA issued a Public Health Notification in 2008 regarding the use of
 synthetic mesh for treatment of prolapse and incontinence. It alerted healthcare practitioners to
 “complications associated with transvaginal placement of surgical mesh to treat Pelvic Organ
 Prolapse (POP) and Stress Urinary Incontinence (SUI).” It noted that the complications were
 rare, but could have serious consequences, and that the “most frequent complications included
 erosion through the vaginal epithelium, infection, pain, urinary problems, and recurrence of
 prolapse and/or incontinence.” It also noted that there were “reports of bowel, bladder, and
 blood vessel perforation during insertion,” and that “[i]n some cases, vaginal scarring and mesh
 erosion led to a significant decrease in patient quality of life due to discomfort and pain,
 including dyspareunia.” This Public Health Notification was yet another source of knowledge
 for surgeons regarding potential complications associated with synthetic mesh midurethral
 slings, complementing the TVT and TVT-O’s IFU, Ethicon’s professional education seminars,
 and the surgeons’ training, education, and experience.

         Based upon the analysis above, and on my education, my training, my experience using
 these products and alternative incontinence treatments, and my reading of the literature
 referenced above, I believe the TVT and TVT-O slings are not defective, but are reasonably safe
 for their intended use and have a positive benefit-to-risk profile; better than the Burch and native
 tissue slings. In my opinion, the benefits of the TVT and TVT-O slings far outweigh the risks of
 using the devices. The devices are the gold standard and standard of care for treating stress
 urinary incontinence. At the time the products were launched, I do not believe they could have

                                                  29
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-4 Filed    Filed 05/26/20 Page
                                                     Page 31 of     82 of 155
                                                                31 PageID  #: 33481



been made safer for their intended use; Tiie products were state of the art at the time they were
launched, and remain so today.


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                                                30
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 1 ofPage 83 of 155
                                                             36 PageID  #: 33482




               Exhibit E
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 2 ofPage 84 of 155
                                                             36 PageID  #: 33483



                            Report re TVT-Secur Mid-urethral Slings
                                     Douglas H. Grier, M.D.
                               Sound Urological Associates, P.S.
                                       21822 76th Ave., W
                                      Edmonds, WA 98026

         This report contains a summary of my qualifications, education, training, and experience,
a statement of my opinions that I have formed to date, the bases for those opinions, and the
information I considered in forming my opinions. All of my opinions are based on my
education, training, clinical experience, the pertinent medical literature, discussions with
colleagues, and other materials I have reviewed. Materials that support my findings and
opinions, including documents that I have reviewed, are identified either in this report or are
listed in the attached reliance materials list.

        All of the opinions I express in this report are held to a reasonable degree of medical and
scientific certainty. If I receive additional information after signing this report but before trial, I
may form additional or different opinions.

I. Background

        a.      Education, Training, and Experience

       I attended the University of Florida in Gainesville, Florida, graduating with a Bachelor of
Science degree in Chemistry with High Honors in 1976. I attended medical school at George
Washington University, graduating in 1982. I then did a surgical internship in 1982–1983 at the
Portsmouth Naval Hospital in Portsmouth, Virginia. Following my internship, I did a urological
residency at the Portsmouth Naval Hospital from 1984–1988. I served as Chief of Urology at
Jacksonville Naval Hospital in 1990-91.

        Prior to my residency, I served in Operation Urgent Fury in Grenada in October 1983 and
as part of the Multinational Peacekeeping Force in Beirut, Lebanon in 1983–1984. After my
residency, I served in Operation Desert Shield and Operation Desert Storm with the 1st Marine
Division, stationed in Saudi Arabia and Kuwait in 1990–1991.

       I am the President-Elect of the Medical Staff at Swedish/Edmonds Hospital in Edmonds,
Washington. I also serve as the Chair of Swedish Hospital’s Medical Quality Oversight
Committee, Chair of the Credentials Committee, Treasurer of the Medical Staff for the Swedish
Hospital System, and as a member of the Executive Committee at Swedish Hospital.

       I became a Diplomate of the American Board of Urology in 1990 and was recertified in
2010. I am an active member of the American Urological Association, the Washington State
Medical Association, the Northwest Urological Society, the Washington State Urology Society,
the King County Medical Society, the American Association of Clinical Urologists, the Society
of Urodynamics Female Pelvic Medicine & Urogenital Reconstruction, and the International
Continence Society.



                                                   1
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 3 ofPage 85 of 155
                                                             36 PageID  #: 33484



                My curriculum vitae is attached to this report.

       b.       Clinical Experience & Personal Experience with Stress Urinary Incontinence
                Treatments

        I have a special focus in female pelvic medicine and surgery. Over the course of my
career, I have performed various types of native tissue surgery and surgery utilizing mesh,
including Ethicon’s TVT and TVT-O, TVT-Abbrevo, and TVT-Secur mid-urethral slings, AMS
Monarch, Uretex by Bard, Vesica In situ sling, Stamey cystourethropexy, MMK, and Burch
procedures. I have also performed robotic sacrocolpopexies, as well as open abdominal
sacrocolpopexies. I have also performed various types of native tissue surgeries and surgeries
utilizing mesh to treat pelvic organ prolapse and hernias.

       c.       Teaching & Training Experience Related to Stress Urinary Incontinence

        I served as a faculty member at the Ethicon Endosurgical Institute, and as a National
Preceptor for Gynecare products, conducting over 300 courses for advanced surgical training of
physicians for conditions such as stress urinary incontinence and pelvic organ prolapse. I have
lectured to pelvic floor surgeons throughout the United States, Canada, Europe, and China. I
have performed research in the field of incontinence and bladder disorders, contributing to
studies on the use of TVT abdominal guides, and the TVT world registry published in the
Journal of Urology in 2011. I was also an investigator in an FDA trial of a pelvic nerve
stimulator for the treatment of urge incontinence.

       d.       Litigation Consulting Work

       During the previous four years, I have testified as an expert witness at trial or by
deposition in the following case:

            •   Perry v. Ethicon, Inc., et al.—Bakersfield, CA
                   o Deposition Testimony on 12/30/14
                   o Trial Testimony on 02/17/15, 02/18/15, and 02/19/15

       I am being compensated $500 per hour for my study and testimony in this case.

II. Stress Urinary Incontinence

       a.       Definition, Mechanism of Action, and Prevalence

        Urinary incontinence is the involuntary leakage of urine, and can take different forms
such as urge incontinence, stress incontinence, or mixed incontinence. Urinary incontinence
affects up to 50% of women at some point in their lives. (Ford AA, Rogerson L, Cody JD, Ogah
J. Mid-urethral sling operations for stress urinary incontinence in women. Cochrane Database of
Systematic Reviews 2015, Issue 7. Art. No.: CD006375. DOI:
10.1002/14651858.CD006375.pub3.) Stress Urinary Incontinence (“SUI”) is the involuntary
leakage of urine during activities such as coughing, sneezing, lifting, laughing, or exercising.

                                                 2
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 4 ofPage 86 of 155
                                                             36 PageID  #: 33485



(IUGA Stress Urinary Incontinence – A Guide for Women.) The proposed mechanism of action
for the development of stress urinary incontinence is weakening of the pubourethral ligaments
and loss of intrinsic sphincter tone.

         SUI is diagnosed by bladder questionnaire, examination, cough test, bladder diary,
urodynamic studies, and cystoscopy. Pelvic organ prolapse, overactive bladder, and urinary
incontinence affect more women than diabetes, heart disease, or arthritis. SUI is a very common
condition, and affects at least 10–35% of women. (IUGA Stress Urinary Incontinence – A
Guide for Women; Dooley Y, et al., Urinary incontinence prevalence: results from the National
Health and Nutrition Examination Survey. J Urol 2008 Feb;179(2):665–661.) A recent
Cochrane review notes that, of the 50% of women who will experience urinary incontinence at
some point in their lives, 30–80% experience SUI. (Ford AA, Rogerson L, Cody JD, Ogah J.
Mid-urethral sling operations for stress urinary incontinence in women. Cochrane Database of
Systematic Reviews 2015, Issue 7. Art. No.: CD006375. DOI:
10.1002/14651858.CD006375.pub3.) Moderate-to-severe SUI affects women at an increasing
rate as they age, and has been reported to affect 6.9% of women 20–39 years old, 17.2% of
women 40–59 years old, 23.3% of women aged 60–79 years, and 31.7% of women 80 years or
older. (Nygaard I, et al., Prevalence of symptomatic pelvic floor disorders in US women. JAMA
2008 Sep 17;300(11):1311–1316.) One study estimated that approximately 11% of women will
have surgery to treat either SUI or pelvic organ prolapse in their lifetime. (Olsen AL, et al.,
Epidemiology of surgically managed pelvic organ prolapse and urinary incontinence. Obstet
Gynecol 1997;89:501-506.) Over 200,000 surgeries are performed in the U.S. for the treatment
of SUI and pelvic organ prolapse each year. (Gerten KA, et al., Prolapse and incontinence
surgery in older women. J Urol 2008 Jun;179(6):2111–21118.)

       b.     Risk Factors for Stress Urinary Incontinence

       Smoking: Women who smoke are 1.8–2.9 times more likely to develop SUI. (Bump
RC, Am. J. Obstet. & Gynecol 1992;167:1213–1218.) Smoking can lead to COPD, which
increases abdominal pressures through chronic coughing.

        Obesity: Increasing body mass index correlates to an increase in the symptoms of
urinary incontinence and pelvic organ prolapse through the mechanism of increased intravesical
pressure and bladder receptor changes. (Hannestad YS, et al., Are smoking and other lifestyle
factors associated with female urinary incontinence? The Norwegian EPINCONT Study. Br J
Obstet Gynaecol 2003 Mar;110(3):247–254.) Obese women have a 4.2-fold greater risk of
developing SUI compared to women with an average BMI. (ACOG / AUGS Practice Bulletin
No. 155; Nov. 2015.)

        Menopause: Decreasing serum levels of estrogen are known to increase the incidence of
both stress incontinence and integrity of the pubocervical fascia of the vagina by decreasing
vascularity and thickness of the tissues. Postmenopausal decreased estrogen levels lead to
urogenital atrophy with the increased risk of infections of the urinary tract and changing of the
vaginal pH. (Siddighi S & Hardesty JS, Urogynecology & Female Pelvic Reconstructive
Surgery. ISBN 0-07-144799-7.)



                                                3
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 5 ofPage 87 of 155
                                                             36 PageID  #: 33486



        Pregnancy and Childbirth: Damage sustained to the muscles and nerves of the pelvic
floor significantly increases the risk of both stress and urge incontinence and pelvic organ
prolapse. A woman with three or more vaginal deliveries has an eleven-fold increased risk of
pelvic organ prolapse compared to a nulliparous woman. The weight of the infant contributes to
prolapse with an increase of 10% per pound weight of the infant. (Siddighi S & Hardesty JS,
Urogynecology & Female Pelvic Reconstructive Surgery. ISBN 0-07-144799-7.)

       Chronic Constipation and Heavy Lifting: Chronic constipation and heavy lifting cause
increased pelvic pressures which leads to increased fascial stress over time.

       Race: Increasing incidence of SUI occurs from Asian women < African-American
women < Caucasian Women. Caucasian women have the highest risk of pelvic organ prolapse.
(Siddighi S & Hardesty JS, Urogynecology & Female Pelvic Reconstructive Surgery. ISBN 0-
07-144799-7.)

        Age: The mean age for SUI in women is 48 years, for mixed incontinence in women 55
years, and urge incontinence in women is 61 years. The prevalence of incontinence is 39.6
million women as of 2001. (Siddighi S & Hardesty JS, Urogynecology & Female Pelvic
Reconstructive Surgery. ISBN 0-07-144799-7.)

        Congenital Factors: Women with prolapse tend to have an abundance of the weaker
type III collagen in the pubocervical fascia with a higher degree of joint hypermobility with
associated collagen vascular disorders. These factors also increase the incidence and severity of
prolapse. Collagen vascular diseases have been implicated in the development of SUI and pelvic
organ prolapse. (Siddighi S & Hardesty JS, Urogynecology & Female Pelvic Reconstructive
Surgery. ISBN 0-07-144799-7.)

      Pelvic Organ Prolapse: 62% of women with prolapse also report SUI and 63% of
women with stress incontinence have associated prolapse. (Siddighi S & Hardesty JS,
Urogynecology & Female Pelvic Reconstructive Surgery. ISBN 0-07-144799-7.)

       c.     Economic Impact and Impact on Quality of Life

         Women who develop urinary incontinence adapt by minimizing activities, wearing
incontinence diapers, and by avoiding social interactions and sexual relationships due to fear of
embarrassment. (Fultz NH, et al., Burden of stress urinary incontinence for community-dwelling
women. Am J Obstet Gynecol 2003 Nov;189(5):1275–1282.) It has been reported that less than
half of women who experience incontinence tell their healthcare providers about their symptoms.
(Wu JM, et al., Prevalence and incidence of urinary incontinence in a diverse population of
women with noncancerous gynecologic conditions. Female Pelvic Med Reconstr Surg
2010;16(5):284–289; ACOG / AUGS Practice Bulletin No. 155; Nov. 2015.) The impact of
decreased physical activities for fear of incontinence leads to cardiovascular deconditioning,
further obesity, and social isolation. The incontinence also increases the incidence of urinary
tract infections, which can lead to kidney infections and hospitalizations. The symptoms of SUI
can also increase the incidence and severity of depression.



                                                4
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 6 ofPage 88 of 155
                                                             36 PageID  #: 33487



         62% of women with prolapse also report SUI and 63% of women with stress
incontinence have associated prolapse. (Gallentine ML and Cespedes RD, Occult stress urinary
incontinence and the effect of vaginal vault prolapse on abdominal leak point pressures. Urology
2001 Jan;57(1):40-44.) 30% of women will undergo repeat surgery for recurrent prolapse over
their lifetime.

        Economic costs of urinary incontinence were estimated to be $32 billion as of 2000, with
the cost derived from providing laundry, pads, and absorbent products. The majority of those
costs do not come from providing treatment. The November 2015 ACOG/AUGS Practice
Bulletin on Urinary Incontinence in Women notes that the “estimated direct cost of urinary
incontinence care in the United States is $19.5 billion.” (ACOG / AUGS Practice Bulletin No.
155; Nov. 2015.) 62% of women with prolapse also report SUI and 63% of women with stress
incontinence have associated prolapse. (Siddighi S & Hardesty JS, Urogynecology & Female
Pelvic Reconstructive Surgery. ISBN 0-07-144799-7; Wagner, Economic Costs of Urinary
Incontinence, Urology 1998;51:355–361.)

III. Treatment Options for SUI

       a.     Nonsurgical Options for Treatment of Stress Urinary Incontinence

        Nonsurgical treatment options for SUI are behavior modifications, including more
frequent voiding, incontinence pads or briefs, biofeedback, pelvic floor muscle exercises, weight
reduction, management of fluid intake, smoking cessation, reduced intake of coffee, tea, and
carbonated beverages, reduced occupational or recreational activities that require repetitive or
chronic straining, and constipation management. Other nonsurgical treatment options include
functional electrical stimulation (PTNS) and mechanical devices. (Siddighi S & Hardesty JS,
Urogynecology & Female Pelvic Reconstructive Surgery. ISBN 0-07-144799-7; ACOG / AUGS
Practice Bulletin No. 155; Nov. 2015.) Only 15–28% of women have their incontinence 100%
cured by pelvic floor muscle training (PFMT), and after a 3–15-year follow-up, 25–50% of
women primarily treated with PFMT to try to improve or cure their incontinence will undergo
surgery. (Labrie J, et al., Protocol for Physiotherapy OR Tvt Randomised Efficacy Trial
(PORTRET): a multicenter randomised controlled trial to assess the cost-effectiveness of the
tension free vaginal tape versus pelvic floor muscle training in women with symptomatic
moderate to severe stress urinary incontinence. BMC Women’s Health 2009;9:24.)

       Pessaries are believed to control SUI symptoms by increasing urethral resistance and
supporting the urethra. They “may improve the symptoms of stress and mixed urinary
incontinence, but objective evidence regarding their effectiveness has not been reported.”
(ACOG / AUGS Practice Bulletin No. 155; Nov. 2015.)

        The limitations of nonsurgical management options are that they rarely fully restore
continence, but rather help cope with the condition. There is no FDA-approved medication for
the treatment of SUI. (ICS Fact Sheets: A Background to Urinary and Faecal Incontinence (July
2013); 2013 AUA SUI Patient Guide.)




                                               5
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 7 ofPage 89 of 155
                                                             36 PageID  #: 33488



       b.      Surgical Options for Treatment of Stress Urinary Incontinence

        Because of the limitations of nonsurgical treatment options, surgery is the definitive and
long-term treatment for symptomatic SUI. There are over 150 described surgical treatments for
SUI. All of these surgeries have shared risks such as hematoma, bladder or bowel injury, lower
urinary tract injury, vascular injury, infection, urinary retention, persistent SUI, bleeding, pain,
dyspareunia, fistula, and de novo or worsening urge incontinence. (ACOG / AUGS Practice
Bulletin No. 155; Nov. 2015.)

               i.      Native Tissue and Tension Repairs

        The primary surgical native tissue and tension repairs include the Kelly plication
(introduced in 1912), Pereyra needle urethropexy (introduced in 1959), and abdominal
operations for SUI such as the Burch colposuspension (introduced in 1961) and Marshall
Marchetti Krantz (MMK) cystourethropexy (introduced in 1949). (Siddighi S & Hardesty JS,
Urogynecology & Female Pelvic Reconstructive Surgery. ISBN 0-07-144799-7.)

        Retropubic trans-abdominal surgeries (Burch and MMK) when compared to TVT, are
less cost-effective, more morbid, have greater operative time, and longer recovery with equal
efficacy. (Ward K, et al., Prospective multi-center randomized trial of tension-free vaginal tape
and colposuspension as primary treatment for stress incontinence. BMJ 2002 Jul;325:1–7.) In a
randomized controlled trial of TVT versus Burch with five-year follow-up, the procedures had
similar patient satisfaction and efficacy, but the TVT group had less voiding dysfunction. (Ward
K and Hilton P on behalf of the UK and Ireland TVT Trial Group, Tension-free vaginal tape
versus colposuspension for primary urodynamic stress incontinence: 5-year follow up. BJOG
2008;115:226–233.) A 2009 Cochrane review of TVT versus Burch reported that TVT appeared
to be as effective as the open Burch procedure, but associated with fewer complications, less
voiding dysfunction, shorter operative times, and increased safety. (Ogah, J., Cody, JD,
Rogerson, L., Minimally invasive synthetic suburethral sling operations for stress urinary
incontinence in women. Cochrane Database of Systematic Reviews 2009, Issue 4. Art. No.:
CD006375. DOI:10.1002/14651858.CD006375.pub2.) A meta-analysis of 39 RCTs published in
2010 by Novara, et al. indicated that patients receiving midurethral slings, especially TVT, while
having an increased risk of bladder perforation, had significantly higher overall and objective
cure rates than did the patients who had a Burch procedure. (Novara G, et al. Updated
systematic review and meta-analysis of the comparative data on colposuspensions, pubovaginal
slings, and midurethral tapes in the surgical treatment of female stress urinary incontinence. Eur
Urol 2010 Aug;58(2):218-38.)

        Retropubic trans-abdominal surgeries such as the Burch and MMK involve larger
incisions, more dissection, are performed as inpatient rather than ambulatory procedures, and
have a greater average blood loss than the mid-urethral sling procedures discussed below.
(Chaliha C, Stanton SL. Complications of surgery for genuine stress incontinence. Br J Obstet
Gyaecol. 1999 Dec;106(12):1238–45.) Data shows that long-term efficacy following Burch
declines with time and plateaus at ten years with 70% cure. One in ten patients needs at least one
additional surgery for correction of SUI ten years after undergoing a Burch procedure. (Alcalay,
Burch colposuspension: a 10-20 year follow up. Br J Obstet Gynaecol 1995;102:740-745.) In

                                                  6
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 8 ofPage 90 of 155
                                                             36 PageID  #: 33489



another long-term study of the Burch procedure, 56% of the patients studied experienced
subjectively significant urinary incontinence. (Kjolhede P, Long-term efficacy of Burch
colposuspension: a 14-year follow-up study, Acta Obstet Gynecol Scand 2005, 84:767-772.) In
the SISTEr study, 70% of patients undergoing the Burch procedure had treatment failure at two
years’ follow-up when all criteria were considered. (Albo, ME, et al., Burch Colposuspension
versus Fascial Sling to Reduce Urinary Stress Incontinence, N Engl J Med 2007;356:2143-2155.)
In the extended SISTEr trial, between 2–7 years post-op continence rates dropped from 42% to
13% in patients who had the Burch procedure. (Richter HE, et al., Patient Related Factors
Associated with Long-Term Urinary Continence After Burch Colposuspension and Pubovaginal
Fascial Sling Surgeries. J Urol 2012 Aug;188(2):485–489.) A study by Demirci showed
comparable trends in decreasing efficacy and late complications. Demirci reported late
complications in 220 women, including enterocele (35), rectocele (32), cystocele (18),
suprapubic or groin pain (15), and dyspareunia (6). (Demirci F, et al. Long-term results of Burch
colposuspension. Gynecol Obstet Invest. 2001;51(4):243-7.)

        Laparoscopic Burch procedures have a lower cure rate, higher complication rate, and
higher operative cost than open Burch procedures. (Siddighi S & Hardesty JS, Urogynecology &
Female Pelvic Reconstructive Surgery. ISBN 0-07-144799-7; Walters, Surgical management of
stress incontinence, Clinical Obstetrics & Gynecology-Incontinence. Lipincott William &
Wilkins 2004:93–103.) A 2012 Cochrane Review reported that there was insufficient evidence
to determine whether the laparoscopic Burch procedure has an advantage over the open Burch
procedure in terms of cost-effectiveness, longer-term complications, safety, quality of life, and
subjective and objective cure rates. (Lapitan MC, Cody JD. Open retropubic colposuspension
for urinary incontinence in women. Cochrane Database Syst Rev 2012 Jun 13.)

        In the SISTEr trial, 47% of the patients undergoing the Burch procedure experienced
adverse events. (Albo, ME, et al., Burch Colposuspension versus Fascial Sling to Reduce
Urinary Stress Incontinence, N Engl J Med 2007;356:2143-2155.) Urinary retention rate after
Burch is 12%. De novo detrusor overactivity is 16% post-operatively. 25-45% patients with
mixed incontinence pre-op will have worse detrusor overactivity post-op. There is a 7–14% risk
of enterocele (prolapsed small intestine) formation. 12% have post-colposuspension syndrome,
which is chronic pain in the low-to-mid pelvis due to the Burch suture tension. (Siddighi S &
Hardesty JS, Urogynecology & Female Pelvic Reconstructive Surgery. ISBN 0-07-144799-7.)
Osteitis pubis—which is inflammation of the periosteum from the sutures—occurs at a rate of 2-
3%. Dyspareunia increases when combined with vaginal prolapse surgery. Urinary tract
infections and wound complications also occur. (Siddighi S & Hardesty JS, Urogynecology &
Female Pelvic Reconstructive Surgery. ISBN 0-07-144799-7.) The Alcalay study reported that
14.7% of the patients had detrusor instability, 22% had long-term voiding difficulty, and 4.6%
had recurrent urinary tract infections. The AUA 2012 Update to the SUI Guidelines reported
higher rates of pain and sexual dysfunction with the Burch procedure than with midurethral
slings. (Guideline for the Surgical Management of Female Stress Urinary Incontinence: 2009
Update Appendices A11 and A16.) The significant post-operative morbidity and complications
associated with the Burch procedure has caused surgeons to turn to other procedures to treat SUI.
(Wu CJ, et al., The surgical trends and time-frame comparison of primary surgery for stress
urinary incontinence, 2006-2010 vs 1997-2005: a population-based nation-wide follow-up
descriptive study. Int Urogynecol J 2014 Dec;25(12):1683–91; Chughtai BI, et al., Midurethral

                                               7
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 9 ofPage 91 of 155
                                                             36 PageID  #: 33490



Sling Is the Dominant Procedure For Female Stress Urinary Incontinence: Analysis of Case Logs
From Certifying American Urologists. Urology 2013 Dec;82(6):1267–71; Suskind AM, et al.,
Effectiveness of Mesh Compared with Nonmesh Sling Surgery in Medicare Beneficiaries. Obstet
Gynecol 2013 Sep;122(3):546–52; Rogo-Gupta L, et al., Trends in the Surgical Management of
Stress Urinary Incontinence Among Female Medicare Beneficiaries, 2002-2007. Urology 2013
Jul;82(1):38–41; Nager CW, et al., A Randomized Trial of Urodynamic Testing before Stress-
Incontinence Surgery. N Engl J Med 2012 May;24;366(21):1987–97; Wu JM, et al., Trends in
inpatient urinary incontinence surgery in the USA, 1998-2007. Int Urogynecol J 2011
Nov;22(11):1437–43.)

       Retropubic needle suspensions have been essentially abandoned due to high failure rates,
and share all of the risks discussed above with respect to retropubic trans-abdominal surgeries.

               ii.    Bulking Agents

         Bulking agents are another option for treatment of SUI. They can be made of bovine
collagen or polytetrafluoroethylene (PTFE), and are needle-injected into the urethral submucosa
to coapt the urethra. Advantages of these procedures include the fact that they can be office-
based, they do not require general anesthesia, they can be performed in patients who are not
surgical candidates, and they can be used after failed previous surgeries. While bulking agents
are invasive, they are less invasive than other surgical options. Drawbacks of bulking agents
include high cost, lower cure rates—25% dry, 50% improved, and 25% requiring repeat
injections. Complications include urinary retention (15-25%), urinary tract infection (5-30%),
irritative voiding symptoms (less than 20%), allergic reactions (4%), and product migration.
(Gross M, et al., Periurethral injections. In: Bent AE, et al., eds. Ostergard’s Urogynecology and
Pelvic Floor Dysfunction 5th ed. William & Wilkins; 2003:495–502.) “[U]rethral bulking agents
are less effective than surgical procedures such as sling placement and are rarely used as primary
treatment for stress urinary incontinence.” (ACOG / AUGS Practice Bulletin No. 155; Nov.
2015.)

               iii.   Artificial Urinary Sphincters

       Artificial urinary sphincters are inflatable cuffs that surround the proximal urethra and
bladder neck. They provide mechanical obstruction of the urethra when inflated and allow
opening with activation of a control pump. Due to the extensive surgery required and long-term
complications of device failure (e.g., pump failure, urethral erosion, infection), artificial
sphincters are used for severe incontinence when other procedures have failed. (Appell,
Techniques and results in the implantation of the artificial urinary sphincter in women with type
3 SUI with vaginal approach. Neurourol Urodyn 1988;7:613–619.)

               iv.    Proximal Suburethral Slings

        Another surgical treatment option for SUI is the proximal suburethral sling. Originally
used only for intrinsic sphincter deficiency (“ISD”) and recurrent stress incontinence because of
the higher post-operative complications, proximal suburethral slings create a hammock
underneath the urethra and bladder neck to prevent descent and provide a backboard for

                                                8
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-5 Filed    Filed 05/26/20 Page
                                                     Page 10 of     92 of 155
                                                                36 PageID  #: 33491



 compression of the urethra during increased intra-abdominal pressure. First described in 1907,
 several biologic and synthetic materials have been used, and bone-anchored slings have also
 been developed. The biologic materials used include autografts (fascial tissue removed from the
 patient’s abdomen (rectus fascia) or outer thigh (fascia lata)), allografts (sterilized fascia from a
 cadaver), or xenografts (sterilized fascia from an animal). Modification of the suburethral slings
 by anchoring to the pubic bone does not increase effectiveness, and carries an increased risk of
 osteomyelitis. Overall success is between 82–90% at 5 years. Cure rates for SUI with ISD at 5
 years is 80–90%, which is higher than Burch. However, In the SISTEr study, 57% of patients
 receiving a fascial sling had treatment failure at two years’ follow-up when all criteria were
 considered. (Albo, ME, et al., Burch Colposuspension versus Fascial Sling to Reduce Urinary
 Stress Incontinence, N Engl J Med 2007;356:2143-2155.) In the extended SISTEr trial, between
 2–7 years post-op continence rates dropped from 52 to 27% in patients who had pubovaginal
 slings. (Richter HE, et al., Patient Related Factors Associated with Long-Term Urinary
 Continence After Burch Colposuspension and Pubovaginal Fascial Sling Surgeries. J Urol 2012
 Aug;188(2):485–489.) The 2014 SGS systematic review and meta-analysis by Shimpf et al.
 observed that, when comparing pubovaginal slings versus midurethral slings, subjective cure was
 higher with midurethral slings. Therefore, the authors recommended midurethral slings over
 pubovaginal slings. (Schimpf MO, et al., Sling surgery for stress urinary incontinence in
 women: a systematic review and metaanalysis. Am J Obstet Gynecol 2014;210:1.e1-1.e27.)

         Cure rates may be high, but complication rates are also higher with these procedures.
 These procedures are highly morbid, involve abdominal and transvaginal incisions, greater
 operative time, more blood loss, more transfusions, autologous fascia has to be harvested from
 the patient using a separate incision, recovery time is much longer than other surgical treatment
 methods, and the complication rate is higher in terms of urinary retention, possible bone
 anchoring complications, hematoma, chronic pain, infection, exposure, and de novo urinary
 detrusor overactivity. (Chaikin DC, et al., Pubovaginal fascial sling for all types of stress urinary
 incontinence: long-term analysis. J Urol 1998 Oct;160(4):1312–1316; Schimpf MO, et al., Sling
 surgery for stress urinary incontinence in women: a systematic review and metaanalysis. Am J
 Obstet Gynecol 2014;210:1.e1-1.e27; Brubaker L, 5-Year Continence Rates, Satisfaction and
 Adverse Events of Burch Urethropexy and Fascial Sling Surgery for Urinary Incontinence,
 Urology 2012;187:1324-1330; Richter HE, et al., Patient Related Factors Associated with Long-
 Term Urinary Continence After Burch Colposuspension and Pubovaginal Fascial Sling
 Surgeries, Urology 2012;188:485-489; Albo, ME, et al., Burch Colposuspension versus Fascial
 Sling to Reduce Urinary Stress Incontinence, N Engl J Med 2007;356:2143-2155; Rehman H, et
 al., Traditional suburethral sling operations for urinary incontinence in women. Cochrane
 Database Syst Rev. 2011 Jan 19;(1):CD001754. Doi: 10.1002/14651858.) In the SISTEr trial,
 63% of the patients receiving fascial slings experienced adverse events. (Albo, ME, et al., Burch
 Colposuspension versus Fascial Sling to Reduce Urinary Stress Incontinence, N Engl J Med
 2007;356:2143-2155.) The AUA 2012 Update to the SUI Guidelines reported higher rates of
 pain and sexual dysfunction with pubovaginal slings than with midurethral slings. (Guideline for
 the Surgical Management of Female Stress Urinary Incontinence: 2009 Update Appendices A11
 and A16.) Harvesting autologous fascia from the abdomen or outer thigh carries a risk of pain,
 nerve entrapment, and infection, which is a significant drawback to the procedure. The
 American College of Obstetricians and Gynecologists and the American Urogynecologic Society
 recommend that autologous fascial bladder neck slings be considered for women who decline or

                                                  9
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-5 Filed    Filed 05/26/20 Page
                                                     Page 11 of     93 of 155
                                                                36 PageID  #: 33492



 are not candidates for synthetic mesh slings. (ACOG / AUGS Practice Bulletin No. 155; Nov.
 2015.) Using allografts and xenografts can be met with cultural or religious objections from
 patients, and carries a risk of disease transmission and rejection. Allografts and xenografts are
 also more costly than other materials, and lack the long-term durability of synthetic materials.

                v.      Midurethral Tension-Free Slings

         Midurethral tension-free slings were developed by Ulmsten in Sweden in the 1980s to
 mid-‘90s due to the high morbidity and unpredictable success of retropubic or proximal urethral
 suspension procedures. These procedures involve the placement of a tension-free synthetic
 midurethral sling that can be placed either retropubic or transobturator. They act as a hammock
 or backstop for the midurethra during the moments of increased bladder pressure caused by
 physical activity. Indications for midurethral slings are SUI with hypermobility of the urethra,
 SUI with ISD, mixed incontinence with stress predominance, and recurrent SUI following failed
 previous procedures. They have been used extensively in Europe for the treatment of SUI,
 became popular in the U.S. in the late 1990s, and have revolutionized the treatment of SUI.
 (Siddighi S & Hardesty JS, Urogynecology & Female Pelvic Reconstructive Surgery. ISBN 0-
 07-144799-7.) The majority are performed in ambulatory centers with minimal incision and
 without the requirement for post-operative catheterization. Other advantages are that it is a
 shorter learning curve for the surgeon (which means more women have access to the treatment),
 and involve less post-operative pain for the patient. Most pelvic floor surgeons prefer synthetic
 mid-urethral slings to traditional procedures in most circumstances. (Clemons JL, et al., Impact
 of the 2011 FDA Transvaginal Mesh Safety Update on AUGS Members’ Use of Synthetic Mesh
 and Biologic Grafts in Pelvic Reconstructive Surgery. Female Pelvic Med Reconstr Surg
 2013;19:191-198; Chughtai BI, et al., Midurethral Sling Is the Dominant Procedure for Female
 Stress Urinary Incontinence: Analysis of Case Logs From Certifying American Urologists.
 Urology 2013 Dec;82(6):1267–71; Nager CW, et al., A Randomized Trial of Urodynamic
 Testing before Stress-Incontinence Surgery. N Engl J Med 2012 May 24;366(21):1987–1997.)

 IV.    Ethicon TVT Products

        a.      Historical Background of Surgical Use of Mesh

         Polypropylene sutures have been used for over 45 years and are biologically compatible
 with human tissue. Polypropylene hernia mesh has been and continues to be the standard of care
 for the last thirty years for abdominal wall hernia repair. Polypropylene mesh has been used in
 open abdominal sacrocolpopexies since the 1960s. The advantage of mesh is augmentation and
 strength during the healing process with the incorporation of collagen fibers into the material to
 provide lasting support. I have been performing polypropylene mesh hernia repairs since the
 1980s and have never had a patient develop an infection or rejection of the material.

        b.      The Development of Tension-Free Vaginal Tape Using Prolene Mesh

        As mentioned above, midurethral tension-free slings were developed by Ulmsten in
 Upsala, Sweden in the 1980s to mid-1990s, at which time he and Dr. Petros experimented with
 multiple different available materials for the slings, including Mersilene, Marlex, Prolene, Gore-

                                                 10
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-5 Filed    Filed 05/26/20 Page
                                                     Page 12 of     94 of 155
                                                                36 PageID  #: 33493



 Tex, and others. (Petros PE, Creating a gold standard surgical device: scientific discoveries
 leading to TVT and beyond: Ulf Ulmsten Memorial Lecture 2014. Int Urogynecol J 2015
 Apr;26(4):471-6; Ulmsten U, et al. A multicenter study of tension-free vaginal tape (TVT) for
 surgical treatment of stress urinary incontinence. Int Urogynecol J Pelvic Floor Dysfunct
 1998;9(4):210-213; Petros PE, Ulmsten UI, An integral theory and its method for the diagnosis
 and management of female urinary incontinence. Scand J Urol Nephrol Suppl 1993;153:1-93.)
 Dr. Ulmsten and Dr. Petros selected the monofilament, large-pore, knitted, lightweight Prolene
 mesh due to Prolene’s long-term use in surgery as a suture material, its ease of use, and its
 biocompatibility in the vagina. Dr. Ulmsten also determined that a Prolene sling that was 1
 centimeter in width and 40 centimeters in length was optimal. The width of the sling was
 eventually changed to 1.1 cm, and the length was subsequently increased to 45 cm to facilitate
 treatment of more women. Dr. Axel Arnaud of Ethicon went to Sweden in 1995 and observed
 four of Ulmsten’s tension-free procedures and negotiated with Ulmsten to purchase the rights to
 the product he had developed. The TVT has been used extensively in Europe for the treatment
 of SUI and was introduced to the U.S. in 1998, becoming the gold standard for SUI surgery over
 the next several years.

        c.      The TVT and TVT-O Devices

         The TVT is a monofilament, knitted, macroporous, lightweight, synthetic mesh sling that
 is swedged onto trocars that are passed at the midurethra via a 1.5 cm vaginal incision under the
 pubic symphysis and emanating approximately 2 cm lateral from the midline of the abdomen,
 just above the pubic symphysis. The mesh is encased in a plastic sheath that is removed after
 deployment of the mesh. The sling is not anchored; it is placed without tension under the mid-
 urethra, and a cough test is then performed to assess the degree of continence provided by the
 sling. The ends of the sling are cut beneath the surface of the skin on the abdominal wall after
 tensioning, and the vaginal incision is closed with an absorbable suture. Cystoscopy is
 performed to insure the bladder is not perforated by the sling during its deployment. The device
 comes in a box with the above-mentioned components, along with instructions for use for the
 device. Internationally, the TVT is the most common midurethral synthetic sling that is utilized.
 The TVT has the longest studies available that have demonstrated both low complication rates
 and high efficacy, with studies carried out as long as seventeen years. (Nilsson CG, et al.,
 Seventeen years’ follow-up of the tension-free vaginal tape procedure for female stress urinary
 incontinence. Int Urogynecol J 2013 Aug;24(8):1265–1269. doi 10.1007/s00192-013-2090-2.)
 The TVT is more cost effective, uses less operative time, and has a higher objective cure rate (at
 less than two years) than the laparoscopic Burch colposuspension. Compared to open Burch
 procedure, the TVT has a similar cure rate for up to two years of treatment, but is less costly and
 involves less recovery time. (Siddighi S & Hardesty JS, Urogynecology & Female Pelvic
 Reconstructive Surgery. ISBN 0-07-144799-7.)

          The TVT-O, like the TVT, is a monofilament, knitted, macroporous, synthetic mesh sling
 that is swedged onto trocars that are passed at the midurethra via a 1.5 cm vaginal incision and
 through the obturator foramen and out the medial thigh. The same Prolene mesh is used in both
 the TVT and TVT-O slings. The mesh is a Type I mesh, per the biomaterial classification
 published by PK Amid in 1997, as it contains pores larger than 75 microns, “which is the
 required pore size for admission of macrophages, fibroblasts (fibroplasia), blood vessels

                                                 11
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-5 Filed    Filed 05/26/20 Page
                                                     Page 13 of     95 of 155
                                                                36 PageID  #: 33494



 (angiogenesis) and collagen fibers into the pores.” (Amid PK, Classification of biomaterials and
 their related complications in abdominal wall hernia surgery. Hernia 1997;1:15–21.) Like the
 TVT, the mesh of the TVT-O is encased in a plastic sheath that is removed after deployment of
 the mesh. The sling is not anchored; it is placed without tension, and a cough test is performed
 to assess the degree of continence provided by the sling. The ends of the sling are cut beneath
 the surface of the skin on the medial thigh after tensioning, and the vaginal incision is closed
 with an absorbable suture. It is recommended that cystoscopy be performed following the
 procedure, but I have found it to be optional due to the decreased likelihood of perforation of the
 bladder. The device comes in a box with the above-mentioned components along with
 instructions for use for the device. Hundreds of thousands of TVT-O procedures have been
 performed internationally since its introduction. It was first introduced in North America in
 2004, and I performed the first case in North America in January 2004. The advantage of the
 transobturator approach is less risk of bladder perforation, retropubic hematoma, and possible
 bowel injury by avoiding the space of Retzius. The TVT-O procedure has a short learning curve,
 low morbidity, and a short operating time, and is technically simple to perform, which makes the
 procedure available to more women. (Groutz A, et al., Long-Term Outcome of Transobturator
 Tension-Free Vaginal Tape: Efficacy and Risk Factors for Surgical Failure. J Women’s Health
 2010;20(10):1525–1528.) There are several long- or intermediate-term studies of the TVT-O
 supporting its safety and efficacy. (Groutz A, et al., Long-Term Outcome of Transobturator
 Tension-Free Vaginal Tape: Efficacy and Risk Factors for Surgical Failure. J of Women’s Health
 2011;20(10):1525–1528; Laurikainen E, et al., Five-year Results of a Randomized Trial
 Comparing Retropubic and Transobturator Midurethral Slings for Stress Incontinence. Eur Urol
 2014 Jun;65(6):1109–14; Athanasiou S, et al., Seven years of objective and subjective outcomes
 of transobturator (TVT-O) vaginal tape: Why do tapes fail? 2014;25:219–225; Serati M, et al.,
 TVT-O for the Treatment of Pure Urodynamic Stress Incontinence: Efficacy, Adverse Effects,
 and Prognostic Factors at 5-Year Follow-up. Eur Urol 2013;63:872–78; Liapis A, et al., Efficacy
 of inside-out transobturator vaginal tape (TVTO) at 4 years follow up. 2010;148:199–201;
 Angioli R, et al., Tension-Free Vaginal Tape Versus Transobturator Suburethral Tape: Five-Year
 Follow-up Results of a Prospective, Randomised Trial. Eur Urol 2010;58:671–677; Cheng D, et
 al., Tension-free vaginal tape-obturator in the treatment of stress urinary incontinence: a
 prospective study with five-year follow-up. Eur J Obstet Gynecol Reprod Biol 2012;161:228–
 231.)

         A recent high-quality Cochrane meta-analysis review of the literature concludes that
 TVT, TVT-O, and Burch procedures have similar efficacy, but the TVT and TVT-O procedures
 involve shorter recovery time. The review further concludes that midurethral synthetic sling
 operations are the most extensively researched surgical treatment for SUI in women and have a
 good safety profile. The TVT, in particular, is the most studied mesh device, with more than 100
 randomized controlled trials having been done with the device. The Cochrane review authors
 note that irrespective of the routes traversed, synthetic mesh midurethral slings are highly
 effective in the short and medium term, and evidence demonstrates their effectiveness in the
 long-term. The Cochrane Review illustrates positive impact on improving the quality of life of
 women with SUI. With the exception of groin pain, fewer adverse events occur with
 employment of a transobturator approach. (Ford AA, Rogerson L, Cody JD, Ogah J. Mid-
 urethral sling operations for stress urinary incontinence in women. Cochrane Database of
 Systematic Reviews 2015, Issue 7. Art. No.: CD006375. DOI:

                                                 12
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-5 Filed    Filed 05/26/20 Page
                                                     Page 14 of     96 of 155
                                                                36 PageID  #: 33495



 10.1002/14651858.CD006375.pub3.) The 2015 Cochrane systematic review demonstrates that
 both retropubic and transobturator approaches appear to be comparable in terms of efficacy and
 patient satisfaction. (ACOG / AUGS Practice Bulletin No. 155; Nov. 2015.) However, a 2015
 systematic review and meta-analysis observed similar rates of objective cure between
 transobturator and retropubic midurethral slings, and higher subjective cure rates in retropubic
 slings. (Tommaselli GA, et al., Medium-term and long-term outcomes following placement of
 midurethral slings for stress urinary incontinence: a systematic review and metaanalysis. Int
 Urogynecol J 2015.)

          In 2010, Novara added 14 new trials to their 2007 systematic review metaanalysis
 evaluating efficacy, complication rate, and reoperation rate of Burch colposuspension and
 synthetic midurethral slings. Midurethral slings were found to have higher objective cure rates
 than Burch colposuspension. Similar rates of postoperative complications, including pelvic
 hematoma, UTI, postoperative lower urinary tract symptoms, and reoperation were noted
 between the two groups. Midurethral slings resulted in a greater improvement in patient quality
 of life over the Burch procedure in two trials. Midurethral slings were also found to be more
 cost-effective than the Burch procedure. (Cox A, Herschorn S, Lee L, Surgical management of
 female SUI: is there a gold standard? Nature 2013;10:78-89.) Based on the literature, a new gold
 standard for first-line surgical treatment for women with SUI has emerged—the synthetic
 midurethral sling inserted via retropubic or transobturator approach. (Cox A, Herschorn S, Lee
 L, Surgical management of female SUI: is there a gold standard? Nature 2013;10:78-89.)
 Studies have shown that midurethral slings are superior to both the Burch procedure and
 pubovaginal slings in terms of cure rates. (Schimpf MO, et al., Sling surgery for stress urinary
 incontinence in women: a systematic review and metaanalysis. Am J Obstet Gynecol
 2014;210:1.e1-1.e27.) Objective cure rate at one year is greater than 90%, and 85% at seventeen
 years. (Nilsson CG, et al., Seventeen years’ follow-up of the tension-free vaginal tape procedure
 for female stress urinary incontinence. Int Urogynecol J 2013 Aug;24(8):1265–1269.)

         Due to the increased morbidity of the open Burch procedure, it is less frequently taught in
 residencies and fellowships. Almost all residents, however, are trained on midurethral slings as
 the primary treatment option for SUI management. The TVT retropubic and transobturator
 approaches are commonly taught and performed in training programs throughout the world.

         The TVT and TVT-O have proven long-term efficacy due to the permanence and stability
 of the mesh and are superior in efficacy to retropubic suspensions. (Aigmueller T, et al., Ten-
 year follow-up after the tension-free vaginal tape procedure. Am J Obstet Gynecol 2011
 Nov;205(5):496.e1–5.) Compared with open or laparoscopic colposuspension the success rates
 are more stable with a lesser decline of success over years. Reported long-term success rates
 after open or laparoscopic colposuspension vary between 36% and 69%. (Alcalay M, et al.,
 Burch colposuspension: a 10-20 year follow up. Br J Obstet Gynaecol 1995;102:740-745; Barr
 S. The long-term outcome of laparoscopic colposuspension: a 10-year cohort study. Int.
 Urogynecol J 2009:20:443-5.)

         I have personally performed over 1,000 TVT procedures, including the TVT, the TVT-O
 and the more recent TVT-Exact and TVT-Abbrevo, and have found the products to be safe and
 efficacious when following the appropriate patient selection and the technique described by Drs.

                                                 13
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-5 Filed    Filed 05/26/20 Page
                                                     Page 15 of     97 of 155
                                                                36 PageID  #: 33496



 Ulmsten and de Leval, which is covered in the product instructions for use. I have lectured and
 proctored physicians on the safe use of the TVT, TVT-O, and several other devices since 2000.
 The devices are high quality, straightforward, and the polypropylene mesh is stable over time, as
 I have patients implanted 15 years ago and see no long-term complication trends. Since the
 television advertisements claiming pelvic mesh is a dangerous product, I have received hundreds
 of phone calls from anxious patients with fears of product recalls and future complications. The
 overwhelming majority of those anxious patients have excellent outcomes and no adverse
 symptoms. The effect on current patients is to create fear that a synthetic sling will cause future
 problems and many choose not to proceed to treatment. There is a 30% reduction in the number
 of patients undergoing stress incontinence and pelvic reconstructive surgery. (Perkins CE,
 Warrior K, Eilber KS, et al. The Role of Mid-urethral Slings in 2014: Analysis of the Impact of
 Litigation on Practice. Curr Bladder Dysfunct Rep (2015) 10:39-45. DOI 10.1007/s11884-014-
 0278-z; Koo K, Gormley EA, Abstract MP81-05: Transvaginal Mesh in the Media Following the
 2011 FDA Update.)

          The efficacy and safety of the TVT and TVT-O are well-reported. The TVT is the most
 studied midurethral sling, with more than 100 RCTs. The TVT-O has also been extensively
 studied—with thousands of patients included in the collection of studies. Additionally, the
 following professional organization position statements and guidelines and FDA publications
 have addressed the safety, efficacy, and widespread acceptance of synthetic mesh midurethral
 slings like the TVT and TVT-O.

            •   ACOG / AUGS Practice Bulletin No. 155; Nov. 2015.
                   o “Synthetic midurethral mesh slings are the most common primary surgical
                      treatment for stress urinary incontinence in women. Synthetic midurethral
                      slings demonstrate efficacy that is similar to traditional suburethral fascial
                      slings, open colposuspension, and laparoscopic colposuspension.
                      Compared with suburethral fascial slings, fewer adverse events have been
                      reported with synthetic midurethral slings. Voiding dysfunction is more
                      common with open colposuspension than with synthetic midurethral
                      slings. For these reasons, midurethral synthetic mesh slings have become
                      the primary surgical treatment for stress urinary incontinence in women.”
                   o “Although controversy exists about the role of synthetic mesh used in the
                      vaginal repair of pelvic organ prolapse, there are substantial safety and
                      efficacy data that support the role of synthetic mesh midurethral slings as a
                      primary surgical treatment option for stress urinary incontinence in
                      women. For this reason, and to clarify uncertainty for patients and
                      practitioners, the American Urogynecologic Society and the Society of
                      Urodynamics, Female Pelvic Medicine & Urogenital Reconstruction
                      published a position statement recognizing polypropylene mesh
                      midurethral slings as the ‘standard of care’ in the surgical treatment of
                      stress urinary incontinence.”
            •   AUGS-SUFU, Position Statement on Mesh Midurethral Slings for Stress
                Urinary Incontinence (Jan. 3, 2014)
                   o “The polypropylene mesh midurethral sling is the recognized worldwide
                      standard of care for the surgical treatment of stress urinary incontinence.

                                                 14
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-5 Filed    Filed 05/26/20 Page
                                                     Page 16 of     98 of 155
                                                                36 PageID  #: 33497



                    The procedure is safe, effective, and has improved the quality of life for
                    millions of women.”
                o   “Polypropylene material is safe and effective as a surgical implant.
                    Polypropylene has been used in most surgical specialties (including
                    general surgery, cardiovascular surgery, transplant surgery,
                    ophthalmology, otolaryngology, gynecology, and urology) for over five
                    decades.”
                o   “As a knitted implant for the surgical treatment of SUI, macroporous,
                    monofilament, light weight polypropylene has demonstrated long term
                    durability, safety, and efficacy up to 17 years.”
                o   “The monofilament polypropylene mesh MUS is the most extensively
                    studied anti-incontinence procedure in history. A broad evidence base
                    including high quality scientific papers in medical journals in the US and
                    the world supports the use of the MUS as a treatment for SUI. There are
                    greater than 2000 publications in the scientific literature describing the
                    MUS in the treatment of SUI. These studies include the highest level of
                    scientific evidence in the peer reviewed scientific literature. . . . No other
                    surgical treatment for SUI before or since has been subject to such
                    extensive investigation.”
                o   “Polypropylene mesh midurethral slings are the standard of care for the
                    surgical treatment of SUI and represent a great advance in the treatment of
                    this condition for our patients. Since the publication of numerous level
                    one randomized comparative trials, the MUS has become the most
                    common surgical procedure for the treatment of SUI in the US and the
                    developed world. This procedure has essentially replaced open and
                    transvaginal suspension surgeries for uncomplicated SUI. . . . Full-length
                    midurethral slings, both retropubic and transobturator, have been
                    extensively studied, are safe and effective relative to other treatment
                    options and remain the leading treatment option and current gold standard
                    for stress incontinence surgery. Over 3 million MUS have been placed
                    worldwide and a recent survey indicates that these procedures are used by
                    >99% of AUGS members.”
                o   “The polypropylene midurethral sling has helped millions of women with
                    SUI regain control of their lives by undergoing a simple outpatient
                    procedure that allows them to return to daily life very quickly. With its
                    acknowledged safety and efficacy it has created an environment for a
                    much larger number of women to have access to treatment. In the past,
                    concerns over failure and invasiveness of surgery caused a substantial
                    percent of incontinent women to live without treatment. One of the
                    unintended consequences of this polypropylene mesh controversy has
                    been to keep women from receiving any treatment for SUI. This
                    procedure is probably the most important advancement in the treatment of
                    stress urinary incontinence in the last 50 years and has the full support of
                    our organizations which are dedicated to improving the lives of women
                    with urinary incontinence.”



                                              15
      Case 3:20-cv-00851-MO
Case 2:12-md-02327   Document Document 89-104/21/16
                              2022-5 Filed    Filed 05/26/20 Page
                                                     Page 17 of     99 of 155
                                                                36 PageID  #: 33498



          •   AUGS Position Statement on Restriction of Surgical Options for Pelvic Floor
              Disorders (2013)
                 o “The American Urogynecologic Society strongly opposes any restrictions
                    by state or local medical organizations, healthcare systems, or insurance
                    companies which ban currently available surgical options performed by
                    qualified and credentialed surgeons on appropriately informed patients
                    with pelvic floor disorders.”
                 o “In a recent study involving 53 expert urologists and urogynecologists (of
                    whom >90% were fellowship trained) and who could select among many
                    surgical options, the full-length synthetic midurethral sling was the
                    preferred option in 93% for the surgical treatment of primary stress
                    incontinence. Full-length midurethral slings, both retropubic and
                    transobturator, have been extensively studied, are safe and effective
                    relative to other treatment options and remain the leading treatment option
                    and current gold standard of care for stress incontinence surgery.”
          •   AUA Position Statement on the Use of Vaginal Mesh for the Surgical
              Treatment of Stress Urinary Incontinence (Nov. 2011).
                 o “Suburethral synthetic polypropylene mesh sling placement is the most
                    common surgery currently performed for SUI. Extensive data exist to
                    support the use of synthetic polypropylene mesh suburethral slings for the
                    treatment of female SUI, with minimal morbidity compared with
                    alternative surgeries. Advantages include shorter operative
                    time/anesthetic need, reduced surgical pain, reduced hospitalization, and
                    reduced voiding dysfunction. Mesh-related complications can occur
                    following polypropylene sling placement, but the rate of these
                    complications is acceptably low.”
                 o “Multiple case series and randomized controlled trials attest to the efficacy
                    of synthetic polypropylene mesh slings at 5-10 years. This efficacy is
                    equivalent or superior to other surgical techniques. There is no significant
                    increase in adverse events observed over this period of follow-up. Based
                    on these data, the AUA Guideline for the Surgical Management of Stress
                    Urinary Incontinence (2009) concluded that synthetic slings are an
                    appropriate treatment choice for women with stress incontinence, with
                    similar efficacy but less morbidity than conventional non-mesh sling
                    techniques.”
          •   IUGA – Stress Urinary Incontinence – A Guide for Women (2011)
                 o “Before 1993, the treatment of stress incontinence often involved major
                    surgery with an abdominal incision. The most common treatment now
                    involves the use of a permanent sling that lies under the middle section of
                    the urethra.”
          •   ICS Fact Sheets: A Background to Urinary and Faecal Incontinence (July
              2013)
                 o “Worldwide, midurethral slings comprised of synthetic mesh have become
                    the treatment of choice for SUI. Long-term data are robust and
                    demonstrate durable efficacy with a very low complication rate,
                    particularly in experienced hands. Various techniques for sling placement

                                              16
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 18 Page  100 of 155
                                                           of 36 PageID  #: 33499



                     and different meshes are employed according to physician preference, but
                     all appear to be equally effective.
          •   Lucas MG, Ruud JLB, Burkhard FC, et al., EAU Guidelines on Surgical
              Treatment of Urinary Incontinence. European Urol 62 (2012) 1118-1129.
                 o “There has been a rapid adoption of midurethral synthetic sling insertion
                     as the first-line surgical option for SUI because it is effective, it is less
                     invasive, and patients recover more quickly. “
                 o Notes that a systematic review of midurethral slings with both open
                     colposuspension and laparoscopic colposuspension showed that retropubic
                     insertion of a synthetic midurethral sling gave equivalent patient-reported
                     and superior clinician-reported cure of SUI compared with
                     colposuspension at 12 months; transobturator insertion gave equivalent
                     patient-reported and clinician-reported cure of SUI at 12 months. Also
                     notes that midurethral sling insertion was associated with a lower rate of
                     new symptoms of urgency and voiding dysfunction compared with
                     colposuspension.
          •   NICE clinical guideline 171. Urinary incontinence: The management of
              urinary incontinence in women. (Sept. 2013).
                 o Notes that if conservative management for SUI has failed, the surgeon
                     should offer, among other options, a synthetic mid-urethral tape.
                 o Notes that, when offering a synthetic mid-urethral tape procedure,
                     surgeons should use procedures and devices for which there is current
                     high quality evidence of efficacy and safety. Footnote 11 then notes that
                     at the time of publication, TVT and TVT-O (among others) met this
                     guideline.
          •   FDA, Considerations about Surgical Mesh for SUI (2013)
                 o “Mesh sling procedures are currently the most common type of surgery
                     performed to correct SUI. Based on industry estimates, there were
                     approximately 250,000 of these procedures performed in 2010.”
                 o “The safety and effectiveness of multi-incision slings is well-established
                     in clinical trials that followed patients for up to one-year. Longer follow-
                     up data is available in the literature, but there are fewer of these long-term
                     studies compared to studies with one-year follow-up.”
          •   FDA Executive Summary, Surgical Mesh for Treatment of Women with
              Pelvic Organ Prolapse and Stress Urinary Incontinence (Sept. 8-9, 2011)
                 o Notes that the Burch has a long history, but its popularity has declined
                     over the past two decades with the introduction of less invasive
                     procedures. Notes that pubovaginal sling procedures using biologic graft
                     material (often autologous fascia) similarly have declined in popularity.
                 o Notes that anterior repair with Kelly plication to correct SUI in the
                     presence of a cystocele and bladder neck needle suspension is rarely
                     performed currently due to poor long-term outcomes.
                 o “A substantial number of quality clinical trials, as well as systematic
                     reviews, have been published for the first generation minimally invasive
                     slings that provide evidence of safety and effectiveness of these devices.”
                     (p. 28)

                                               17
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 19 Page  101 of 155
                                                           of 36 PageID  #: 33500



                     o “After considering all available data on both safety and effectiveness, and
                        considering the risk/benefit profile, it appears that new premarket clinical
                        trials are not warranted for minimally invasive slings for SUI unless the
                        device has new features (e.g. new polymer or coating) that could affect
                        device performance.”
             •   FDA 24-hr Summary – Ob/Gyn Devices Panel (Sept. 8-9, 2011)
                     o Notes that the panel consensus on retropubic and transobturator
                        suburethral slings was that the safety and effectiveness of these devices is
                        well-established.”
             •   Dmochowski RR, Blaivas JM, Gormley EA, et al., Update of AUA Guideline
                 on the Surgical Management of Female Stress Urinary Incontinence. J. Urol.
                 183: 1906-1914 (May 2010).
                     o Noting the importance of the transobturator technique in the treatment of
                        SUI and that midurethral slings are one treatment modality that may be
                        considered for the index patient.
             •   AUA Position Statement on the Use of Vaginal Mesh for the Surgical
                 Treatment of Stress Urinary Incontinence (2012)
                     o “Suburethral synthetic polypropylene mesh sling placement is the most
                        common surgery currently performed for SUI. Extensive data exist to
                        support the use of synthetic polypropylene mesh suburethral slings for the
                        treatment of female SUI, with minimal morbidity compared with
                        alternative surgeries. Advantages include shorter operative
                        time/anesthetic need, reduced surgical pain, reduced hospitalization, and
                        reduced voiding dysfunction. Mesh-related complications can occur
                        following polypropylene sling placement, but the rate of these
                        complications is acceptably low. Furthermore, it is important to recognize
                        that many sling-related complications are not unique to mesh surgeries and
                        are known to occur with non-mesh sling procedures as well. It is the
                        AUA’s opinion that any restriction of the use of synthetic polypropylene
                        mesh suburethral slings would be a disservice to women who choose
                        surgical correction of SUI.”
                     o “Multiple case series and randomized controlled trials attest to the efficacy
                        of synthetic polypropylene mesh slings at 5–10 years. This efficacy is
                        equivalent or superior to other surgical techniques. There is no significant
                        increase in adverse events observed over this period of follow-up. Based
                        on these data, the AUA Guideline for the Surgical Management of Stress
                        Urinary Incontinence (2009) concluded that synthetic slings are an
                        appropriate treatment choice for women with stress incontinence, with
                        similar efficacy but less morbidity than conventional non-mesh sling
                        techniques.”

        d.       The TVT-Secur

        In 2006, Ethicon released the TVT-Secur sling. It was a single-incision sling that was
 developed in response to surgeon feedback indicating they desired simpler and less-invasive
 techniques to reduce potential complications associated with SUI surgery. Single-incision slings

                                                 18
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 20 Page  102 of 155
                                                           of 36 PageID  #: 33501



 “were created in an attempt to further minimize both the morbidity associated with surgical
 treatment of SUI and the anesthetic requirements” of incontinence procedures. 1 The sling
 consisted of a strip of laser-cut Prolene polypropylene mesh that was 8 cm long and 1.1 cm wide.
 It was the same lightweight, Type I, knitted monofilament Prolene polypropylene mesh used in
 the TVT and TVT-O slings. The sling required only a small vaginal incision and no exit points
 were required. It had a unique tension-free mechanism. It could be implanted in one of two
 configurations—in a “hammock” configuration like the TVT-O device, or in a “U” configuration
 like the TVT retropubic device. The ends of the 8-cm strip of mesh were sandwiched by 2-cm
 absorbable fixation tips made of a fleece-like material that consistent of Vicryl suture yarn and
 PDS suture yarn. The procedure could be performed under either local anesthesia or general
 anesthesia, at the discretion of the surgeon. Following the surgery, normal activities of daily
 living like walking and driving could resume within 1-2 weeks. Sexual intercourse could be
 resumed in 4-6 weeks, and heavy lifting, straining, or high-impact aerobic exercise could resume
 in 3-4 weeks. The TVT-Secur was “intended for use in women as a sub-urethral sling for the
 treatment of stress urinary incontinence (SUI) resulting from urethral hypermobility and/or
 intrinsic sphincter deficiency.” 2

         Because the mesh used in the TVT-Secur is the same Prolene mesh used in the TVT and
 TVT-O products, the extensive body of literature supporting the safety and efficacy of the mesh
 used in the TVT and TVT-O products—including the studies discussed in this report—also
 supports the safety and efficacy of the mesh used in the TVT-Secur sling.

         Plaintiffs’ experts’ theory of mesh degradation is not substantiated in the literature or in
 my personal experience using polypropylene slings and mesh for incontinence treatment and
 pelvic reconstruction. Studies of explanted mesh are difficult to interpret, as there is damage to
 the material during explantation, treatment with chemicals to remove the collagen and biologic
 matrix that has incorporated into the mesh, and preparation onto slides for microscopic
 examination. There is no literature to support clinically significant mesh degradation in humans.
 Polypropylene suture is used by vascular surgeons on major blood vessels and in my practice
 when tying off renal arteries and repairing the largest vein in the body; the vena cava. If there
 was a question of degradation or loss of strength over time, Prolene suture would not be the
 suture of choice for the highest-risk surgery. The studies often relied on by plaintiffs’ experts
 offering the opinion that the Prolene mesh degrades are unreliable and do not support that theory.
 For instance, the Clavé study from 2010 is unreliable and does not show degradation. The
 chemical analyses performed on a limited subset of the specimens does not show degradation,
 and the scanning electron microscope photos in the study show surface cracking that could be
 from biologic material and handling or preservation rather than the cracking of the
 polypropylene itself. Also, the sample analyzed in the study was only 32 out of the 100
 specimens, and the authors fail to discuss how those 32 specimens were selected. They also fail
 to discuss whether the mesh was damaged during surgical explantation.

       Nor have I seen a problem with Prolene mesh roping or curling, unless it is placed
 improperly by over-tensioning. Nor have I observed particle loss from mechanically cut mesh in
 my practice. Even if there was particle loss from the mechanically cut Prolene mesh, the

 1
     Cox A, Herschorn S, Lee L, Surgical management of female SUI: is there a gold standard? Nature 2013;10:78-89.
 2
     ETH.MESH.02340568–755.

                                                          19
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 21 Page  103 of 155
                                                           of 36 PageID  #: 33502



 particles lost would be the same Prolene as the suture material that is FDA approved as safe and
 effective for use in the human body. Furthermore, the mesh does not contract or experience pore
 collapse when placed according to the IFU. Scar tissue that forms after any pelvic surgery
 contracts, and tissue incorporating into implanted mesh is no exception, but the mesh itself does
 not contract. (Nilsson, CG, Seventeen years’ follow-up of the tension-free vaginal tape
 procedure for female stress urinary incontinence. Int Urogynecol J 2013 Aug;24(8):1265–1269;
 Lukacz ES, et al., The effects of the tension-free vaginal tape on proximal urethral position: a
 prospective, longitudinal evaluation. Int Urogynecol J 2004 Jan-Feb;15(1):32-38.)

          There is no practical or clinical difference between mechanically cut or laser-cut mesh in
 terms of how it is deployed or incorporated in the tissues. (ETH.MESH.01784823-28 (CER
 Laser Cut Mesh); ETH.MESH.01222075-79 (Elongation Characteristics of Laser Cut Prolene
 Mesh for TVT); ETH.MESH.06696367-79 (Performance Evaluation of TVT U Prolene Mesh);
 Lin AT, et al., In Vivo tension Sustained by Fascial Sling in Pubovaginal Sling Surgery for
 Female Stress Urinary Incontinence, J Urol , 2005 Mar;173(3):894–897.) Mesh is not pre-
 stretched to 50% elongation before it is used, and the TVT-Secur device is implanted with
 inserters in a tension-free manner. The mesh sling must be stiff enough to lie flat against the
 posterior urethra with porosity large enough to encourage fibroblast and collagen deposition for
 incorporation, and it must have enough elasticity to allow give during dynamic stressing that
 occurs with activity. Mesh requires an optimal level of stiffness to properly do its job supporting
 the urethra. Based on my experience and my assessment of the available literature, I do not
 believe that any particle loss from mechanically cut Prolene polypropylene mesh has a clinical
 effect in patients. Nor do I think laser-cut mesh is unnecessarily or excessively stuff. Both laser-
 cut and mechanically cut Prolene mesh is safe and efficacious as demonstrated by the medical
 literature and in my experience.

         Plaintiffs’ experts assert that the Prolene mesh used in the TVT, TVT-O, and TVT-Secur
 devices is small-pore mesh. That is not true. The Ethicon TVT mesh has the largest porosity,
 and greatest elasticity of all the SUI meshes available. It is also monofilament and knitted to
 provide the optimal combination of biocompatibility and minimal inflammatory response. The
 mesh—which has a pore size of approximately 1,379 microns—allows adequate tissue
 incorporation/ingrowth. (Amid PK, Classification of biomaterials and their related
 complications in abdominal wall hernia surgery. Hernia 1997;1:15–21.) The Ethicon mesh is not
 associated with an increased risk of infection compared to other SUI vaginal surgeries. Verified
 infection after TVT, TVT-O, or TVT-Secur is a very rare occurrence, and has not occurred in my
 practice in over 1,000 cases and 15 years.

         Nor is the mesh “heavyweight” mesh. Synthetic slings require an optimal amount of
 weight/density to properly do their job supporting the urethra without adversely affecting its
 function. Indeed, seventeen-year follow-up substantiates the biocompatibility of the
 weight/stiffness/elasticity and porosity of the TVT mesh. At seventeen years of follow-up,
 91.3% of patients’ SUI was objectively cured, and there was no tape rejection, no clinically
 significant contracture, and only one mesh exposure, which was not symptomatic and was due to
 vaginal atrophy in an elderly patient. (Nilsson, CG, Seventeen years’ follow-up of the tension-
 free vaginal tape procedure for female stress urinary incontinence. Int Urogynecol J 2013
 Aug;24(8):1265–1269.)

                                                 20
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 22 Page  104 of 155
                                                           of 36 PageID  #: 33503




          Plaintiffs’ experts have also claimed that the mesh used in the TVT, TVT-O, and TVT-
 Secur devices is cytotoxic and causes an excessive inflammatory response. This is not supported
 in the literature, and I have not seen it in my practice. The long-term studies on the TVT and
 TVT-O mesh belie this claim. Studies show minimal inflammation associated with the Prolene
 mesh used in TVT, TVT-O, and TVT-Secur, and practically no tissue reaction out to two years.
 (Falconer C, et al. Influence of different sling materials on connective tissue metabolism in stress
 urinary incontinent women. Int Urogynecol J Pelvic Floor Dysfunct. 2001;12 Suppl 2:S19-23.)
 The mere presence of chronic inflammatory cells in a tissue specimen does not prove that there is
 a chronic inflammatory process that is active. Such cells can be present but quiescent, and can
 be seen in vaginal tissue even when no mesh or other foreign body has been implanted. If it
 were the case that the mesh in the TVT family of devices was cytotoxic, the many intermediate-
 and long-term studies on the products would not demonstrate the high efficacy and low
 complication rates that they do.

          Any suggestion by plaintiffs’ experts that PVDF is a safer alternative to the Prolene mesh
 used in the TVT family of devices is untenable. There is no mid- or long-term data supporting
 the use of PVDF in SUI treatment. To my knowledge, PFDF has not been studied to treat SUI in
 women. Plaintiffs’ experts may also claim that Ultrapro or Vypro mesh would have been a safer
 alternative to the Prolene mesh used in the TVT and TVT-O slings. However, with respect to
 Vypro, a study of the use of that mesh in pelvic floor surgery showed that tolerance of the Vypro
 mesh was “very poor” and associated with high rates of erosion and cicatrisation. (Denis S, et
 al., Pelvic Organ Prolapse Treatment by the Vaginal Route Using a Vypro Composite Mesh:
 Preliminary Results About 106 Cases. ICS IUGA 2004; Abstract 620.) With respect to Ultrapro,
 the study often cited by plaintiffs’ experts in support of that material as a safer alternative to the
 Prolene TVT mesh is the Okulu study, but that study does not compare TVT mesh to Ultrapro
 mesh, and involves a technique completely different than the one used to implant the TVT or
 TVT-O slings. (Okulu E, et al., Use of three types of synthetic mesh material in sling surgery: A
 prospective randomized clinical trial evaluating effectiveness and complications. Sand J Urol
 2013;47:217–224.) Ethicon studied the use of Ultrapro mesh with a sheath and found that the
 force required to remove the sheath was excessive, which it believed to be due to the fact that the
 mesh stuck to the sheath after sterilization. (R&D Memorandum on PA Mesh Assessments for
 TVTO-PA, ETH.MESH.09922570.)

          Plaintiffs’ experts sometimes suggest or claim that the Prolene mesh is carcinogenic, but
 there is no reliable scientific evidence to support the theory or claim that polypropylene can
 cause cancer or sarcoma. In the more than 1,000 cases in which I have implanted one of the
 TVT family of products, I have not seen a single case of cancer attributable to the mesh. The
 literature also refutes plaintiffs’ experts’ suggestion or claim. (King AB, et al. Is there an
 association between polypropylene midurethral slings and malignancy? Urology. 2014
 Oct;84(4):789-92; King AB, Goldman HB. Current controversies regarding oncologic risk
 associated with polypropylene midurethral slings. Curr Urol Rep. 2014 Nov;15(11):453; Linder
 BJ, et al., Evaluation of the local carcinogenic potential of mesh used in the treatment of female
 stress urinary incontinence. Int Urogynecol J 2016 DOI 10.1007/s00192-016-2961-4.) The
 medical literature contains no case reports of tumors caused by or associated with polypropylene
 implantation despite the fact that polypropylene has been implanted in millions of people.

                                                  21
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 23 Page  105 of 155
                                                           of 36 PageID  #: 33504



 (AUGS & SUFU, Frequently Asked Questions by Providers—Mid-urethral Slings for Stress
 Urinary Incontinence (available at http://www.augs.org/p/bl/et/blogaid=194).)

          The mesh used in the TVT family of slings is the most commonly used mesh for
 treatment of stress urinary incontinence and is state of the art. Many long- and intermediate-term
 studies consistently show that the TVT and TVT-O—which use the same mesh as the TVT-
 Secur, positioned at the same spot in the body under the mid-urethra—are safe and effective and
 the standard of care for surgical treatment of SUI. (Serati M, et al., TVT for the Treatment of
 Urodynamic Stress Incontinence: Efficacy and Adverse Effects at 13-Year Follow-Up.
 Neurourol and Urodynamics DOI 10.1002/nau; Groutz A, et al., Long-Term Outcome of
 Transobturator Tension-Free Vaginal Tape: Efficacy and Risk Factors for Surgical Failure. J of
 Women’s Health 2011;20(10):1525–1528; Laurikainen E, et al., Five-year Results of a
 Randomized Trial Comparing Retropubic and Transobturator Midurethral Slings for Stress
 Incontinence. Eur Urol 2014 Jun;65(6):1109–14; Athanasiou S, et al., Seven years of objective
 and subjective outcomes of transobturator (TVT-O) vaginal tape: Why do tapes fail?
 2014;25:219–225; Serati M, et al., TVT-O for the Treatment of Pure Urodynamic Stress
 Incontinence: Efficacy, Adverse Effects, and Prognostic Factors at 5-Year Follow-up. Eur Urol
 2013;63:872–78; Liapis A, et al., Efficacy of inside-out transobturator vaginal tape (TVTO) at 4
 years follow up. 2010;148:199–201; Angioli R, et al., Tension-Free Vaginal Tape Versus
 Transobturator Suburethral Tape: Five-Year Follow-up Results of a Prospective, Randomised
 Trial. Eur Urol 2010;58:671–677; Cheng D, et al., Tension-free vaginal tape-obturator in the
 treatment of stress urinary incontinence: a prospective study with five-year follow-up. Eur J
 Obstet Gynecol Reprod Biol 2012;161:228–231; Heinonen P, et al., Tension-free vaginal tape
 procedure without preoperative urodynamic examination: long-term outcome. Int J Urol. 2012
 Nov;19(11):1003-9; Aigmueller T, et al., Ten-year follow-up after the tension-free vaginal tape
 procedure. Am J Obstet Gynecol 2011 Nov;205(5):496.e1-5; Olsson I, et al., Long-term efficacy
 of the tension-free vaginal tape procedure for the treatment of urinary incontinence: a
 retrospective follow-up 11.5 years post-operatively. Int Urogynecol J 2010 Jun;21(6):679–683;
 Liapis A, et al., Long-term efficacy of tension-free vaginal tape in the management of stress
 urinary incontinence in women: efficacy at 5- and 7-year follow-up. Int Urogynecol J 2008
 Nov;19(11):1509-1512; Svenningsen R, et al., Long-term follow-up of the retropubic tension-
 free vaginal tape procedure. Int Urogynecol J. 2013 Aug;24(8):1271-8; Chêne G, et al., Long-
 term results of tension-free vaginal tape (TVT) for the treatment of female urinary stress
 incontinence. Eur J Obstet Gynecol Reprod Biol 2007 Sep;134(1):87-94; Vesna Bjelic-Radisic
 V, Patient-related Outcomes and Urinary Continence Five Years After the Tension-Free Vaginal
 Tape Operation, Neurourology and Urodynamics 2011;30(8):1512-1517 (2011); Jin-Yan Wu JY,
 et al., Surgical therapies of female stress urinary incontinence: experience in 228 cases, Int
 Urogynecol J 2010 Jun;21(6):645-649; Song PH, et al., The 7-year outcome of the tension-free
 vaginal tape procedure for treating female stress urinary incontinence. BJU Int 2009
 Oct;104(8):1113-1117; Kuuva N, et al., Long-term results of the tension-free vaginal tape
 operation in an unselected group of 129 stress incontinent women. Acta Obstet Gynecol
 2006;85(4):482-487; Celebi I, et al., Results of the tension-free vaginal tape procedure for
 treatment of female stress urinary incontinence: a 5 year follow-up. Arch Gynecol Obstet 2009
 Apr;279(4):463-467; Prien-Larsen JC, et al., Long-term outcomes of TVT and IVS operations
 for treatment of female stress urinary incontinence: monofilament vs. multifilament
 polypropylene tape. Int Urogynecol J 2009 Jun;20(6):703-709; Jelovsek JE, et al, Randomized

                                                22
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 24 Page  106 of 155
                                                           of 36 PageID  #: 33505



 trial of laparoscopic Burch colposuspension versus tension-free vaginal tape: long-term follow
 up. BJOG 2008 Jan;115(2):219-225; McCracken GR, et al., Five Year Follow-up Comparing
 Tension-Free Vaginal Tape and Colposuspension, Ulster Med J 2007 Sep;76(3):146-149.)

         The incidence of mesh exposure is low, but varies in studies between 1 and 5%. A short
 version Cochrane Review in 2011 observed that slings made of monofilament synthetic mesh—
 like the mesh in the TVT, TVT-O, and TVT-Secur—were more efficacious and were associated
 with a lower rate of erosion than multifilament non-type-1 meshes. (Ogah J, Cody DJ, Rogerson
 L. Minimally invasive synthetic suburethral sling operations for stress urinary incontinence in
 women: a short version Cochrane review. Neurourol Urodyn. 2011 Mar;30(3):284-91.) Mesh
 exposure is usually asymptomatic, can cause a vaginal discharge and possibly cause coital
 discomfort in the male partner. Management can be topical application of vaginal estrogen or
 excision under local anesthetic in the office. Removal of the exposed mesh can still provide
 continence 80-90% of the time. (Klutke C, et al., Urinary retention after tension-free vaginal
 tape procedure: incidence and treatment. Urology 2001 Nov;58(5):697-701.) While mesh-
 related complications can occur after placement of a polypropylene sling, the rate of such
 complications is acceptably low. The rate of reoperation has consistently reported to be
 approximately 2–5% for voiding dysfunction and exposure after a decade or more of follow-up
 in various studies, meta-analyses, and database reviews. (Welk B, et al., Removal or Revision of
 Vaginal Mesh Used for the Treatment of Stress Urinary Incontinence. JAMA Surg 2015
 Sep;9:1–9; Unger CA, et al., Indications and risk factors for midurethral sling revision. Int
 Urogynecol J 2015 Jul 2; Schimpf MO, et al., Sling surgery for stress urinary incontinence in
 women: a systematic review and metaanalysis. Am J Obstet Gynecol 2014;210:1.e1-1.e27;
 Laurikainen E, et al., Five-year Results of a Randomized Trial Comparing Retropubic and
 Transobturator Midurethral Slings for Stress Incontinence. Eur Urol 2014 Jun;65(6):1109–14;
 Jonsson Funk M, et al., Sling revision/removal for mesh erosion and urinary retention: long-term
 risk and predictors. Am J Obstet Gynecol 2013 Jan;208(1):73.e1–7; Svenningsen R, et al., Long-
 term follow-up of the retropubic tension-free vaginal tape procedure. Int Urogynecol J. 2013
 Aug;24(8):1271-8; Nguyen JN, et al., Perioperative complications and reoperations after
 incontinence and prolapse surgeries using prosthetic implants. Obstet Gynecol 2012 Mar;
 119(3):539–546; Ogah, J., Cody, JD, Rogerson, L., Minimally invasive synthetic suburethral
 sling operations for stress urinary incontinence in women. Cochrane Database of Systematic
 Reviews 2009, Issue 4. Art. No.: CD006375. DOI:10.1002/14651858.CD006375.pub2; Novara
 G, et al., Complication Rates of Tension-Free Midurethral Slings in the Treatment of Female
 Stress Urinary Incontinence: A Systematic Review and Meta-Analysis of Randomized
 Controlled Trials Comparing Tension-Free Midurethral Tapes to Other Surgical Procedures and
 Different Devices. Eur Urol 2008 Feb;53(2):288–309.)

           The 2013 Cox article, which noted that midurethral slings inserted via either a
 transobturator or retropubic approach have become the new gold standard first-line treatment for
 women with uncomplicated SUI—noted that, while mini-slings have not yet been shown to be as
 effective as full-length slings, the single-incision slings “have a number of benefits, including
 decreased operative times and early return to regular activities.” The authors also noted that “the
 overall rate of complications associated with single-incision slings is considered to be acceptable
 . . . .” (Cox A, Herschorn S, Lee L, Surgical management of female SUI: is there a gold
 standard? Nature 2013;10:78-89.)

                                                 23
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 25 Page  107 of 155
                                                           of 36 PageID  #: 33506




         In 2011, I co-authored The TVT Worldwide Observational Registry for Long-Term Data:
 Safety and Efficacy of Suburethral Sling Insertion Approaches for Stress Urinary Incontinence in
 Women. What we found was that the TVT-Secur patients had the lowest proportion of women
 needing an overnight hospital stay, and they had the shortest operative time. Most of the women
 who were treated with a TVT-Secur had the surgery under local anesthesia, thereby avoiding the
 risks associated with general anesthesia. The TVT-Secur patients experienced low rates of
 adverse events. We also found that patients receiving the TVT-Secur had the fastest median time
 to return to housework, intercourse, employment, and hobbies. The results showed that the
 TVT-Secur was very effective, with objective (84.2%) and subjective efficacy rates that were
 similar to those seen with the TVT. (Tincello DG, et al., The TVT Worldwide Observational
 Registry for Long-Term Data: Safety and Efficacy of Suburethral Sling Insertion Approaches for
 Stress Urinary Incontinence in Women. J Urol 2011; 186:2310–2315.)

          The published literature on the TVT-Secur reported variable efficacy rates with the sling,
 but many studies, like the 2011 worldwide observational registry study, showed the device to be
 very effective. (Dmochowski RR, Update of AUA Guideline on the Surgical Management of
 Female Stress Urinary Incontinence. Urology 2010;183:1906-1914 (87.5% cure rate with
 sustained improvement in quality of life); Neuman M, Perioperative complications and early
 follow-up with 100 TVT-SECUR procedures. J Minim Invasive Gynecol 2008 Jul-Agu;15(4):
 480-4; (94% success rate); Meschia M, et al., TVT-secur: a minimally invasive procedure for the
 treatment of primary stress urinary incontinence. One year data from a multi-centre prospective
 trial. Int Urogynecol J Pelvic Floor Dysfunct 2009 Mar;20(3):313-7 (78% success rate); Oliveira
 R, et al., Short-term assessment of a tension-free vaginal tape for treating female stress urinary
 incontinence. BJU Int 2009 Jul;104(2):225-8 (85% cure/improvement rate after an average of 15
 months of follow-up); Han JY, et al., Efficacy of TVT-SECUR and factors affecting cure of
 female stress urinary incontinence: 3-year follow-up. Int Urogynecol J 2012 Dec;23(12):1721-6
 (91.7% success rate at 3 years, and a 85.4% patient satisfaction rate); Khandwala S, et al.,
 Experience with TVT-SECUR sling for stress urinary incontinence: a 141-case analysis. Int
 Urogynecol J 2010 Jul;21(7):767-72 (85% patient satisfaction rate with no intra-operative
 complications); Tommaselli GA, et al., Efficacy and safety of TVT-O and TVT-Secur in the
 treatment of female stress urinary incontinence: 1-year follow-up. Int Urogynecol J 2010
 Oct;21(10):1211-7 (81.6% success rate); Shin YS, et al., Efficacy and safety of the TVT-SECUR
 and impact on quality of life in women with stress urinary incontinence: a 2-year follow-up.
 Korean J Urol 2011 May;52(5):335-9 (76% success rate at two years post-op); Bianchi-Ferraro
 AM, et al., Single-incision sling compared with transobturator sling for treating stress urinary
 incontinence: a randomized controlled trial. Int Urogynecol J 2013 Sep;24(9):1459-65 (noting
 comparable efficacy to TVT-O); Tommaselli GA, Tension-free vaginal tape-obturator and
 tension-free vaginal tape-Secur for the treatment of stress urinary incontinence: a 5-year follow-
 up randomized study. Eur J Obstet & Gynecol and Reprod Biol 2015;185:151–55 (finding that
 there was no statistically significant difference in objective and subjective cure rates between the
 TVT-Secur and TVT-O devices).)

        Many studies also support the safety of the TVT-Secur. In 2011, Walsh and colleagues
 published a systematic review of studies reporting 12-month outcomes following TVT-Secur
 surgery. They analyzed ten studies involving 1,178 women and found a vaginal perforation rate

                                                 24
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 26 Page  108 of 155
                                                           of 36 PageID  #: 33507



 of 1.5%, a mesh exposure incidence of 2.4%, a urinary retention rate of 2.3%, a UTI rate of
 4.4%, a dyspareunia rate of 1%, and a rate of return to the operating room for complications of
 only 0.8%. (Walsh CA, TVT-Secur mini-sling for stress urinary incontinence: a review of
 outcomes at 12 months. BJU Int 2011;108:652–57.) Barber and colleagues, in a randomized
 controlled trial published in 2012, found that success rates with the TVT-Secur were similar to
 those with the TVT, but the patients receiving the TVT-Secur had less post-operative pain. They
 were also more likely to be sent home without a catheter, and to experience intra-operative
 bladder injuries. (Barber MD, et al., Single-Incision Mini-Sling Compared With Tension-Free
 Vaginal Tape for the Treatment of Stress Urinary Incontinence; A Randomized Controlled Trial.
 Obstet & Gynecol 2012;119(2):328–337.) In another 2011 meta-analysis of TVT-Secur studies,
 Abdel-Fattah found, based on an analysis of nine randomized controlled trials with a mean
 follow-up period of nine months, they noted that, although single-incision slings had
 significantly lower cure rates than full-length midurethral slings, the single-incision slings did
 have low complication rates in all of the studies. (Abdel-Fattah, M, et al., Single-Incision Mini-
 Slings Versus Standard Midurethral Slings in Surgical Management of Female Stress Urinary
 Incontinence: A Meta-Analysis of Effectiveness and Complications. Eur Urol 2011;60:468–480.)
 Other studies also indicate that the TVT-Secur was a safe device. (Tommaselli GA, et al.,
 Efficacy and safety of TVT-O and TVT-Secur in the treatment of female stress urinary
 incontinence: 1-year follow-up. Int Urogynecol J 2010 Oct;21(10):1211-7 (noting that TVT-
 Secur and TVT-O were both safe and had low complication rates; Bianchi-Ferraro AM, et al.,
 Single-incision sling compared with transobturator sling for treating stress urinary incontinence:
 a randomized controlled trial. Int Urogynecol J 2013 Sep;24(9):1459-65 (noting the TVT-Secur
 was associated with less groin pain than the TVT-O).)

        The 2014 systematic review and meta-analysis by Schimpf and colleagues in the Society
 for Gynecologic Surgeons Systematic Review Group noted that mini-slings such as the TVT-
 Secur had complication rates similar to—and often more favorable than—traditional procedures
 like pubovaginal slings and the Burch procedure:

                          Single-Incision Sling    Pubovaginal Sling        Burch
 Estimated Blood Loss     1.1%                     NR                       NR
 > 200 mL
 Transfusion              0.51%                    1.9%                     0.00%
 Hematoma                 0.85%                    2.2%                     1.4%
 Dyspareunia              0.74%                    0.99%                    NR
 Return to Operating      1.4%                     1.6%                     0.28%
 Room for Erosion
 Exposure                 2.0%                     5.4%                     0.00%
 Wound Infection          0.31%                    2.6%                     7.0%
 Urinary Tract            3.6%                     4.2%                     5.9%
 Infection
 Bowel Injury             0.74%                    NR                       3.13%
 Overactive Bladder /     5.4%                     8.6%                     4.3%
 Urgency
 Retention Lasting < 6    2.1%                     12%                      17%
 Weeks Post-Op

                                                  25
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 27 Page  109 of 155
                                                           of 36 PageID  #: 33508



 Retention Lasting > 6    3.3%                      7.5%                     7.6%
 Weeks Post-Op
 Return to Operating      1.9%                      3.0%                     0.00%
 Room for Erosion
 Groin Pain               1.9%                      0.34%                    1.10%
 Leg Pain                 1.6%                      NR                       NR
 Bladder Perforation      0.85%                     2.3%                     2.8%
 Urethral Perforation     2.7%                      NR                       0.00%
 Vaginal Perforation      1.3%                      0.00%                    0.21%

 The authors also noted that, while dyspareunia was more common with mini-slings than full-
 length retropubic or trans-obturator slings, absolute rates of dyspareunia were low for all of these
 devices. They also noted that mini-slings “have similar rates of postoperative overactive bladder
 symptoms compared with obturator slings, but lower rates compared with retropubic slings.” In
 terms of mesh exposure, they noted that “[e]xposure of sling postoperatively is similar between
 obturator slings and minislings, but retropubic slings have lower rates than both other types.”
 (Schimpf MO, et al., Sling surgery for stress urinary incontinence in women: a systematic review
 and metaanalysis. Am J Obstet Gynecol 2014;210:1.e1-1.e27.)

         The low rates of dyspareunia seen with mini-slings, as reported in the Schimpf and Walsh
 studies is supported by several other studies as well. (Tommaselli GA, et al., Tension-Free
 Vaginal Tape-O and –Secur for the Treatment of Stress Urinary Incontinence: A Thirty-Six-
 Month Follow-Up Single-Blind, Double-Arm Randomized Study. J Minimally Invasive Gynecol
 2013;20(2):198–204 (TVT-Secur had no detrimental effect on sexual function); Tommaselli GA,
 Tension-free vaginal tape-obturator and tension-free vaginal tape-Secur for the treatment of
 stress urinary incontinence: a 5-year follow-up randomized study. Eur J Obstet & Gynecol and
 Reprod Biol 2015;185:151–55 (no patients reported dyspareunia); Lee K-S, et al., A Prospective
 Multicenter Randomized Comparative Study Between the U- and H-type Methods of the TVT
 SECUR Procedure for the Treatment of Female Stress Urinary Incontinence: 1-Year Follow-Up.
 Eur Urol 2010;57:973–979 (no patients reporting post-operative dyspareunia); Tang X, et al.,
 Outcome and sexual function after transobturator tape procedure versus tension-free vaginal tape
 SECUR: a randomized controlled trial. Menopause 2014;21(6):1–5 (out of 39 patients, only one
 reported dyspareunia).)

         Immediate post-operative pain was reduced with the TVT-Secur device, and that is
 supported in several randomized controlled trials. (Tommaselli GA, et al., Tension-Free Vaginal
 Tape-O and -Secur for the Treatment of Stress Urinary Incontinence: A Thirty-Six-Month
 Follow-Up Single-Blind, Double-Arm, Randomized Study. J Minim Invasive Gynecol 2013
 Mar-Apr;20(2):198-204 (noting TVT-Secur patients had significantly less pain in the immediate
 postoperative period than TVT-O patients); Barber MD, et al., Single-Incision Mini-Sling
 Compared With Tension-Free Vaginal Tape for the Treatment of Stress Urinary Incontinence; A
 Randomized Controlled Trial. Obstet & Gynecol 2012;119(2):328–337; Hinoul P, et al., A
 Randomized, Controlled Trial Comparing an Innovative Single Incision Sling With an
 Established Transobturator Sling to Treat Female Stress Urinary Incontinence. Urology 2011
 Apr;185:1356–62 (noting that TVT-Secur patients experienced significantly less pain during the
 first two weeks after surgery and returned significantly earlier to normal daily activity); Tang X,

                                                 26
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 28 Page  110 of 155
                                                           of 36 PageID  #: 33509



 et al., Outcome and sexual function after transobturator tape procedure versus tension-free
 vaginal tape SECUR: a randomized controlled trial. Menopause 2014;21(6):1–5 (noting
 groin/thigh pain was higher in the TVT-O group than the TVT-Secur group, and operative time
 was shorter in the TVT-Secur group); Hinoul P, et al., A Randomized, Controlled Trial
 Comparing an Innovative Single Incision Sling With an Established Transobturator Sling to
 Treat Female Stress Urinary Incontinence. J Urol 2011; 185(4):1356–1362.)

         Mesh erosions and exposures are a known complication following any mesh surgery, but
 erosions also occur with permanent sutures following native tissue repairs or with biological
 grafts. Mesh exposure and erosion are essentially wound complications. Wound complications
 can also occur with other surgeries. Mesh exposure can be caused by poor quality tissue due to
 atrophic vaginitis, history of pelvic radiation therapy, too superficial dissection prior to sling
 placement, hematoma, and early sexual activity. While there are studies that have reported
 elevated exposure rates with the TVT-Secur, but most studies show low exposure rates. As
 noted above, the Walsh meta-analysis observed a 2.4% erosion rate across ten studies involving
 1,178 women. Tommaselli and colleagues, in their 2013 randomized controlled trial, saw only
 one additional mesh exposure in the TVT-Secur group than in the TVT-O group. The overall
 rate of exposure in the TVT-Secur group was 4.7%. (Tommaselli GA, et al., Tension-Free
 Vaginal Tape-O and –Secur for the Treatment of Stress Urinary Incontinence: A Thirty-Six-
 Month Follow-Up Single-Blind, Double-Arm Randomized Study. J Minimally Invasive Gynecol
 2013;20(2):198–204.) In their 2010 study, Lee and colleagues saw no mesh erosions occur
 during the one-year study period. (Lee K-S, et al., A Prospective Multicenter Randomized
 Comparative Study Between the U- and H-type Methods of the TVT SECUR Procedure for the
 Treatment of Female Stress Urinary Incontinence: 1-Year Follow-Up. Eur Urol 2010;57:973–
 979.) In Barber and colleagues’ 2012 randomized controlled trial, the authors saw no mesh
 exposures in the one-year follow-up period. (Barber MD, et al., Single-Incision Mini-Sling
 Compared With Tension-Free Vaginal Tape for the Treatment of Stress Urinary Incontinence; A
 Randomized Controlled Trial. Obstet & Gynecol 2012;119(2):328–337.) In the 2011 registry
 study I co-authored, we saw a 1.2% exposure rate with the TVT-Secur. (Tincello DG, et al., The
 TVT Worldwide Observational Registry for Long-Term Data: Safety and Efficacy of
 Suburethral Sling Insertion Approaches for Stress Urinary Incontinence in Women. J Urol 2011;
 186:2310–2315.)

         While the studies on the TVT-Secur, including those discussed or cited above describe
 varying efficacy and complication rates for the TVT-Secur, when considered as a whole, it is my
 opinion that the data demonstrates the safety and efficacy of the TVT-Secur. The fact that some
 studies have noted decreased durability for the TVT-Secur as compared to full-length, multi-
 incision slings or decreased efficacy compared to other treatment options does not render the
 device defective.

         There are some systematic reviews that report the TVT-Secur is not as durable as a full-
 length sling and has a higher failure rate in women with more severe SUI. However, this does
 not mean the device is defective. Rather, it was an effective treatment for many patients with
 mild SUI that desired a less-invasive procedure. The TVT-Secur had a low complication rate
 and was straightforward to perform.



                                                27
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 29 Page  111 of 155
                                                           of 36 PageID  #: 33510



 V. The TVT-Secur’s Instructions for Use and Other Educational Materials

        a.      Ethicon’s Instructions for Use

         The instructions for use (IFU) included with the TVT-Secur are specific in detail to allow
 the safe deployment of the device. (ETH.MESH.02340568–755.) Both the “U” and the
 “hammock” procedures are adequately described such that a trained and experienced physician
 could implant the device safely and effectively. The indications are adequately described in
 terms of patient selection. The contraindications and warnings are adequately described based
 on my experience and review of the literature. The IFU is not intended to teach surgical
 technique, which is assumed to have been in the skill set of the surgeon. Every pelvic surgeon
 should be aware of the intraoperative and post-operative risks inherent. A surgeon need not be
 taught the entire practice of medicine in an IFU. The totality of surgical risks of pelvic floor
 surgeries is not included in the IFU for gynecologists or urologists. Surgeons have training from
 numerous sources—medical school, residency, maybe fellowships, colleagues’ experiences, their
 own experience, literature, etc. The IFU is used by the surgeon to become familiar with the
 specific device, the handling, placement and deployment in the manner that maximizes safety
 and efficacy. The IFU is never assumed to be a completely comprehensive list of all the possible
 adverse complications that are low prevalence. The IFU is intended to guide the surgeon to
 perform the procedure as the device was designed.

        The IFU advises surgeons that:

    •   Failure to properly follow instructions may result in improper functioning of the Device
        and may lead to injury.
    •   It is not a comprehensive reference to surgical technique for treating SUI.
    •   The device should only be used by physicians trained in the surgical treatment of SUI and
        specifically in implanting the TVT-Secur system, and should be familiar with surgical
        technique for urethral suspensions.
    •   All information should be reviewed carefully prior to performing this procedure.
    •   The TVT-Secur System “should be used with care to minimize the chance of damage to
        large vessels, nerves, bladder and bowel. It is important to pay attention to the specific
        patient’s anatomy while inserting the Device.”
    •   “Bleeding may occur post-operatively. Observe for any symptoms or signs before
        releasing the patient from hospital.”
    •   “Ensure that the tape is placed with no tension under the mid-urethra.”
    •   “Acceptable surgical practice should be followed for the GYNECARE TVT SECUR
        System as well as for the management of contaminated or infected wounds.”
    •   “Do not perform this procedure if you think the surgical site may be infected or
        contaminated. If the Device is used in contaminated areas it must only be with the
        understanding that subsequent infection may require its removal.”
    •   “As with other incontinence procedures, de novo detrusor instability may occur following
        a sub-urethral sling procedure utilizing the GYNECARE TVT SECUR System. To
        minimize this risk, make sure to place the tape as described above.”
    •   “Punctures or lacerations or injury to vessels, nerves, bladder, urethra, or bowel may
        occur during instrument passage and may require surgical repair.”

                                                 28
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 30 Page  112 of 155
                                                           of 36 PageID  #: 33511



    •   “Transitory local irritation at the wound site and a transitory foreign body response may
        occur. This response could result in extrusion, erosion, fistula formation or
        inflammation.”
    •   “Over-correction, i.e., too much tension applied to the tape, may cause temporary or
        permanent lower urinary tract obstruction.”
    •   “Under-correction or incorrect placement may result in incomplete or no relief from
        urinary incontinence.”

          The IFU package insert is included with each device and is used as a guide for the
 surgeon to use the device in the manner it is intended. The IFU lists indications for use,
 contraindications, most prevalent risks, and a detailed description of how to deploy the device
 safely. IFUs in general are not intended to list every possible adverse event or post-operative
 complication. The IFU is generally understood to be a guide in the proper deployment of the
 device. Surgeons are trained in residency how to manage vaginal surgery with anatomy,
 handling of tissues, defining surgical planes, and perioperative care. The IFU functions to
 describe how this particular device is best deployed but the patient selection, preoperative
 informed consent, perioperative management, and post-operative care of the patient is the
 surgeon’s responsibility. The patient’s degree of severity of vaginal prolapse and stress
 incontinence, with consideration of patient age, tissue integrity, previous pelvic surgery, health
 status, tobacco usage, and steroid or opioid dependency leads the surgeon to make a complex
 decision about surgical approach and the likelihood of success.

        b.      Ethicon’s Training Programs

          Ethicon began offering didactic training programs for the TVT in 1999 and later for
 pelvic prolapse repair when both Gynemesh and Prolift became available. The programs include
 didactic lectures followed by hands-on cadaver labs with experienced pelvic surgeons at each
 cadaver station guiding the use of the devices with step-by-step instructions about the use of the
 products. The didactic lectures are provided by faculty members invited from academia and
 private practice with extensive backgrounds in pelvic surgery and the use of Ethicon products.
 When the TVT-Secur was introduced in 2006, Ethicon also provided these lectures and training
 sessions on the TVT-Secur device. The programs include discussions about disease state,
 indications for surgery, contraindications, avoidance of complications, and the safe use of the
 products. Every course included a discussion of management of complications and questions
 from the audience. Webinars, and telesurgery programs were also offered for surgeons that
 previously attended cadaver labs, or were for advanced users to become familiar with the newer
 devices, and for dissemination of information on longer-term results when new papers were
 published. The preceptors are independent of Ethicon, are required to teach the courses in
 compliance with the slide set provided so as not to advocate or discuss any off-label uses of the
 products. I began as a preceptor in 2000 with the TVT and later TVT-O, TVT-Abbrevo, TVT-
 Secur, Prolift, and Prosima devices. I was thoroughly familiar with the products having
 performed the surgeries in my own practice. Contributing as a preceptor is professionally
 fulfilling, as it requires that I remain current in the field, and have the opportunity to collaborate
 with experts both nationally and internationally. There is a lack of opportunity for surgeons to
 learn and train on new technologies outside of residency, and Ethicon provided resources that are
 much appreciated by those pelvic surgeons who would like to stay current and improve their

                                                  29
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 31 Page  113 of 155
                                                           of 36 PageID  #: 33512



 patient outcomes. Each course collected anonymous questionnaires and feedback from the
 attendees rating the quality of the course and proctors, including whether they felt there was
 commercial bias. Overwhelmingly, the response was positive, and those proctors that were not
 received well were disinvited to teach future courses. The faculty has the opportunity to discuss
 surgical techniques and management of possible complications prior to each course.

         Even after a surgeon attends a course, no certification can be provided that will ensure
 credentialing at their respective hospitals. Each hospital has a surgery committee that reports to
 the credentials committee that grants privileges for specific procedures. Surgeons must
 demonstrate previous training through residency, and the quality assurance department will track
 patient outcomes and complications. Hospitals vary in their requirements for credentialing,
 which includes proctoring and/or close surveillance of outcomes for new technologies or
 procedures. The medical device industry can provide education and training, but does not grant
 privileges for the use of their products. Surgeons are granted privileges based on the background
 training, residency director recommendations, and review of malpractice history and National
 Data Bank files. When credentials committees grant privileges for a specific area, they will not
 state specific proprietary procedures, but rather generalized areas such as cystourethropexies
 rather than MMK procedures or the Burch procedure.

        c.      Ethicon’s Patient Brochures

         Ethicon’s Patient brochures provide information about the medical condition of
 incontinence, the different types, and treatment options ranging from behavior modification with
 pelvic exercises, electrical stimulation, medications, and bulking agents, to surgery. The
 information provided gives general terminology of the disease state, possible causes, and
 symptoms, as well as diagnosis and treatment options. The brochures are not intended to be in-
 depth and comprehensive, but rather to serve as a reference along with the website to pursue
 further information if desired. A list of contraindications for surgery is also included. The
 description of the procedure includes the most frequently encountered possible adverse events
 and repair options. The brochures are not intended and have never been used in my practice to
 serve as the only source of preoperative informed consent. Patients are separately informed
 about the indications, alternative treatments, and description of how the mesh sling will be
 implanted. Risks of bleeding, infection, bowel or bladder injury, persistent incontinence,
 retention, and pain are discussed. The possibility of mesh exposure or erosion is also discussed
 with re-operative repair techniques or application of vaginal cream. The information clearly
 states to discuss any questions with the surgeon and also provides a toll-free number to call to
 discuss questions with an on-call nurse.




                                                30
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 32 Page  114 of 155
                                                           of 36 PageID  #: 33513



 VI. The Design of the TVT-Secur

        a.      The Usefulness, Desirability, and Safety of the Device

         Prior to the availability of the TVT and TVT-O in the U.S., surgery for stress
 incontinence had been more morbid and less predictable in surgical treatment outcomes. Patients
 who have undergone open suspensions such as a Burch procedure that have failed are reluctant
 to undergo reoperation due to the long and painful recovery from the open repair. Surgeries that
 attempt to pull up and fix the urethra and bladder neck to the pubic bone require a more
 extensive surgical dissection, which increases blood loss, operative time, require larger incisions,
 and could cause damage to the neurovascular support of the bladder neck and urethra.
 Suspending procedures such as the Stamey, Peyrera, and Raz needle suspensions have been
 abandoned over the years due to high failure rates. The introduction of a new theory of
 continence by Petros and Ulmsten in the 1990s, called the integral theory, changed the approach
 to continence from obstructive to stabilizing the bladder neck and urethra.

          The TVT was the first procedure employing a tiny incision and mesh sling placed under
 no tension, and can be performed as an outpatient under local anesthesia. The TVT-Secur
 procedure, like the TVT and TVT-O procedures, does not routinely require catheterization post
 operatively, and can be routinely performed in under 30 minutes. Continence can be tested
 during the procedure. It’s an outpatient procedure with discharge in 3-4 hours. There is little
 pain, and many patients do not even need pain meds. Most women can drive a car the next day,
 resume working within two days, return to normal exercise in just one week. The large pore size
 allows rapid tissue incorporation and is anchorless, which decreases post-operative pain and
 voiding dysfunction. Because there are no anchoring sutures or fixation screws, there is no
 possibility of local bone pain or infection. The technique has a quarter-inch incision in the
 vagina requiring one suture to close and no exit puncture sites.

         As discussed above, success rates for TVT-Secur varied but were favorable overall.
 TVT-Secur could be performed safely in women of advanced age, and was the ideal procedure
 for patients who wanted or needed to get back to their regular daily lives as soon as possible.
 The sling can be deployed either retropubic (“U”) or transobturator (“hammock”) configurations,
 providing a versatility that expands the indications for use. Either approach avoids an abdominal
 incision and extensive surgical dissection required by fascial slings and the Burch procedure.

        The mesh used in the TVT, TVT-O, and TVT-Secur is a macroporous polypropylene
 monofilament knitted weave that is soft, elastic, and well-tolerated by the body, which
 incorporates the material and becomes a permanent support structure that allows fibroblastic and
 collagen deposition to provide a new neoligament supporting the mid urethra. The polypropylene
 monofilament has been safely used in surgery as suture throughout the body for over 40 years,
 and has been shown to be stable and does not degrade in the body over time. TVT-Secur
 implantation was easy to teach and readily learned by both residents and experienced surgeons
 with reproducibility.

          Unlike the Burch or fascial sling, the TVT family of products come with instructions for
 use, a tracking lot number for safety and batch analysis, as well as MDR reporting and FDA

                                                 31
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 33 Page  115 of 155
                                                           of 36 PageID  #: 33514



 analyses. The devices are not met with cultural or religious objections like allografts or
 xenografts, and are extremely effective and durable with very low recurrence rates in patients
 aged 30-80 years. One recent systematic review and meta-analysis found that dyspareunia
 following implantation of mini-slings was rare—estimated to occur in only 0.74% of patients.
 (Schimpf MO, et al., Sling surgery for stress urinary incontinence in women: a systematic review
 and metaanalysis. Am J Obstet Gynecol 2014;210:1.e1-1.e27.) In my experience with the TVT-
 Secur, my patients had no thigh pain because the sling did not course through the adductor
 muscles, and it had a quicker recovery time than other treatment options. It was a procedure that
 could be done under local anesthesia. While I saw about a 5–10% reduction in efficacy with the
 TVT-Secur compared to the TVT-O, it still had very good efficacy and was an excellent option
 for patients who need to minimize their recovery time.

         The TVT-Secur’s Prolene mesh is the same mesh used in the TVT device, which has
 more RCTs and long-term data than any other incontinence treatment. The devices are easily
 studied, patients can be counseled on the vast data regarding the mesh, and the study data can be
 compared to other products and surgical approaches. It is comforting as a surgeon to be using a
 product consisting of mesh that is known to have the largest amount of peer-reviewed data from
 multiple institutions substantiating the material’s safety and reliability. Prolene has been around
 for 50 years, been safely used in various applications, and the body’s reaction to the material is
 known. Moreover, surgeons desire polypropylene slings, as over 90% of meshes for SUI are
 polypropylene. The favored approach is transvaginal, midurethral, and supported by all the
 specialty societies.

         The design optimizes safety by avoiding the large abdominal incision needed for a Burch
 and fascial sling. A 1.5 cm vaginal incision compared to a 6-8-inch abdominal incision for a
 Burch or multiple incisions for a fascial sling. Complications are usually surgery-related and not
 mesh-specific. Plaintiff’s experts may contend that the TVT-Secur is implanted “blindly” and
 that that is unsafe. But the use of cystoscopy insures that the TVT inserter passages have not
 perforated the bladder. Furthermore, bladder and bowel perforation can occur with the Burch
 procedure or pubovaginal sling procedure as well. I have directly observed post-Burch bladder
 perforations of the sutures causing infection, bleeding, and stone formation.

         Exposures are uncommon and manageable, occurring in about 2-3% of cases. The cause
 can be poor tissue integrity caused by estrogen deficiency, delayed wound healing due to
 diabetes, steroid usage, hematoma formation, or placing the sling too superficially. Treatment
 includes application of topical estrogen cream, re-closure of the mucosal edges, and limited mesh
 excision if necessary. The excision can be performed in an office setting under local anesthesia
 or under light sedation in an OR. Dyspareunia is rare because the TVT-Secur’s design positions
 the mesh placement under the midurethra, via the distal anterior wall incision, at a part of the
 vaginal wall where the forces and stress from penile contact are minimal. And the design of the
 TVT-Secur provides for the mesh sling to traverse either up (vertically) away from the vagina, or
 laterally away from the vagina.

       Obstructive voiding dysfunction occurs in less than 5% of cases and can be readily
 managed by either opening the incision in the first few days and loosening the sling or waiting 3-
 4 weeks to incise the sling under local anesthetic. Continence is preserved 90% of the time.

                                                 32
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 34 Page  116 of 155
                                                           of 36 PageID  #: 33515



 Contrarily, an obstructive Burch procedure will require opening the abdominal incision and
 taking down the previous repair which entails a more morbid and protracted recovery with
 probable recurrent incontinence.

          Infection is extremely rare due to the macroporous mesh allowing the immune cells—
 macrophages—to remove possible bacteria. Fibroblasts and blood vessel incorporation allows
 for tissue regeneration and incorporation of the mesh into the body. Due to the permanence of
 the sling, recurrent incontinence is uncommon. The inert nature of polypropylene avoids the risk
 of rejection and infection, which can occur with allografts and xenografts. Since the material is
 not biologic, there is no risk of virus or prion transmission.

         While single-incision slings are not known to be quite as effective as full-length multi-
 incision slings, many studies do show very good efficacy with the slings. And although there is
 less data on mini-slings than there is with full-length multi-incision slings like the TVT and
 TVT-O, the extensive data supporting the safety of those slings also supports the safety of the
 mesh used in the TVT-Secur. Multifilament mesh has been previously established to be poorly
 tolerated by the tissues with an unacceptable infection and encapsulation rate. Larger pore mesh
 does not have the same support characteristics, and does not have supporting data to prove
 equivalence with the established Ethicon mesh that has 17-year published follow-up.

         As discussed above, laser-cut mesh has no clinical difference when compared to
 mechanical-cut mesh in the physiologic range of stress when implanted in the female pelvis.
 (ETH.MESH.01784823-28 (CER Laser Cut Mesh); ETH.MESH.01222075-79 (Elongation
 Characteristics of Laser Cut Prolene Mesh for TVT); ETH.MESH.06696367-79 (Performance
 Evaluation of TVT U Prolene Mesh); Lin AT, et al., In Vivo tension Sustained by Fascial Sling
 in Pubovaginal Sling Surgery for Female Stress Urinary Incontinence, J Urol , 2005
 Mar;173(3):894–897.) The only difference is aesthetic, as any particles lost on mechanical-cut
 mesh cause no harm, as it is the same Prolene used in suspension procedures, Burch or fascial
 sling fixations.

         All surgical procedures have inherent risks. All pelvic surgeries have similar risks, and
 the introduction of the synthetic mesh midurethral slings like the TVT, TVT-O, and TVT-Secur
 has served to decrease complications when compared to previous techniques. Because native
 repairs and cystourethropexies do not involve a kit product, complications are not reportable to
 the MAUDE database. Scientific research has provided improved materials and applications to
 both improve efficacy and decrease complications. Synthetic mesh that is microporous or too
 macroporous has proven to be either less safe or less efficacious. If the mesh is too lightweight
 or too large pore, there is inadequate support.

         Ethicon has taken extensive steps to ensure the proper use of its products. The IFU,
 Professional Education training, including didactic lectures and cadaver labs, proctorships,
 videos, and webinars were designed to offer an extensive resource for the pelvic surgeon to learn
 the indications for use, surgical technique, and avoidance and management of potential
 complications. The combination of residency training, previous surgical and clinical experience,
 and the training resources provided by Ethicon led to many pelvic surgeons gaining expertise in
 the use of its products, which continues to this day.

                                                 33
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 35 Page  117 of 155
                                                           of 36 PageID  #: 33516




         All pelvic surgery has similar and inherent risks. Pelvic floor surgeons should be and are
 aware of the potential complications involved with any surgical treatment of SUI based on a
 combination of their medical school education, their residencies, fellowships, their experience,
 their continuing education, and their review of the device’s IFU if a device is used. Risks such
 as infection, scarring, inflammation, bladder damage, bowel damage, ureter damage, nerve
 damage, injury to vessels, wound complications (such as wound dehiscence, herniation,
 hematoma, seroma, pelvic abscess, exposure, and erosion), pain, pelvic pain, groin pain,
 dyspareunia, fistula, anesthetic risks, bowel or bladder dysfunction, failure of the operation,
 bleeding, death, pulmonary embolism, myocardial infarction, pneumonia, deep vein thrombosis,
 and need for reoperation are basic elemental surgical risks of any pelvic floor surgery involving
 mesh. Surgeons understand that these complications can happen, and they also understand that
 the symptoms can range in terms of severity and duration.

          Surgeons are expected to understand the anatomy in which they are operating, and should
 identify and dissect in safe planes, avoiding inadvertent damage to the organs and vessels
 contained within the pelvis. The education and training of the pelvic surgeon should be adequate
 to know the possibility of complications and their avoidance, risks of recurrence and reoperation.
 Indeed, the development of biologic and synthetic materials was motivated by the high failure
 rate of pelvic reconstruction due to the weakness of the patients’ connective tissue leading to the
 condition requiring repair. There is an extensive body of medical knowledge in the medical
 literature discussing the possibility of complications with the use of meshes. Surgeons’ prior
 experience with mesh informs their understanding of potential complications with pelvic floor
 surgeries, including those involved with mesh devices. While mesh exposure is unique to mesh
 devices, it is obvious, and it is general knowledge within female urology and urogynecology.
 The potential injury to vessels and organs caused by trocars is well-known to surgeons, and
 potential mesh exposure and foreign body reactions are common knowledge.

         Furthermore, the FDA issued a Public Health Notification in 2008 regarding the use of
 synthetic mesh for treatment of prolapse and incontinence. It alerted healthcare practitioners to
 “complications associated with transvaginal placement of surgical mesh to treat Pelvic Organ
 Prolapse (POP) and Stress Urinary Incontinence (SUI).” It noted that the complications were
 rare, but could have serious consequences, and that the “most frequent complications included
 erosion through the vaginal epithelium, infection, pain, urinary problems, and recurrence of
 prolapse and/or incontinence.” It also noted that there were “reports of bowel, bladder, and
 blood vessel perforation during insertion,” and that “[i]n some cases, vaginal scarring and mesh
 erosion led to a significant decrease in patient quality of life due to discomfort and pain,
 including dyspareunia.” This Public Health Notification was yet another source of knowledge
 for surgeons regarding potential complications associated with synthetic mesh midurethral
 slings, complementing the TVT-Secur’s IFU, Ethicon’s professional education seminars, and the
 surgeons’ training, education, and experience.

         Based upon the analysis above, and on my education, my training, my experience using
 these products and alternative incontinence treatments, and my reading of the literature
 referenced above, I believe the TVT-Secur device is not defective, but is reasonably safe for its
 intended use and has a positive benefit-to-risk profile; better than the Burch and native tissue

                                                 34
     Case 3:20-cv-00851-MO
Case 2:12-md-02327  DocumentDocument 89-104/21/16
                            2022-5 Filed   Filed 05/26/20
                                                   Page 36 Page  118 of 155
                                                           of 36 PageID  #: 33517



slings. In my opinion, the benefits of the TVT-Secur far outweighed the risks of using the
device. At the time the product was launched, I do not believe they could have been made safer
for its intended use. The product was state of the art at the time it was launched.



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Case Case 3:20-cv-00851-MO
     2:12-md-02327   DocumentDocument 89-1 04/21/16
                              2022-6 Filed   Filed 05/26/20  Page
                                                      Page 1 of     119 of 155
                                                                26 PageID  #: 33518




                Exhibit F
Case Case 3:20-cv-00851-MO
     2:12-md-02327   DocumentDocument
                              2022-6  89-1 04/21/16
                                     Filed
                               Douglas       Filed 05/26/20
                                          Grier,             Page
                                                      Page 2 of
                                                     M.D.           120 of 155
                                                                26 PageID  #: 33519

      1                    IN THE UNITED STATES DISTRICT COURT
      2                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
      3                              CHARLESTON DIVISION
      4
      5    IN RE: ETHICON, INC. PELVIC REPAIR           )
           SYSTEM PRODUCTS LIABILITY LITIGATION         )
      6    ______________________________________ )
           THIS DOCUMENT RELATES TO THE                 )
      7    FOLLOWING CASES IN WAVE 1 OF 200:            )
                                                        ) 2:12-MD-02327
      8    Barbara A. Hill                              )
           Case No. 2:12-cv-00806                       ) MDL No. 2327
      9                                                 )
           Constance Daino                              )
     10    Case No. 2:12-cv-01145                       )
                                                        ) Joseph R. Goodwin
     11    Monica Freitas                               ) U.S. District Judge
           Case No. 2:12-cv-01146                       )
     12                                                 )
           Patricia Ruiz                                )
     13    Case No. 2:12-cv-01021                       )
                                                        )
     14    Pamela Gray Wheeler                          )
           Case No. 2:12-cv-00455                       )
     15                                                 )
           Rebekah Bartlett (Pratt)                     )
     16    Case No. 2:12-cv-01273                       )
                                                        )
     17    Dawna Hankins                                )
           Case No. 2:12-cv-00369                       )
     18                                                 )
           Patricia Tyler                               )
     19    Case No. 2:12-cv-00469                       )
     20
                            DEPOSITION OF DOUGLAS GRIER, M.D.
     21
                                       March 22, 2016
     22
     23                             Seattle, Washington
     24
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   Golkow Technologies, Inc.                                                    Page 1
Case Case 3:20-cv-00851-MO
     2:12-md-02327   DocumentDocument
                              2022-6  89-1 04/21/16
                                     Filed
                               Douglas       Filed 05/26/20
                                          Grier,             Page
                                                      Page 3 of
                                                     M.D.           121 of 155
                                                                26 PageID  #: 33520

      1    Q   Any documents in there specifically that you remember

      2        reading front to back?

      3    A   At this -- well, the IFU is in there, so I have read that

      4        in the past front to back.      I read the historical

      5        documents about how TVT first was developed.         And those

      6        are the ones that I remember in particular.         There are a

      7        couple PowerPoint presentations that I probably was in --

      8        present for or were delivered to me.

      9    Q   Doctor, how many of these -- how many of these 34

     10        documents do you think you actually reviewed in full?

     11                             MR. KOOPMANN:    Object to form.

     12                             THE WITNESS:    I can't give you an

     13        exact answer to that, but if you look through it, they're

     14        historical documents, so I don't -- I didn't spend much

     15        time at all with the Internet discussions between the

     16        Ethicon people and the corporation.

     17    Q   (By Mr. DeGreeff)     Did you -- in rendering your opinions,

     18        did you rely at all on internal company documents?

     19    A   No.

     20    Q   Why not?

     21    A   I don't find them necessarily relevant.

     22    Q   Why are they not relevant?

     23    A   Well, because a lot of it has to do with research and

     24        development early on in the development of the products,

     25        and quite frankly, it's not -- I don't find it relevant

   Golkow Technologies, Inc.                                                    Page 43
Case Case 3:20-cv-00851-MO
     2:12-md-02327   DocumentDocument
                              2022-6  89-1 04/21/16
                                     Filed
                               Douglas       Filed 05/26/20
                                          Grier,             Page
                                                      Page 4 of
                                                     M.D.           122 of 155
                                                                26 PageID  #: 33521

      1        for me in rendering an opinion.

      2    Q   Did you review any of the design documents for the

      3        product?

      4                             MR. KOOPMANN:    Objection.    Form.

      5                             THE WITNESS:    I don't recall design

      6        documents.    You mean the original design of the -- of the

      7        mesh?

      8    Q   (By Mr. DeGreeff)     Yeah, the design documents, the

      9        internal design documents for the mesh product?

     10    A   Well, if you could show me one, I could tell you whether

     11        I've reviewed it or not.

     12    Q   Well, do you know what I'm talking about when I say

     13        design documents?

     14    A   Not precisely, no.

     15    Q   Okay.

     16    A   Are you talking about before it was submitted to the FDA?

     17    Q   Well, have you reviewed the design device file?

     18                             MR. KOOPMANN:    Objection.    Form.

     19                             THE WITNESS:    I don't recall.

     20    Q   (By Mr. DeGreeff)     As you sit here, do you remember

     21        recalling any -- reviewing any internal Ethicon documents

     22        specifically relating to design of the TVT products?

     23    A   I'm sure I've looked at several, but none come to mind

     24        specifically.

     25    Q   Okay.   If you think you looked at several, what did those

   Golkow Technologies, Inc.                                                   Page 44
Case Case 3:20-cv-00851-MO
     2:12-md-02327   DocumentDocument
                              2022-6  89-1 04/21/16
                                     Filed
                               Douglas       Filed 05/26/20
                                          Grier,             Page
                                                      Page 5 of
                                                     M.D.           123 of 155
                                                                26 PageID  #: 33522

      1        documents look like?      What did they tell you?

      2    A   Oh, I don't recall.     I looked at them prior to the Perry

      3        trial, I would imagine.

      4    Q   Okay.   So -- and the Perry trial was about the TVT

      5        Abbrevo; correct?

      6    A   Correct.

      7    Q   And we're not here -- you're not rendering any opinions

      8        in this -- at this point generally about the TVT Abbrevo?

      9    A   No.

     10    Q   So my question is about design documents that would be

     11        relevant to the products that we're here about.          Do you

     12        remember reviewing any of those design documents?

     13    A   Not specifically.

     14    Q   Well, not specifically.      Do you remember reviewing any at

     15        all?

     16    A   If you put one in front of me, I can tell you whether I

     17        have or not.

     18    Q   Well, Doctor, you've got them -- are they on your

     19        reliance list?

     20    A   Some may be.

     21    Q   And did you review everything on your reliance list?

     22    A   I've -- in a general sense, yes.       Specifically, I mean,

     23        there's a lot of documents, and some I may have just

     24        looked at the title and then what the conclusions were,

     25        and if something was interesting in there, I would go

   Golkow Technologies, Inc.                                                     Page 45
Case Case 3:20-cv-00851-MO
     2:12-md-02327   DocumentDocument
                              2022-6  89-1 04/21/16
                                     Filed
                               Douglas       Filed 05/26/20
                                          Grier,             Page
                                                      Page 6 of
                                                     M.D.           124 of 155
                                                                26 PageID  #: 33523

      1    Q   Did defense counsel select the documents that went into

      2        that binder?

      3    A   Yes.

      4    Q   Have you reviewed all of the documents in that binder?

      5    A   Well, I've reviewed them -- a lot of them I've reviewed

      6        before they ever were put in the binder, before I was

      7        ever asked to review them.

      8    Q   Okay.   So my question was a little different than that.

      9             Have you reviewed -- and I don't care when you

     10        reviewed them.     Have you reviewed all of the lit- -- all

     11        of the documents that are in that binder?

     12    A   Well, no.    The ones I haven't reviewed were the pre-FDA

     13        design documents, which are very tedious, and I didn't

     14        find relevant.

     15    Q   So fair to say, you did not review the design documents

     16        that were relied on by Ethicon for approval by the FDA?

     17                             MR. KOOPMANN:    Objection to form.

     18                             THE WITNESS:    That's true.

     19    Q   (By Mr. DeGreeff)     Anything else?

     20    A   Well, there's just a bunch of minutes and discussions by,

     21        I guess, engineers within the -- within the company on

     22        the product specifications and the launch of the product.

     23    Q   And did you review those?

     24    A   I did not.

     25    Q   Why not?

   Golkow Technologies, Inc.                                                   Page 65
Case Case 3:20-cv-00851-MO
     2:12-md-02327   DocumentDocument
                              2022-6  89-1 04/21/16
                                     Filed
                               Douglas       Filed 05/26/20
                                          Grier,             Page
                                                      Page 7 of
                                                     M.D.           125 of 155
                                                                26 PageID  #: 33524

      1    A   Well, because I don't find it relevant.

      2    Q   And that's the -- those are memos done by the engineers

      3        who designed the product?

      4    A   Correct.

      5    Q   Why did you not find that relevant?

      6    A   Well, because it's tremendously tedious, and it's not

      7        clinically relevant.      It was how they developed the

      8        product and -- the device, and it's kind of too technical

      9        for my interest.

     10    Q   And you didn't -- so you didn't review that in rendering

     11        your opinions?

     12    A   No.

     13    Q   Did you review any documents related to the -- kind of

     14        the -- what you referred to as the tedious portion of the

     15        design of the -- of the document and getting FDA

     16        approval?

     17                             MR. KOOPMANN:    Objection.    Form.

     18                             THE WITNESS:    There may be a few that

     19        I reviewed.

     20    Q   (By Mr. DeGreeff)     Which ones?    Any as you sit here that

     21        you remember?

     22    A   My patients' list at home.

     23    Q   I was wondering how that got in there.

     24    A   Yeah, that just got -- it fell in.

     25              The ones I reviewed were -- see, a lot of this is

   Golkow Technologies, Inc.                                                   Page 66
Case Case 3:20-cv-00851-MO
     2:12-md-02327   DocumentDocument
                              2022-6  89-1 04/21/16
                                     Filed
                               Douglas       Filed 05/26/20
                                          Grier,             Page
                                                      Page 8 of
                                                     M.D.           126 of 155
                                                                26 PageID  #: 33525

      1                             MR. KOOPMANN:    Objection.    Form.

      2                             THE WITNESS:    I will say no.     I will

      3        say, though, that -- that all of us give feedback to the

      4        companies that we use mesh, as to what might be better

      5        about it.

      6    Q   (By Mr. DeGreeff)     I think we agree.     My question is

      7        pretty simple.     Yes or no, are you holding yourself --

      8        yes, no, or you can't answer.       Are you holding yourself

      9        out as an expert on the design of transvaginal mesh

     10        products?

     11                             MR. KOOPMANN:    Objection.    Form.

     12        Asked and answered.

     13                             THE WITNESS:    Do I answer?

     14                             MR. KOOPMANN:    Go ahead, yeah.

     15                             THE WITNESS:    So I am not a product

     16        engineer that has designed mesh products.         However, I

     17        have used them, and I have opinions about what -- what is

     18        good or bad about a particular product, which I have

     19        expressed to multiple companies when asked.         So -- but I

     20        am not an engineer.

     21    Q   (By Mr. DeGreeff)     Let's try this again.      Doctor, yes,

     22        no, or you cannot answer my question as it's phrased:

     23        Are you holding yourself out as an expert in the design

     24        of transvaginal mesh products?

     25                             MR. KOOPMANN:    Same objection.

   Golkow Technologies, Inc.                                                    Page 68
Case Case 3:20-cv-00851-MO
     2:12-md-02327   DocumentDocument
                              2022-6  89-1 04/21/16
                                     Filed
                               Douglas       Filed 05/26/20
                                          Grier,             Page
                                                      Page 9 of
                                                     M.D.           127 of 155
                                                                26 PageID  #: 33526

      1                             THE WITNESS:    No, I'm not a design

      2        expert.

      3    Q   (By Mr. DeGreeff)     Doctor, one more binder.      And I don't

      4        know -- let's see.     This says --

      5    A   That's TVT and TVT-O.      I think it's -- is it long-term

      6        studies?    It's a series of studies.      Now, some of this is

      7        contained in these other binders.

      8    Q   I was going to ask, this says long-term studies.          Does

      9        this contain the same ten studies that we talked about

     10        earlier?

     11    A   If you'd hand it to me, I could answer that.

     12                             MR. DEGREEFF:    Sure, I will.     Let's

     13        mark this.    I'll mark this as Deposition Exhibit 11.

     14                                      (Exhibit No. 11 marked for

     15                                       identification.)

     16    Q   (By Mr. DeGreeff)     Have I done so?

     17    A   Yes.

     18    Q   And can you tell us the -- before we get started, can you

     19        tell us the title of that?

     20    A   "TVT and TVT-O Long-Term Studies for Experts."

     21    Q   Why would that be called long-term studies for experts

     22        rather than long-term studies for Dr. Grier?

     23    A   Well, because this series of articles, which are

     24        long-term, is probably used by other -- other

     25        gynecologists or urologists who have been asked to be

   Golkow Technologies, Inc.                                                    Page 69
     Case 3:20-cv-00851-MO
                    DocumentDocument 89-104/21/16
                                           Filed 05/26/20
Case 2:12-md-02327          2022-6 Filed
                             Douglas     Grier,    M.D.10 Page
                                                   Page         128 of 155
                                                          of 26 PageID  #: 33527

      1        not create a foreign body reaction, have you?

      2    A   No.

      3    Q   Have you ever authored an article on SUI or incontinence

      4        in general?

      5                            MR. KOOPMANN:    Object to the form.

      6                            THE WITNESS:    Well, yes.

      7    Q   (By Mr. DeGreeff)    Which one would that be?

      8    A   That's the Tincello article that's in here, the TVT World

      9        Registry.

     10    Q   You believe that deals with SUI or incontinence

     11        generally?

     12    A   Oh, well, it's for the treatment of stress incontinence.

     13    Q   And that was the one that got cut off early?

     14    A   That was the one that was completed at the one-year mark

     15        and published.

     16    Q   Published in 2014?

     17    A   That's my memory.

     18    Q   After the TVT-S was taken off the market?

     19    A   I don't remember the chronology of which was which, but

     20        yeah, that probably is true.

     21    Q   Doctor, what was the point of publishing the article

     22        after the product was removed from the market?

     23    A   That's the point of science.     It's to -- it's an ongoing

     24        investigation that -- that's a philosophical question.

     25    Q   Doctor, you're not an expert on warnings, are you?

    Golkow Technologies, Inc.                                             Page 127
     Case 3:20-cv-00851-MO
                    DocumentDocument 89-104/21/16
                                           Filed 05/26/20
Case 2:12-md-02327          2022-6 Filed
                             Douglas     Grier,    M.D.11 Page
                                                   Page         129 of 155
                                                          of 26 PageID  #: 33528

      1                            MR. KOOPMANN:    Objection.   Form.

      2    Q   (By Mr. DeGreeff)    Medical device warnings?

      3                            MR. KOOPMANN:    Same objection.

      4                            THE WITNESS:    No.

      5    Q   (By Mr. DeGreeff)    You're not a biomedical engineer, are

      6        you?

      7    A   No, I'm not.

      8    Q   And we've already talked about this, but you're not

      9        holding yourself out as an expert on the design of

     10        medical devices, are you?

     11                            MR. KOOPMANN:    Objection to form.

     12        Asked and answered many times.

     13                            THE WITNESS:    I'm not an expert on it,

     14        although I have been using medical devices for my entire

     15        career.    So I certainly can give opinions on their safety

     16        and efficacy.

     17    Q   (By Mr. DeGreeff)    Well, now, giving an opinion on

     18        whether you believe a device is safe and effective is

     19        different than being able to give an opinion on design;

     20        correct?

     21    A   Yes.

     22    Q   Are you qualified to give -- you're not holding yourself

     23        out as an expert on the area of design, are you?

     24                            MR. KOOPMANN:    Objection to form.

     25                            THE WITNESS:    No.

    Golkow Technologies, Inc.                                             Page 128
     Case 3:20-cv-00851-MO
                    DocumentDocument 89-104/21/16
                                           Filed 05/26/20
Case 2:12-md-02327          2022-6 Filed
                             Douglas     Grier,    M.D.12 Page
                                                   Page         130 of 155
                                                          of 26 PageID  #: 33529

      1    Q   (By Mr. DeGreeff)    I mean, you've never designed a

      2        medical device; correct?

      3    A   Correct.

      4    Q   Never been involved in the design of a medical device?

      5    A   I've been in -- I've been asked to give opinions on

      6        devices and -- during their development.

      7    Q   You don't have any patents on medical devices?

      8    A   No.

      9    Q   Doctor, do you know what employees from Ethicon were

     10        involved in the design of the TVT?

     11    A   No.    I thought Ulf Ulmsten was the one who designed the

     12        TVT.

     13    Q   Do you know what Ethicon paid Ulf for the product?

     14    A   No.

     15    Q   What is MedScan?

     16    A   I'm not sure.   Is that a search engine for medical -- or

     17        articles, scientific articles?

     18    Q   I'm asking you, Doctor.    Did Dr. Ulmsten design the mesh

     19        used in the TVT?

     20                            MR. KOOPMANN:    Objection.   Form.

     21                            THE WITNESS:    My memory is that in the

     22        1990s -- and this is coming from his mouth -- he was

     23        experimenting with -- he came up, along with a

     24        gynecologist from Australia by the name of Petros, of a

     25        new and novel integral theory of continence, which was

    Golkow Technologies, Inc.                                             Page 129
     Case 3:20-cv-00851-MO
                    DocumentDocument 89-104/21/16
                                           Filed 05/26/20
Case 2:12-md-02327          2022-6 Filed
                             Douglas     Grier,    M.D.13 Page
                                                   Page         131 of 155
                                                          of 26 PageID  #: 33530

      1        in studies on the inventor's device?

      2    A   Oh, again, I have no idea.     How would I know that

      3        information?    I've not heard it.

      4    Q   Do you think they should?

      5    A   Should prevent?    No.

      6    Q   Do you know whether Ethicon has any policies in place

      7        that prohibit inventors from participating in studies on

      8        the inventor's device?

      9    A   I'm not aware.

     10    Q   Do you think they should?

     11    A   It's -- I don't have an opinion.

     12    Q   It doesn't matter to you?

     13    A   No.

     14    Q   Doctor, are you aware of how long it took the -- it took

     15        Ethicon to get the TVT-O product to market?

     16    A   I don't recall the timeline.

     17    Q   Doctor, what is Provencia?

     18    A   I don't know.

     19    Q   Do you know what a failure modes and effect analysis is?

     20    A   That sounds like an engineering design study to look at

     21        physical properties of different products/materials.

     22    Q   Have you ever been involved in one of those analyses?

     23    A   No.

     24    Q   What should be in a failure modes and effects analysis?

     25                            MR. KOOPMANN:    Objection.   Form.

    Golkow Technologies, Inc.                                             Page 135
     Case 3:20-cv-00851-MO
                    DocumentDocument 89-104/21/16
                                           Filed 05/26/20
Case 2:12-md-02327          2022-6 Filed
                             Douglas     Grier,    M.D.14 Page
                                                   Page         132 of 155
                                                          of 26 PageID  #: 33531

      1                            THE WITNESS:    Well, can you give me a

      2        product or material that you want to apply it to?

      3    Q   (By Mr. DeGreeff)    Mesh.   What should be in a failure

      4        mode designs effect analysis for mesh?

      5                            MR. KOOPMANN:    Objection.   Form.

      6                            THE WITNESS:    Well, one would be what

      7        its tensile strength is, elongation overload.       Those

      8        would be the main ones.

      9    Q   (By Mr. DeGreeff)    Have you ever -- did you review the --

     10        any of the FMEAs in this case?

     11    A   I've seen some, yes.

     12    Q   For transvaginal mesh?

     13    A   Uh-huh.

     14    Q   Which ones?

     15    A   Oh, I think Guenther is one.     Moalli has some.    But

     16        there's Dietz study from Australia that described the

     17        bench loading and elongation.

     18    Q   You're talking about articles and studies; correct?

     19    A   Yes.   But I -- as far as the -- you mean as far as

     20        corporate documents in terms of what they did prior to

     21        the product being released?

     22    Q   Yes.

     23    A   I would glance over them and not -- and not read them.

     24    Q   All potential hazards should be in the failure modes

     25        effects analysis for TVT; correct?

    Golkow Technologies, Inc.                                              Page 136
     Case 3:20-cv-00851-MO
                    DocumentDocument 89-104/21/16
                                           Filed 05/26/20
Case 2:12-md-02327          2022-6 Filed
                             Douglas     Grier,    M.D.15 Page
                                                   Page         133 of 155
                                                          of 26 PageID  #: 33532

      1                            MR. KOOPMANN:    Objection.   Form.

      2                            THE WITNESS:    Again, I don't know what

      3        that means.

      4    Q   (By Mr. DeGreeff)    You don't know what a design failure

      5        modes effect analysis is?

      6    A   Well, I know -- I know what the term is, but when you're

      7        saying -- there's a difference between in vivo and ex

      8        vivo.   If you're talking about bench testing products

      9        that the stresses that are put on them are greater than

     10        the physiologic stress in the body, I don't think those

     11        are relevant.

     12            I mean, it's fine to do the studies to get a sense

     13        of what the burst strength is of mesh, but it's never

     14        going to be seen after it's deployed.

     15    Q   And you don't find those studies relevant, or those

     16        relevant?

     17    A   Well, it has a relevance, but it doesn't have a high

     18        significance.

     19    Q   You don't find them significant?

     20    A   It has a significance.    I can't -- I'm not going to give

     21        you a degree of significance.

     22    Q   You didn't rely on them in giving your opinions in this

     23        case; fair?

     24    A   Well, when I looked at them, I want to make sure that the

     25        stressors of these meshes, after they're deployed in the

    Golkow Technologies, Inc.                                             Page 137
     Case 3:20-cv-00851-MO
                    DocumentDocument 89-104/21/16
                                           Filed 05/26/20
Case 2:12-md-02327          2022-6 Filed
                             Douglas     Grier,    M.D.16 Page
                                                   Page         134 of 155
                                                          of 26 PageID  #: 33533

      1        body, that they're not going to degrade at those -- at

      2        those loads.   In that regard they're relevant.      When

      3        you're talking about you're pushing out the load a long

      4        way, which is not physiologic, that's not relevant.

      5    Q   Okay.   So I guess my -- I'm not sure that you ever

      6        answered my question.    As you sit here, do you remember

      7        reviewing any of the design failure mode effects analysis

      8        for the transvaginal -- the Ethicon transvaginal mesh

      9        products in rendering your opinions?

     10    A   I don't recall specific ones.     If you put one in front of

     11        me, I can tell you whether I've reviewed it.

     12    Q   You told me a lot of the documents were in another

     13        language.   Did you ask for those to be translated?

     14    A   No.

     15    Q   As you sit here, you don't remember -- you can't remember

     16        reviewing any specific design failure mode effects

     17        analysis on -- regarding transvaginal mesh made by

     18        Ethicon?

     19    A   I can't recall a specific one, no.

     20    Q   Did you review any internal documents discussing how long

     21        it took Ethicon to get the TVT-O product to the market?

     22                            MR. KOOPMANN:   Objection.    Form.

     23        Asked and answered.

     24                            MR. DEGREEFF:   It was?

     25                            MR. KOOPMANN:   I think so.

    Golkow Technologies, Inc.                                              Page 138
     Case 3:20-cv-00851-MO
                    DocumentDocument 89-104/21/16
                                           Filed 05/26/20
Case 2:12-md-02327          2022-6 Filed
                             Douglas     Grier,    M.D.17 Page
                                                   Page         135 of 155
                                                          of 26 PageID  #: 33534

      1        of TVT-Os due to complications; correct?

      2                            MR. KOOPMANN:    Objection.   Form.

      3                            THE WITNESS:    I have removed sections

      4        of TVT-Os for exposure.    I can't remember any for any

      5        other reason.

      6    Q   (By Mr. DeGreeff)    And is that something you track?

      7    A   Oh, I -- well, I track all my patients.      I see them -- I

      8        try to see them on an annual basis, and if they don't

      9        agree, I try to make it every other year.

     10    Q   So do you have something in your office where you track

     11        the reason for each removal and what product it is you're

     12        removing?

     13    A   Their medical records.

     14    Q   Is that a list you would keep in your office somewhere?

     15    A   It's one I could retrieve.

     16    Q   So you have a list currently kept in your office of the

     17        product you removed and with -- with the reason for

     18        removal?

     19    A   No, I don't have a list.

     20    Q   And how many TVT-O removal surgeries have you done?

     21    A   Well, partial TVT-O, I would say a half dozen maybe.

     22    Q   What about TVT-R?

     23    A   Same.   About a half dozen.

     24    Q   What about TVT-S?

     25    A   Maybe three or four.

    Golkow Technologies, Inc.                                             Page 143
     Case 3:20-cv-00851-MO
                    DocumentDocument 89-104/21/16
                                           Filed 05/26/20
Case 2:12-md-02327          2022-6 Filed
                             Douglas     Grier,    M.D.18 Page
                                                   Page         136 of 155
                                                          of 26 PageID  #: 33535

      1    Q   So in your entire time working with transvaginal mesh,

      2        between TVT, TVT-O, and TVT-S, you believe you've only

      3        done 15 to 16 removal surgeries?

      4    A   I'm sure I've removed 35, 40 other products that are

      5        either transobturator or retropubic slings.

      6    Q   So you've only done 50 total removal surgeries in your

      7        time working with transvaginal mesh?

      8    A   Do you -- are you including POP repair, like Prolift or

      9        elevate, Apogee, Perigee, the other products?

     10    Q   Well, I was asking specifically about TVT, but sure, we

     11        can talk about those too.

     12    A   I mean, I don't keep numbers of it, but I've removed each

     13        of those products in the past.

     14    Q   That was going to be my question.     Where's the tracking

     15        data on TVT-Rs that were removed, on the number of

     16        explants you've done?

     17    A   What do you mean by "tracking data"?

     18    Q   Is that something you keep track of in your office?

     19    A   No, I don't keep track of the numbers.

     20    Q   How long have you been doing removal surgeries?       When did

     21        you first start doing them?

     22    A   Well, again, when you use the word "removal," I'll take

     23        out a specific area that may be exposed, or if there's a

     24        specific trigger point area of pain, I'll remove that

     25        part.

    Golkow Technologies, Inc.                                             Page 144
     Case 3:20-cv-00851-MO
                    DocumentDocument 89-104/21/16
                                           Filed 05/26/20
Case 2:12-md-02327          2022-6 Filed
                             Douglas     Grier,    M.D.19 Page
                                                   Page         137 of 155
                                                          of 26 PageID  #: 33536

      1        my entire practice was.    At that point I was probably

      2        seeing one-third males and two-thirds females.       But

      3        because of the shrinking volume of women who seek care

      4        for these problems, I do less and less each year.

      5    Q   And what percentage of your practice is related to

      6        treating TVM complications?

      7    A   Oh, less than 1 percent.

      8    Q   What percentage of your practice is related to the

      9        surgical treatment of TVM complications?

     10    A   Oh, I'd say less than 1 percent at this point.       I don't

     11        see them that often.

     12    Q   Doctor, do you do anything within your office to track

     13        what percentage of the women that you do implants in are

     14        lost to follow-up?

     15    A   No.

     16    Q   Do you know what the national average is?

     17    A   No.

     18    Q   Do you know what the national average is on complications

     19        related to following implant surgeries with TVM?

     20    A   Oh, there's several papers that provide those numbers.

     21    Q   Certainly greater than 1 percent, isn't it?

     22    A   I think it's about 3 and a half percent.

     23    Q   So you believe 3 and a half is the rate?

     24    A   One recent paper I reviewed, that was the rate of

     25        complications that required something to be done.

    Golkow Technologies, Inc.                                             Page 146
     Case 3:20-cv-00851-MO
                    DocumentDocument 89-104/21/16
                                           Filed 05/26/20
Case 2:12-md-02327          2022-6 Filed
                             Douglas     Grier,    M.D.20 Page
                                                   Page         138 of 155
                                                          of 26 PageID  #: 33537

      1    Q   Ever seen any others that's different?

      2    A   Oh, it's all -- it depends on what study and what cohort.

      3        If you happen to be a referral center, you're going to

      4        see a lot more because a lot of gynecologists aren't

      5        comfortable with doing repairs or revisions.

      6    Q   And a lot of patients aren't comfortable going back to

      7        the person who put in an implant that gave them

      8        complications; fair?

      9    A   That's -- complications in general, for all of medicine,

     10        a lot of times patients have unrealistic expectations and

     11        will go elsewhere when they don't have exactly the

     12        outcome that they want.    That's very common, not just in

     13        this.

     14    Q   Okay.

     15    A   It's common with all complications.

     16    Q   So it's typical for anybody -- any surgeon to have a

     17        significant loss to follow-up; is that fair?

     18    A   It really -- it depends on what community you're in.       If

     19        there are -- if you're in a smaller community and there's

     20        less choices of where to go, a lot of times, if a patient

     21        has a complication and doesn't see you, they'll see one

     22        of your colleagues, and they'll -- we can discuss it,

     23        they'll -- you'll find out about it.      There's many a time

     24        where I've called a physician to tell them that a patient

     25        of theirs came in and this was their concerns.

    Golkow Technologies, Inc.                                             Page 147
     Case 3:20-cv-00851-MO
                    DocumentDocument 89-104/21/16
                                           Filed 05/26/20
Case 2:12-md-02327          2022-6 Filed
                             Douglas     Grier,    M.D.21 Page
                                                   Page         139 of 155
                                                          of 26 PageID  #: 33538

      1    A   Yes.

      2    Q   And again, that's an email that you sent to Lori

      3        Campbell?

      4    A   Yes.

      5    Q   And why the exclamation mark, Doctor?      Were you proud

      6        that you'd spent $104,000 on Ethicon products?

      7    A   No.    Kind of the opposite.   I was shocked that I had

      8        spent so much money for a product, you know, as far as

      9        checks are.    It just kind of shocked me that it had been

     10        that much.

     11    Q   Well, was it important to you to be considered a good

     12        account?

     13    A   No.    No.   It was a realization that the products are

     14        expensive.

     15    Q   When does your -- when you say "this year to date," when

     16        does your fiscal year start?

     17    A   Oh, I don't -- I guess January 1st to December 31st.

     18    Q   And what was the point of this email?      What was -- what

     19        were you trying to tell her with that?

     20    A   I was -- I saw a rolling -- a rolling average of what I

     21        had spent for slings, and so I was kind of shocked by

     22        that number.    I can't remember what they cost, but that's

     23        the equivalent of 100 -- probably 100 slings --

     24        surgeries.

     25              So I -- just like I don't count what -- what I've

    Golkow Technologies, Inc.                                              Page 268
     Case 3:20-cv-00851-MO
                    DocumentDocument 89-104/21/16
                                           Filed 05/26/20
Case 2:12-md-02327          2022-6 Filed
                             Douglas     Grier,    M.D.22 Page
                                                   Page         140 of 155
                                                          of 26 PageID  #: 33539

      1        been paid, I normally don't count how many slings that

      2        I've done in a given year.     And so this was toward the

      3        end of the year, and it looks like I did 100 slings.

      4    Q   Okay.   So if you had -- 100 slings in a year, is that a

      5        lot?

      6    A   Yes.

      7    Q   What percentage of your -- of your practice would that

      8        have made up for the year 2004?

      9    A   Oh, probably 20, 25 percent of -- of the female side that

     10        I was doing either a prolapse -- a prolapse repair or

     11        slings for incontinence.

     12    Q   And then if you'll look at the email right above that,

     13        it's Lori Campbell responding to you directly on

     14        November 15th of 2004; correct?

     15    A   Yes.

     16    Q   And if you look at that second paragraph, it says, "Yes,

     17        you're one of our best customers," triple exclamation

     18        mark.   "Funny you should be looking at that today,"

     19        period.   "Erika and I were just reviewing preceptor

     20        payout," period.    "You've just about maxed out your

     21        contract for the year," period.

     22            Did I read that correctly?

     23    A   Yes.

     24    Q   And we talked earlier about the fact that your max amount

     25        on your consulting agreement in 2004 was $100,000; right?

    Golkow Technologies, Inc.                                             Page 269
     Case 3:20-cv-00851-MO
                    DocumentDocument 89-104/21/16
                                           Filed 05/26/20
Case 2:12-md-02327          2022-6 Filed
                             Douglas     Grier,    M.D.23 Page
                                                   Page         141 of 155
                                                          of 26 PageID  #: 33540

      1    A   No.

      2    Q   Fair to say you haven't reviewed everything on your

      3        reliance list?

      4    A   Yes.

      5    Q   What percentage of the documents on your reliance list

      6        would you say you've reviewed?

      7    A   I can't give a percentage because a lot of these are

      8        just -- are internal documents that I did not read, and

      9        there's a lot of them.

     10    Q   Did you just -- did you not read the internal

     11        documents -- the Ethicon internal documents?

     12    A   Very few of them.    I just didn't find them relevant or

     13        find anything in there that I could use.

     14    Q   And which of the depositions that -- looking at your list

     15        of depositions, were there any in particular that you

     16        remember reading that stood out to you?

     17    A   Well, I remember reading Ostergard, Margolis, Blaivis.

     18    Q   Any others?

     19    A   Moore.

     20    Q   Any others?

     21    A   In the past, Rosenzweig.

     22    Q   Any others?

     23    A   I don't recall any other.

     24    Q   Did you read any depositions of Ethicon employees?

     25    A   I did for the Perry trial.     Not since.

    Golkow Technologies, Inc.                                             Page 316
     Case 3:20-cv-00851-MO
                    DocumentDocument 89-104/21/16
                                           Filed 05/26/20
Case 2:12-md-02327          2022-6 Filed
                             Douglas     Grier,    M.D.24 Page
                                                   Page         142 of 155
                                                          of 26 PageID  #: 33541

      1        opinions to a reasonable degree of medical certainty?

      2    A   Yes.

      3    Q   You don't hold yourself out to the community as a design

      4        expert; is that fair?

      5    A   That is fair.

      6    Q   But are you an expert in urologic surgery?

      7    A   Yes.

      8    Q   And are you an expert in the materials used in urologic

      9        surgery?

     10    A   Yes, I am.

     11    Q   And you don't hold yourself out to the community as a

     12        warnings expert; correct?

     13    A   No, I don't.

     14    Q   But you've used a lot of medical devices throughout your

     15        career?

     16    A   Yes.

     17    Q   Dozens, certainly?

     18    A   Yes.

     19    Q   Hundreds?

     20    A   Yes.

     21    Q   And before you use a medical device, you read the

     22        instructions for use accompanying the device?

     23    A   I do.

     24    Q   And after treating patients with devices, you get a sense

     25        of what sort of complications you see?

    Golkow Technologies, Inc.                                             Page 329
     Case 3:20-cv-00851-MO
                    DocumentDocument 89-104/21/16
                                           Filed 05/26/20
Case 2:12-md-02327          2022-6 Filed
                             Douglas     Grier,    M.D.25 Page
                                                   Page         143 of 155
                                                          of 26 PageID  #: 33542

      1        what is the standard of care.

      2    Q   And are there different levels of evidence?

      3    A   There is different levels of evidence.      From the bottom,

      4        which is anecdotal reporting, to the top, which is, say,

      5        Cochrane review, meta-analysis, systematic reviews.

      6    Q   Where do internal company emails fall on the hierarchy of

      7        levels of evidence?

      8    A   They don't fall at all, in any of it.

      9    Q   Where do failure modes and effects analyses fall in the

     10        hierarchy of levels of evidence?

     11    A   They don't fall at all in the levels of evidence.

     12    Q   The opinions that you've expressed in your reports

     13        regarding the safety and efficacy of the TVT, TVT-O, and

     14        TVT slings, are those opinions based in part on your

     15        education, including your medical school and residency?

     16    A   Yes.

     17    Q   Is it also based on continuing ed courses?

     18    A   Yes.

     19    Q   Are those opinions about the safety and efficacy of the

     20        devices based on your clinical training and experience?

     21    A   Yes.

     22    Q   Are those opinions about the safety and efficacy of the

     23        devices based on your review of the peer-reviewed

     24        literature, book chapters, podium, and poster

     25        presentations and abstracts?

    Golkow Technologies, Inc.                                             Page 331
     Case 3:20-cv-00851-MO
                    DocumentDocument 89-104/21/16
                                           Filed 05/26/20
Case 2:12-md-02327          2022-6 Filed
                             Douglas     Grier,    M.D.26 Page
                                                   Page         144 of 155
                                                          of 26 PageID  #: 33543

      1        reliance list?

      2    A   If it's alphabetically -- oh, yes.     Yes.

      3    Q   And what date were those depositions taken?

      4    A   May 30th and 31st of 2013.

      5    Q   Have you -- is Dr. Weisberg's deposition from

      6        November 12th and 13th of 2015 on your reliance list?

      7    A   No.

      8    Q   Are you aware that Dr. Weisberg was chosen by Ethicon to

      9        testify as their corporate representative on the revised

     10        TVT and Gynemesh IFUs?

     11    A   No, I was not aware.

     12    Q   Do you know he's Ethicon's medical director?      Correct?

     13    A   Is he currently?

     14    Q   I believe so.

     15    A   I thought he was ten years ago.

     16    Q   Okay.   Have you -- I'm assuming, given that it's not on

     17        your reliance list, that you haven't reviewed that

     18        deposition?

     19    A   No.    Don't recall it.

     20    Q   And do you see Dr. Laura Angeleni's June 2015 deposition

     21        on your reliance list?

     22    A   Yes.    Did -- what was the date?

     23    Q   June of 2015.

     24    A   No.

     25    Q   Do you know that she's the -- she was the woman who

    Golkow Technologies, Inc.                                             Page 356
CaseCase  3:20-cv-00851-MO
     2:12-md-02327         Document
                     Document        89-1 04/21/16
                              2022-7 Filed Filed 05/26/20
                                                    Page 1 Page  145 of #:
                                                           of 3 PageID  15533544




              Exhibit G
CaseCase  3:20-cv-00851-MO
     2:12-md-02327         Document
                     Document
               Confidential   2022-7 89-1 04/21/16
                                     Filed
                                - Subject  Filed 05/26/20
                                                    Page 2 Page
                                              to Protective      146 of #:
                                                           of 3 PageID
                                                                  Order 15533545

     1              IN THE UNITED STATES DISTRICT COURT
     2           FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
     3                      CHARLESTON DIVISION
     4                            - - -
     5
             IN RE: ETHICON, INC.                  :   MDL NO. 2327
     6       PELVIC REPAIR SYSTEM,                 :
             PRODUCTS LIABILITY                    :
     7       LITIGATION                            :
     8                             - - -
     9             AND VARIOUS OTHER CROSS-NOTICED ACTIONS
                  CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
    10
                                       - - -
    11                           December 23, 2014
                                      - - -
    12
    13
    14                   Videotaped deposition of KATRIN
          ELBERT, Ph.D. taken pursuant to notice, was held
    15    at the law offices of Riker Danzig Scherer Hyland &
          Perretti LLP, Headquarters Plaza, One Speedwell
    16    Avenue, Morristown, New Jersey, beginning at 8:58 a.m.,
          on the above date, before Ann Marie Mitchell, a
    17    Federally Approved Certified Realtime Reporter,
          Registered Diplomate Reporter and Notary Public for
    18    the State of New Jersey.
    19
                                       -   -   -
    20
    21                     GOLKOW TECHNOLOGIES, INC.
                        877.370.3377 ph|917.951.5672 fax
    22                           deps@golkow.com
    23
    24
    25

   Golkow Technologies, Inc.                                                  Page 1
CaseCase  3:20-cv-00851-MO
     2:12-md-02327         Document
                     Document
               Confidential   2022-7 89-1 04/21/16
                                     Filed
                                - Subject  Filed 05/26/20
                                                    Page 3 Page
                                              to Protective      147 of #:
                                                           of 3 PageID
                                                                  Order 15533546

     1              Q.        And you would have had a design

     2    review meeting like that after each one of the

     3    stages set forth in appendix IV of PR 364?

     4              A.        Yes.

     5              Q.        Now, what is a design history file?

     6              A.        So the design history file is the --

     7    it's the archive of all the documents that show us

     8    the history of the design of the product.                It

     9    contains all of our design control documents, and

    10    it's also what we use to support regulatory

    11    submissions.

    12              Q.        And as the project leader, do you

    13    have a specific responsibility regarding the design

    14    history file?

    15              A.        Yes.    In the end, I have the ultimate

    16    responsibility that all the required documents are

    17    collected in the DHF, the design history file.

    18              Q.        Is it one of your jobs is to make

    19    sure everything that's supposed to be in the DHF

    20    gets put in the DHF?

    21              A.        Yes, that's one of my jobs.

    22              Q.        And did you do that for TVT ABBREVO?

    23              A.        Yes, I do.

    24              Q.        And are the three-ring binders that

    25    are behind your left shoulder, is that a printout of

   Golkow Technologies, Inc.                                               Page 270
CaseCase  3:20-cv-00851-MO
     2:12-md-02327         Document
                     Document        89-1 04/21/16
                              2022-8 Filed Filed 05/26/20
                                                    Page 1 Page  148 of #:
                                                           of 8 PageID  15533547




              Exhibit H
CaseCase  3:20-cv-00851-MO Document
     2:12-md-02327
        ConfidentialDocument  2022-8
                       - Subject
                                      89-1 04/21/16
                                     Filed  Filed 05/26/20
                                 to Stipulation   andPage
                                                             Page
                                                       Oder2 of
                                                                  149 of #:
                                                                         155
                                                             of8 Confidentiality
                                                                 PageID     33548


     1                                - - -
     2
     3     IN RE:                              :SUPERIOR COURT OF
           PELVIC MESH/GYNECARE                :NEW JERSEY
     4     LITIGATION                          :LAW DIVISION -
                                               :ATLANTIC COUNTY
     5                                         :
                                               :MASTER CASE 6341-10
     6                                         :
                                               :CASE NO. 291 CT
     7
           CONFIDENTIAL-SUBJECT TO STIPULATION AND ORDER OF
     8                     CONFIDENTIALITY
                               - - -
     9
                                 September 13, 2012
    10
                                        - - -
    11
    12               Volume II of the transcript of the
    13     Deposition of CHARLOTTE OWENS, M.D., called for
    14     Videotaped Examination in the above-captioned
    15     matter, said deposition taken pursuant to
    16     Superior Court Rules of Practice and Procedure,
    17     by and before JoRita B. Meyer, a Certified
    18     Realtime Reporter, Registered Merit Reporter,
    19     and Certified Court Reporter for the State of
    20     Georgia, at the offices of Troutman Sanders,
    21     600 Peachtree Street Northeast, Atlanta,
    22     Georgia, commencing at 9:11 a.m.
    23                        - - -
    24              GOLKOW TECHNOLOGIES, INC.
                 877.370.3377 ph|917.951.5672 fax
    25                  deps@golkow.com

   Golkow Technologies, Inc. - 1.877.370.DEPS                              Page 345
CaseCase  3:20-cv-00851-MO Document
     2:12-md-02327
        ConfidentialDocument  2022-8
                       - Subject
                                      89-1 04/21/16
                                     Filed  Filed 05/26/20
                                 to Stipulation   andPage
                                                             Page
                                                       Oder3 of
                                                                  150 of #:
                                                                         155
                                                             of8 Confidentiality
                                                                 PageID     33549


     1              A.     Correct.

     2              Q.     And it says the potential effect of

     3       that is damage to the cannula and the potential

     4       hazard what could occur would be tissue damage,

     5       correct?

     6              A.     Correct.

     7              Q.     And the potential harm that could

     8       result here is described as bleeding, correct?

     9              A.     Correct.

    10              Q.     And you understood that through your

    11       review of this -- rephrase.

    12                     And you understood that it was

    13       required that you capture all of the different

    14       failure modes, all the things that could go

    15       wrong in the procedure, even if the doctor was

    16       properly trained and following the proper

    17       procedure, and the effects of those failure

    18       modes, the hazards that could occur, and the

    19       resulting harms, and you were supposed to

    20       capture all of them, correct?

    21              A.     Yes, all that we could conceive of,

    22       yes.

    23              Q.     Now, one of the things that could

    24       happen is during the passage of the guides, is

    25       the pudendal nerve could be injured, correct?

   Golkow Technologies, Inc. - 1.877.370.DEPS                              Page 449
CaseCase  3:20-cv-00851-MO Document
     2:12-md-02327
        ConfidentialDocument  2022-8
                       - Subject
                                      89-1 04/21/16
                                     Filed  Filed 05/26/20
                                 to Stipulation   andPage
                                                             Page
                                                       Oder4 of
                                                                  151 of #:
                                                                         155
                                                             of8 Confidentiality
                                                                 PageID     33550


     1              specifically mentioned in the document.

     2       BY MR. SLATER:

     3              Q.     And therefore, none of them are

     4       specifically scored, correct?

     5              A.     They would have been included in

     6       things other than the terms that you mentioned.

     7              Q.     As the document appears and as it was

     8       specifically and carefully written by quality

     9       engineering, with your approval, those items do

    10       not appear and are not specifically scored,

    11       correct?

    12              A.     Those items are not specifically

    13       mentioned, no.

    14              Q.     All right.       Now let's look at the

    15       dFMEA, which is Exhibit 629.               You understood

    16       the purpose of the dFMEA, correct?

    17              A.     Yes.

    18              Q.     That's the Design Failure Modes and

    19       Effects Analysis, correct?

    20              A.     Yes.

    21              Q.     And what was the purpose of this

    22       analysis?

    23              A.     To review the potential risk

    24       associated with the design of the product.

    25              Q.     And when you say "associated with the

   Golkow Technologies, Inc. - 1.877.370.DEPS                              Page 485
CaseCase  3:20-cv-00851-MO Document
     2:12-md-02327
        ConfidentialDocument  2022-8
                       - Subject
                                      89-1 04/21/16
                                     Filed  Filed 05/26/20
                                 to Stipulation   andPage
                                                             Page
                                                       Oder5 of
                                                                  152 of #:
                                                                         155
                                                             of8 Confidentiality
                                                                 PageID     33551


     1       design of the product," that means that when

     2       the product is in a woman's body and the

     3       product was manufactured completely consistent

     4       with the specifications, these are the things

     5       that could go wrong and harm a patient,

     6       correct?

     7              A.     Correct.

     8              Q.     Let's look now at this dFMEA, and

     9       let's look at page -- looking at the Bates

    10       number 03573, the actual chart and grid.

    11                     And it indicates that you were one of

    12       the individuals who provided input as medical

    13       director, correct?

    14              A.     Yes.

    15              Q.     And again, as with the aFMEA, you had

    16       to sign off on the dFMEA in order for this gate

    17       to be surpassed so the product could move

    18       closer to Product Release Authorization and to

    19       be marketed to be put in women's bodies,

    20       correct?

    21              A.     Correct.

    22              Q.     And what this does is, in the chart,

    23       is the different components of the PROLIFT kit

    24       are each evaluated in terms of what harms they

    25       could cause if they were to fail, correct?

   Golkow Technologies, Inc. - 1.877.370.DEPS                              Page 486
CaseCase  3:20-cv-00851-MO Document
     2:12-md-02327
        ConfidentialDocument  2022-8
                       - Subject
                                      89-1 04/21/16
                                     Filed  Filed 05/26/20
                                 to Stipulation   andPage
                                                             Page
                                                       Oder6 of
                                                                  153 of #:
                                                                         155
                                                             of8 Confidentiality
                                                                 PageID     33552


     1       what occurred during the surgery going forward

     2       in time, correct?

     3              A.     Not going forward in an indefinite

     4       amount of time, no.

     5              Q.     Oh, no, how long forward?

     6              A.     Again --

     7              Q.     What's the cutoff?

     8              A.     There's not --

     9              Q.     I'm asking you for the cutoff.

    10              A.     I don't have an exact number of

    11       minutes or seconds.           But I can tell you that it

    12       is about the application of the device, which

    13       is a surgical procedure.

    14                     MR. SLATER:        Can you put, Diane, in

    15              front of her Exhibit 623?

    16                     MS. WATKINS:        Yes.     She's got it.

    17       BY MR. SLATER:

    18              Q.     Doctor, this is the design --

    19       rephrase.

    20                     Exhibit 623 is the final version of

    21       the Device Design Safety Assessment, the DDSA.

    22                     Do you see that?

    23              A.     I do.

    24              Q.     And you ultimately needed to sign off

    25       on the DDSA on behalf of Medical Affairs,

   Golkow Technologies, Inc. - 1.877.370.DEPS                              Page 497
CaseCase  3:20-cv-00851-MO Document
     2:12-md-02327
        ConfidentialDocument  2022-8
                       - Subject
                                      89-1 04/21/16
                                     Filed  Filed 05/26/20
                                 to Stipulation   andPage
                                                             Page
                                                       Oder7 of
                                                                  154 of #:
                                                                         155
                                                             of8 Confidentiality
                                                                 PageID     33553


     1       correct?

     2              A.     I'm trying to verify -- I'm not

     3       listed on the approval page.

     4              Q.     Do you recall whether or not you had

     5       to sign off on and approve the DDSA on behalf

     6       of Medical Affairs?

     7              A.     Again, as you know, it would have

     8       been seven years since I saw this document.                     I

     9       would need to see -- if I'm on there as an

    10       approver, then I can say I would have had to

    11       approve it.       But right now I'm not remembering

    12       if I was an approver of this document.

    13              Q.     Can you look at the page that has in

    14       the bottom right corner, 812.               That's the last

    15       three digits of the Bates number.

    16              A.     Okay.

    17              Q.     That's actually the first page of the

    18       DDSA form.

    19              A.     Yes.

    20              Q.     This form is the form that actually

    21       rates -- lists and rates the hazards as part of

    22       the DDSA, correct?

    23              A.     It appears that this is the DDSA

    24       safety assessment form, yes.

    25              Q.     And, for example, line 1 evaluates

   Golkow Technologies, Inc. - 1.877.370.DEPS                              Page 498
CaseCase  3:20-cv-00851-MO Document
     2:12-md-02327
        ConfidentialDocument  2022-8
                       - Subject
                                      89-1 04/21/16
                                     Filed  Filed 05/26/20
                                 to Stipulation   andPage
                                                             Page
                                                       Oder8 of
                                                                  155 of #:
                                                                         155
                                                             of8 Confidentiality
                                                                 PageID     33554


     1       biocompatibility hazards, correct?

     2              A.     Yes.

     3              Q.     For example, the second -- third --

     4       second part of that, Implant device is not

     5       biocompatible, correct?

     6              A.     Correct.

     7              Q.     And now on the next page, for

     8       example, Section 5, Hazards resulting, it says

     9       "to," but it actually should say "from" the use

    10       of the device.

    11                     Do you see that?

    12              A.     Yes.

    13              Q.     And this lists different hazards that

    14       can result when the PROLIFT is utilized,

    15       correct?

    16              A.     Correct.

    17              Q.     And did you understand -- well,

    18       rephrase.

    19                     And then you go to the next page --

    20       rephrase.

    21                     Then you go to number 6.             It talks

    22       about hazards resulting from reasonably

    23       foreseeable misuses of the device.

    24                     Do you see that?

    25              A.     Yes.

   Golkow Technologies, Inc. - 1.877.370.DEPS                              Page 499
